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                    THE UNITED STATES DISTRICT COURT
                         DISTRICT OF MARYLAND

                                         )
BOARD OF COUNTY COMMISSIONERS            )
OF WASHINGTON COUNTY, MARYLAND,          )
100 West Washington Street               )
Suite 1101                               )
Hagerstown, MD 21740
                                         )
                              Plaintiff, )
                                         )
v.                                       )   CIVIL ACTION NO.: 1:18-cv-2592

AMERISOURCEBERGEN DRUG                   )
CORPORATION,                             )
1300 Morris Drive                        )
Chesterbrook, PA 19087                   )
                                         )
CARDINAL HEALTH, INC.                    )
700 Cardinal Place                       )               COMPLAINT
Dublin, OH 43017                         )
                                         )       Complaint for Public Nuisance;
McKESSON CORPORATION                     )    Violations of Racketeer Influenced and
One Post Street                          )    Corrupt Organizations Act (RICO) 18
San Francisco, CA 94104                  )
                                              U.S.C. § 1961 et seq.; Violations of 18
                                         )
PURDUE PHARMA L.P.                       )    U.S.C. § 1962 et seq.; Negligence and
One Stamford Forum                       )   Negligent Misrepresentation; Negligence
201 Tresser Boulevard                    )     Based on Statutory Violations; Civil
Stamford, CT 06901-3431                  )      Conspiracy; Fraud and Fraudulent
                                         )    Misrepresentation; Constructive Fraud;
PURDUE PHARMA, INC.                      )    Maryland False Claims Act, MD. CODE
One Stamford Forum                       )
                                              ANN., GEN. PROV. § 8-101 et seq.; and
201 Tresser Boulevard                    )
Stamford, CT 06901-3431                  )              Unjust Enrichment
                                         )
THE PURDUE FREDERICK COMPANY,            )
INC.                                     )
One Stamford Forum                       )
201 Tresser Boulevard                    )
Stamford, CT 06901-3431                  )
                                         )
TEVA PHARMACEUTICAL INDUSTRIES,          )
LTD.;                                    )
5 Basel Street                           )
       Case 1:18-cv-02592-GLR Document 1 Filed 08/21/18 Page 2 of 320



Petach Tikva 49131, Israel            )
                                      )
                                      )
TEVA PHARMACEUTICALS USA, INC.        )
1090 Horsham Road                     )
North Wales, PA 19454                 )
                                      )
CEPHALON, INC.                        )
41 Moores Road                        )
Frazer, PA 19355-1113                 )
                                      )
JOHNSON & JOHNSON                     )
One Johnson & Johnson Plaza           )
New Brunswick, NJ 08901               )
                                      )
JANSSEN PHARMACEUTICALS, INC. 1125 )
Trenton Harbourton Road               )
Titusville, NJ 08560                  )
                                      )
ORTHO-MCNEIL-JANSSEN                  )
PHARMACEUTICALS, INC. n/k/a JANSSEN )
PHARMACEUTICALS, INC.                 )
1125 Trenton Harbourton Road          )
Titusville, NJ 08560                  )
                                      )
JANSSEN PHARMACEUTICA INC. n/k/a      )
JANSSEN PHARMACEUTICALS, INC. 1125 )
Trenton Harbourton Road               )
Titusville, NJ 08560                  )
                                      )
NORAMCO, INC.                         )
500 Swedes Landing Rd.                )
Wilmington, DE 19801                  )
                                      )
ENDO HEALTH SOLUTIONS INC.            )
1400 Atwater Drive                    )
Malvern, PA 19355-8701                )
                                      )
ENDO PHARMACEUTICALS, INC.            )
1400 Atwater Drive                    )
Malvern, PA 19355-8701                )
                                      )
ALLERGAN PLC f/k/a ACTAVIS PLS        )
Clonshaugh Business & Technology Park )
Coolock, Dublin                       )
Ireland                               )
D17 E400
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                                   )
WATSON PHARMACEUTICALS, INC. n/k/a )
ACTAVIS, INC.                      )
Morris Corporate Center III        )
400 Interpace Parkway              )
Parsippany, NJ 07054               )
                                   )
WATSON LABORATORIES, INC.          )
Morris Corporate Center III        )
400 Interpace Parkway              )
Parsippany, NJ 07054               )
                                   )
ACTAVIS LLC                        )
Morris Corporate Center III        )
400 Interpace Parkway              )
Parsippany, NJ 07054               )
                                   )
ACTAVIS PHARMA, INC. f/k/a WATSON  )
PHARMA, INC.                       )
Morris Corporate Center III        )
400 Interpace Parkway              )
Parsippany, NJ 07054               )
                                   )
MALLINCKRODT PLC                   )
3 Loftus Park                      )
The Causeway                       )
Staines-Upon-Thames                )
Surrey                             )
United Kingdom                     )
TW18 3AG                           )
                                   )
MALLINCKRODT LLC                   )
675 James S. McDonnell Blvd.       )
Hazelwood, MO 63042                )
                                   )
INSYS THERAPEUTICS, INC.           )
1333 S. Spectrum Blvd. #100        )
Chandler, AZ 85286                 )
                                   )
CVS HEALTH CORPORATION             )
One CVS Drive                      )
Woonsocket, RI 02895               )
                                   )
RITE AID OF MARYLAND, INC.         )
30 Hunter Lane                     )
Camp Hill, PA 17011                )
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                                   )
WALGREENS BOOTS ALLIANCE, INC.     )
108 Wilmot Road                    )
Deerfield, IL 60015                )
                                   )
WAL-MART, INC.                     )
702 SW 8th Street                  )
Bentonville, AR 72716              )
                                   )
ANDA, INC.                         )
2915 Weston Road                   )
Weston, FL 33331                   )
                                   )
                                   )
                       Defendants. )
                                   )
                                   )
                                   )    JURY TRIAL DEMANDED AND
                                   )    ENDORSED HEREON
                                   )
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         Plaintiff, the Board of County Commissioners of Washington County, Maryland

(“Plaintiff”), brings this Complaint against Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.;

The Purdue Frederick Company, Inc.; Teva Pharmaceutical Industries, LTD.; Teva

Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.;

Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen

Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.; Noramco, Inc.; Endo Health Solutions

Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a Actavis PLS; Watson Pharmaceuticals, Inc.

n/k/a Actavis, Inc.; Watson Laboratories, Inc.; Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson

Pharma, Inc.; Mallinckrodt plc; Mallinckrodt LLC; Insys Therapeutics, Inc.; McKesson

Corporation; Cardinal Health, Inc.; AmerisourceBergen Drug Corporation; CVS Health

Corporation; Rite Aid Of Maryland, Inc. d/b/a Rite Aid Mid-Atlantic Customer Support Center,

Inc.; Walgreen Boots Alliance, Inc. a/k/a Walgreen Co.; Wal-Mart, Inc. f/k/a Wal-Mart Stores,

Inc. and Anda, Inc. (collectively “Defendants”) and alleges as follows:

                                             I. INTRODUCTION

         1.     Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby, and to recoup monies that

have been spent because of Defendants’ false, deceptive and unfair marketing and/or unlawful

diversion of prescription opioids. 1 Such economic damages were foreseeable to Defendants and

were sustained because of Defendants intentional and/or unlawful actions and omissions.




1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.



                                                          1
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           2.     Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions. 2

           3.     The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.” 3

           4.     Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, turned patients into drug addicts for their own corporate profit. Such actions

were intentional and/or unlawful.

           5.     Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached their

legal duties under federal and state law to monitor, detect, investigate, refuse and report suspicious

orders of prescription opiates.

           6.     Plaintiff does not bring product liability claims or claims otherwise arising from

allegations that a product was defective.

                                                  II. PARTIES

           A. PLAINTIFF.

           7.     Plaintiff is authorized to bring the causes of action brought herein. See, e.g., MD.

CODE ANN., LOCAL GOV’T § 9-404(b).



2
 See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3
    See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).



                                                           2
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         8.     Plaintiff has declared, inter alia, that opioid 4 abuse, addiction, morbidity and

mortality has created a serious public health and safety crisis, and is a public nuisance, and that

the diversion of legally produced controlled substances into the illicit market causes or contributes

to this public nuisance.

         9.     The distribution and diversion of opioids into Maryland (“the State”), and into

Washington County (“the County”) and surrounding areas (collectively, “Plaintiff’s

Community”), created the foreseeable opioid crisis and opioid public nuisance for which Plaintiff

here seeks relief.

         10.    Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. Categories

of past and continuing sustained damages include, inter alia,: (1) costs for providing medical care,

additional therapeutic, and prescription drug purchases, and other treatments for patients suffering

from opioid-related addiction or disease, including overdoses and deaths; (2) costs for providing

treatment, counseling, and rehabilitation services; (3) costs for providing treatment of infants born

with opioid-related medical conditions; (4) costs associated with law enforcement and public

safety relating to the opioid epidemic; (5) and costs associated with providing care for children

whose parents suffer from opioid-related disability or incapacitation. These damages have been

suffered, and continue to be suffered directly, by the Plaintiff.

         11.    Plaintiff also seeks the means to abate the epidemic created by Defendants’ wrongful

and/or unlawful conduct.




4
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.

                                                          3
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          12.   Plaintiff has standing to recover damages incurred as a result of Defendants’ actions

and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia, to bring

claims under the federal RICO statute, pursuant to 18 U.S.C. § 1961(3) (“persons” include entities

which can hold legal title to property) and 18 U.S.C. § 1964 (“persons” have standing).




          B. DEFENDANTS.

                1. Manufacturer Defendants.

          13.   The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or purported

to inform prescribers and users regarding the benefits and risks associated with the use of the

prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured and sold

prescription opioids without fulfilling their legal duty to prevent diversion and report suspicious

orders.

          14.   PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut (collectively, “Purdue”).

          15.   Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006



                                                   4
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sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(painkillers).

        16.      CEPHALON, INC. is a Delaware corporation with its principal place of business in

Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware

corporation and is a wholly owned subsidiary of Teva Ltd in Pennsylvania. Teva USA acquired

Cephalon in October 2011.

        17.      Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the “management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

cancer pain.” 5 Fentora has been approved by the FDA only for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to around-the-clock opioid therapy for their underlying persistent cancer pain.” 6 In 2008, Cephalon

pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

promotion of Actiq and two other drugs, and agreed to pay $425 million. 7

        18.      Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for


5
  Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
6
  Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
7
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.

                                                        5
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Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to

the public. Teva USA sells all former Cephalon branded products through its “specialty medicines”

division. The FDA-approved prescribing information and medication guide, which is distributed

with Cephalon opioids, discloses that the guide was submitted by Teva USA, and directs

physicians to contact Teva USA to report adverse events.

          19.     All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo. 8 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012 – the year immediately following the Cephalon acquisition

– attributed a 22% increase in its specialty medicine sales to “the inclusion of a full year of

Cephalon’s specialty sales,” including inter alia sales of Fentora®. 9 Through interrelated

operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc.,

Teva Ltd. would conduct those companies’ business in the United States itself. Upon information

and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon.”

          20.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in


8
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).
9
  Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.

                                                           6
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New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as “Janssen.”

       21.   Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1 billion

in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids Nucynta

(tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in

sales in 2014.

       22.   ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions Inc. and Endo Pharmaceuticals

Inc. are referred to as “Endo.”

       23.   Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up roughly



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$403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in

revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. Endo also

manufactures and sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and

hydrocodone products in the United States, by itself and through its subsidiary, Qualitest

Pharmaceuticals, Inc.

       24.   ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January 2013.

Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012,

and the combined company changed its name to Actavis, Inc. as of January 2013 and then

ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation

with its principal place of business in Corona, California, and is a wholly-owned subsidiary of

ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). ACTAVIS

PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of business

in New Jersey and was formerly known as WATSON PHARMA, INC. ACTAVIS LLC is a

Delaware limited liability company with its principal place of business in Parsippany, New Jersey.

Each of these defendants is owned by ALLERGAN PLC, which uses them to market and sell its

drugs in the United States. Upon information and belief, ALLERGAN PLC exercises control over

these marketing and sales efforts and profits from the sale of Allergan/Actavis products ultimately

inure to its benefit. ALLERGAN PLC, ACTAVIS PLC, ACTAVIS, Inc., Actavis LLC, Actavis

Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

are referred to as “Actavis.”




                                                8
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       25.    Actavis manufactures, promotes, sells, and distributes opioids, including the branded

drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic and

Opana, in the United States. Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008, and began marketing Kadian in 2009.

       26.    MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, plc.

Mallinckrodt, plc and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

       27.    Mallinckrodt manufactures, markets, and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July 2017 Mallinckrodt

agreed to pay $35 million to settle allegations brought by the Department of Justice that it failed to

detect and notify the DEA of suspicious orders of controlled substances.

       28.    INSYS THERAPEUTICS, INC. is a Delaware corporation with its principal place

of business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys.

       29.    Insys made thousands of payments to physicians nationwide, including in the State,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       30.    Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under the tongue administration. Subsys

was approved by the FDA solely for the treatment of breakthrough cancer pain.




                                                  9
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       31.   In 2016, Insys made approximately $330 million in net revenue from Subsys. Insys

promotes, sells, and distributes Subsys throughout the United States, the County, and Plaintiff’s

Community.

       32.   Insys’s founder and owner was recently arrested and charged, along with other Insys

executives, with multiple felonies in connection with an alleged conspiracy to bribe practitioners

to prescribe Subsys and defraud insurance companies. Other Insys executives and managers were

previously indicted.

             2. Distributor Defendants.

       33.   The Distributor Defendants also are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor Defendants

are engaged in “wholesale distribution,” as defined under state and federal law. Plaintiff alleges

the unlawful conduct by the Distributor Defendants is responsible for the volume of prescription

opioids plaguing Plaintiff’s Community.

       34.   McKESSON CORPORATION (“McKesson”) at all relevant times, operated as a

registered distributor in Maryland. McKesson is a Delaware corporation. McKesson has its

principal place of business located in San Francisco, California.

       35.   CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times, operated as a

registered distributor in Maryland. Cardinal’s principal office located in Dublin, Ohio. Cardinal

operates a distribution center in Baltimore, Maryland.




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       36.   AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at all

relevant times, operated as a registered distributor in Maryland. AmerisourceBergen is a Delaware

corporation and its principal place of business is located in Chesterbrook, Pennsylvania.

       37.   Defendant CVS HEALTH CORPORATION is a Delaware corporation with its

principal place of business in Rhode Island. CVS Health Corporation conducts business as a

licensed wholesale distributor under the following named business entities: CVS Indiana, L.L.C.;

CVS Orlando FL Distribution; CVS Pharmacy, Inc.; CVS RX Services, Inc, d/b/a CVS Pharmacy

Distribution Center; CVS TN Distribution, LLC ; and CVS VERO FL Distribution, L.L.C

(collectively “CVS”). At all times relevant to this Complaint, CVS distributed prescription opioids

throughout the United States, including in the State and the County and Plaintiff’s Community

specifically. At all relevant times through at least May 31, 2017, this Defendant operated as a

licensed wholesale distributor in Maryland, licensed by the Maryland Board of Pharmacy.

       38.   Defendant RITE AID OF MARYLAND, INC., d/b/a Rite Aid Mid-Atlantic

Customer Support Center, Inc. is a Maryland corporation with its principal office located in Camp

Hill, Pennsylvania. At all times relevant to this Complaint, Rite Aid distributed prescription

opioids throughout the United States, including in the State, the County and Plaintiff’s Community

specifically. Rite Aid of Maryland, Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center,

Inc. (collectively “Rite Aid”) conducts business as a licensed wholesale distributor under the name

Rite Aid Mid-Atlantic Customer Support Center, Inc. At all relevant times, this Defendant

operated as a licensed wholesale distributor in Maryland, licensed by the Maryland Board of

Pharmacy.

       39.   Defendant WALGREENS BOOTS ALLIANCE, INC., also known as Walgreen Co.

(“Walgreens”) is a Delaware corporation with its principal place of business in Illinois. Walgreens



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Boots Alliance Inc. conducts business as a licensed wholesale distributor under the following

named business entities: Walgreen Co.; Walgreen Eastern Co., Inc.; Walgreen Arizona Drug Co.

(collectively “Walgreens”). At all times relevant to this Complaint, Walgreens distributed

prescription opioids throughout the United States, including in the State, the County and Plaintiff’s

Community specifically. At all relevant times from at least January 2000 through at least May

2015, this Defendant operated as a licensed wholesale distributor in Maryland, licensed by the

Maryland Board of Pharmacy.

        40.   Defendant WAL-MART INC., formerly known as Wal-Mart Stores, Inc. (“Wal-

Mart”), is a Delaware corporation with its principal place of business in Arkansas. At all times

relevant to this Complaint, Wal-Mart distributed prescription opioids throughout the United States,

including in the State, the County and Plaintiff’s Community specifically. Wal-Mart Stores, Inc.

conducts business as a licensed wholesale distributor under the following named business entities:

Wal-Mart Warehouse #28; Wal-Mart Warehouse #6045 aka Wal-Mart Warehouse #45; Wal-Mart

Warehouse # 6046 aka Wal-Mart Warehouse #46; and Wal-Mart Pharmacy Warehouse #13

(“collectively “Wal-Mart”). At all relevant times starting in at least 2014, this Defendant operated

a licensed wholesale distributor in Maryland, licensed by the Maryland Board of Pharmacy.

        41.   Defendant ANDA, INC., (“Anda”) through its various DEA registered subsidiaries

and affiliated entities, including but not limited to, Anda Pharmaceuticals, Inc., is the fourth largest

distributor of generic pharmaceuticals in the United States. Anda is a Florida corporation with its

principal office located in Weston, Florida. In October 2016, Defendant Teva acquired Anda from

Allergan plc (i.e., Defendant Actavis), for $500 million in cash. At all times relevant to this

Complaint, Anda distributed prescription opioids throughout the United States, including in




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Maryland and Plaintiff’s Community specifically. At all relevant times, this Defendant operated

as a licensed wholesale distributor in Maryland, licensed by the Maryland Board of Pharmacy.

        42.   Collectively, Defendants CVS, Rite Aid, Walgreens, and Wal-Mart are referred to as

“National Retail Pharmacies.” Cardinal, McKesson, AmerisourceBergen, Anda, and the National

Retail Pharmacies are collectively referred to as the “Distributor Defendants.”

        43.   Defendants include the above referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution sale and/or dispensing of opioids.

                               III. JURISDICTION & VENUE

        44.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiff’s federal claims that

they form part of the same case or controversy.

        45.   This Court has personal jurisdiction over Defendants because they conduct business

in the State, purposefully direct or directed their actions toward the State, some or all consented to

be sued in the State by registering an agent for service of process, they consensually submitted to

the jurisdiction of the State when obtaining a manufacturer or distributor license, and because they

have the requisite minimum contacts with the State necessary to constitutionally permit the Court

to exercise jurisdiction.

        46.   This Court also has personal jurisdiction over all of the defendants under 18 U.S.C.

1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where the

“ends of justice” require national service and Plaintiff demonstrates national contacts. Here, the



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interests of justice require that Plaintiff be allowed to bring all members of the nationwide RICO

enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National Bank v. Arroyo

Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988); Butcher’s Union Local No. 498

v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

        47.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claim occurred in this

District and each Defendant transacted affairs and conducted activity that gave rise to the claim of

relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

                                   IV. FACTUAL BACKGROUND

        A. THE OPIOID EPIDEMIC.

               1. The National Opioid Epidemic.

        48.    The past two decades have been characterized by increasing abuse and diversion of

prescription drugs, including opioid medications, in the United States. 10

        49.    Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month. 11

        50.    By 2011, the U.S. Department of Health and Human Resources, Centers for Disease

Control and Prevention, declared prescription painkiller overdoses at epidemic levels. The news

release noted:

                      a. The death toll from overdoses of prescription painkillers has
                         more than tripled in the past decade.
10
 See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
11
   Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).

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                        b. More than 40 people die every day from overdoses involving
                           narcotic pain relievers like hydrocodone (Vicodin),
                           methadone, oxycodone (OxyContin), and oxymorphone
                           (Opana).

                        c. Overdoses involving prescription painkillers are at epidemic
                           levels and now kill more Americans than heroin and cocaine
                           combined.

                        d. The increased use of prescription painkillers for nonmedical
                           reasons, along with growing sales, has contributed to a large
                           number of overdoses and deaths. In 2010, 1 in every 20
                           people in the United States age 12 and older—a total of 12
                           million people—reported using prescription painkillers non-
                           medically according to the National Survey on Drug Use and
                           Health. Based on the data from the Drug Enforcement
                           Administration, sales of these drugs to pharmacies and
                           health care providers have increased by more than 300
                           percent since 1999.

                        e. Prescription drug abuse is a silent epidemic that is stealing
                           thousands of lives and tearing apart communities and
                           families across America.

                        f. Almost 5,500 people start to misuse prescription painkillers
                           every day. 12

           51.    The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population. 13

           52.    Many Americans are now addicted to prescription opioids, and the number of deaths

due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed roughly 64,000




12
  See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
13
     See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).



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people in the United States, an increase of more than 22 percent over the 52,404 drug deaths

recorded the previous year. 14

        53.    Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid painkillers

are forty times more likely to be addicted to heroin. 15

        54.    Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk factor

for heroin use. 16

        55.    The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large increases

in heroin use across the country and has been shown to be closely tied to opioid pain reliever

misuse and dependence. Past misuse of prescription opioids is the strongest risk factor for heroin

initiation and use, specifically among persons who report past-year dependence or abuse. The

increased availability of heroin, combined with its relatively low price (compared with diverted

prescription opioids) and high purity appear to be major drivers of the upward trend in heroin use

and overdose. 17



14
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.
15
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
16
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).
17
 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016).



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          56.    The societal costs of prescription drug abuse are “huge.” 18

          57.    Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose their

lives after overdosing on opioids. 19

          58.    The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.” 20 The

economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs of

healthcare, lost productivity, addiction treatment, and criminal justice expenditures. 21

          59.    The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United States,

28,647 (60.9%) involved an opioid. 22

          60.    The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years. 23




18
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
19
   Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
20
     Opioid Crisis, NIH.
21
   Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
22
  See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).
23
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).



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        61.    Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which

now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are “everywhere” and mistaken as candy. 24

        62.    In 2016, the President of the United States declared an opioid and heroin epidemic.25

        63.    The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country. 26 Meanwhile, the manufacturers and distributors of

prescription opioids extract billions of dollars of revenue from the addicted American public while

public entities experience tens of millions of dollars of injury caused by the reasonably foreseeable

consequences of the prescription opioid addiction epidemic.

        64.    The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causing and/or continuing to the national, state, and local opioid epidemic.

               2. The Maryland Opioid Epidemic.

        65.    Maryland has been especially ravaged by the national opioid crisis.

        66.    Opioid-related overdose fatalities have skyrocketed in Maryland in recent years. In

2017 the state had 2,009 opioid-related deaths, an all-time high and up from 1,856 in 2016. 27



24
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
tendrils that are going everywhere.’”).
25
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
26
 See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.
27
      Maryland Department of Health, Unintentional Drug- and Alcohol-Related Intoxication Deaths in Maryland,
2017, at 15 (June 2018), available at
https://bha.health.maryland.gov/OVERDOSE_PREVENTION/Documents/Drug_Intox_Report_2017.pdf (last
visited August 14, 2018).

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Drug- and Alcohol-Related Intoxication Deaths in Maryland, 2007-2017
Source: Maryland Department of Health and Mental Hygiene




           67.   These deaths are part of an overall increase in deaths from drug and alcohol

overdoses, which grew by nine percent from 2016 to 2017 and by 66 percent from 2015 to 2016,

which was the largest single year increase that has been recorded. 28 In 2017 there were 2,282

deaths from drug and alcohol intoxication, also an all-time high, and more than triple the number

from 2010. 29 According to Maryland’s Department of Health and Mental Hygiene, 88 percent of

all these deaths were opioid-related, meaning that heroin, prescription opioids and/or non-

pharmaceutical fentanyl were involved. 30 The number of opioid-related deaths increased by 8

percent between 2016 and 2017, 70 percent between 2015 and 2016 and has almost quadrupled




28
     Id. at 5.
29
     Id.
30
     Id.



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since 2010. 31 Large increases in the number of fentanyl-related deaths have caused the overall rise

in opioid-related deaths, and many prescription opioid-related deaths occur in combination with

heroin and/or fentanyl. 32

           68.   The number of prescription opioid-related deaths has risen since 2012, although it

dropped from 418 in 2016 to 413 in 2017. 33

           69.   The number of deaths in Maryland due to heroin and opioids has increased by more

than 100 percent in the last five years, and heroin and opioid drug dependency has more than

doubled in the last decade. 34

           70.   The CDC has also found that the number of drug overdose death rates has increased

at a statistically-significant rate in Maryland in recent years. From 2015-16, the death rate

increased by 58.9 percent, in 2014-2015, the death rate increased by 20.1 percent and from 2013-

2014 the death rate increased by 19.2 percent. 35

           71.   The number of deaths attributed to fentanyl also spiked sharply, with 1594 in 2017,

up from 1119 deaths in 2016, 340 in 2015, and just 26 in 2011. 36




31
     Id.
32
     Id.
33
     Id.
34
      Maryland’s Heroin and Opioid Emergency Task Force, Heroin Facts, available at
http://governor.maryland.gov/ltgovernor/home/heroin-and-opioid-emergency-task-force/heroin-facts/ (last visited
Dec. 8, 2017).
35
      CDC, Drug Overdose Death Data, available at https://www.cdc.gov/drugoverdose/data/statedeaths.html (last
visited August 15, 2018).
36
     Maryland Department of Health, supra, at 13.



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         72.         In fiscal 2018, Maryland will spend over $22 million to fight the opioid crisis, with

most of the money going to prevention, enforcement and treatment efforts. 37 This is part of a $50

million fund to battle the epidemic over the next five years. 38

         73.         Maryland’s opioid crisis has also led to higher hospitalization rates. In 2014 opioid

hospitalization rates among men and women in Maryland were the highest in the nation at 403.8

hospitalizations per 100,000 people. 39 Maryland also had the second highest rate nationally of

opioid-related emergency department visits, at 300.7 per 100,000 people. 40 That number is an 81

percent increase from 2009-2014. 41 Maryland is the only state that “consistently ranked as having

among the highest rates of opioid-related [emergency department] visits across all patient sex and

age groups.” 42

         74.         Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience when a pregnant woman takes drugs such as heroin, codeine, oxycodone, methadone

or buprenorphine, is also sharply the rise. 43 In Maryland in 2015, 1,419 babies were born with


37
       Kristi King, “‘Dramatic’ increase in opioid deaths continues in Maryland,” WTOP, Oct. 25, 2017 available at
https://wtop.com/maryland/2017/10/dramatic-increase-opioid-deaths-continues-maryland/ (last visited Dec. 8,
2017).
38
      Mary Hui, “Growth in Md. Opioid fatalities comes almost entirely from fentanyl-related deaths.” Washington
Post, Oct. 24, 2017 available at https://www.washingtonpost.com/local/growth-in-md-opioid-fatalities-comes-
almost-entirely-from-fentanyl-related-deaths/2017/10/24/fc278b9e-b8f6-11e7-a908-
a3470754bbb9_story.html?utm_term=.4fe2637df2e9 (last visited August 15, 2018).
39
       Weiss, Elixhauser, Barrett, Steiner, Bailey, and O’Malley, Opioid-Related Inpatient Stays and Emergency
Department Visits by State, 2009-2014, December 2016 (Revised January 2017), at 1, 4 available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb219-Opioid-Hospital-Stays-ED-Visits-by-State.pdf (last visited
Dec. 11, 2017).
40
      Id. at 1, 8.
41
      Id. at 9.
42
       Weiss, Bailey, O’Malley, Barrett, Elixhauser and Steiner, Patient Characteristics of Opioid-Related Inpatient
Stays and Emergency Department Visits Nationally and by State, 2014, June 2017 at 11, available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb224-Patient-Characteristics-Opioid-Hospital-Stays-ED-Visits-by-
State.pdf (last visited Dec. 11, 2017).
43
   Catherin Hawley, “57 percent increase from 2007 to 2015 in babies born addicted to drugs in Maryland,”
WMAR Baltimore, Jan. 18, 2017, available at http://www.abc2news.com/news/health/57-increase-from-2007-to-


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drugs or alcohol in their system, an increase of 56.6 percent from 2006 to 2015. “[A]n

overwhelming number are born to mothers who have used prescription painkillers or heroin.” 44

Right now these children spend an average of 26 days in Maryland hospitals after birth. 45

                  3. The Opioid Epidemic in Plaintiff’s Community.

           75.    The opioid epidemic is particularly devastating in Plaintiff’s Community.

           76.    In 2017, 59 people died of drug or alcohol-related overdoses in Washington

County. 46 That number is down slightly from 66 in 2016 and 64 in 2015. 47 In 2014, there were 40

such deaths, and 28 in 2013. 48 Fifty-one of the 59 deaths in 2017 were opioid-related, as were 63

of the 66 deaths in 2016. 49 Opioid-related deaths jumped more than 500 percent between 2010 and

2016. 50

           77.    The death rate for unintentional intoxication deaths in Washington County was 28.8

per 100,000 residents from 2012 to 2016, the fifth highest rate in the State. 51

           78.    In 2017, police in Hagerstown, the County seat, responded to 187 overdoses, of

which there were 15 fatalities. As of March 27, 2018, police had responded to 60 overdoses,



2015-in-babies-born-addicted-to-drugs-in-maryland (last visited Dec. 11, 2017); see also University of Maryland
Medical Center, Neonatal abstinence syndrome, available at
http://www.umm.edu/health/medical/ency/articles/neonatal-abstinence-syndrome (last visited Dec. 11, 2017).
44
     Andrea K. McDaniels, “Number of Maryland babies born with drugs in their system growing.” Baltimore Sun,
(February 17, 2017) available at http://www.baltimoresun.com/health/maryland-health/bs-hs-drug-exposed-babies-
20170217-story.html (last visited Dec. 11, 2017).
45
     Id.
46
     Maryland Department of Health, supra, at 46.
47
     Id.
48
     Id.
49
     Id. at 47.
50
     David Pittman, “Facing mounting opioid overdoses, Maryland doctor defies federal law,” Politico, (Nov. 15,
2017), available at https://www.politico.com/story/2017/11/15/facing-mounting-opioid-overdoses-maryland-doctor-
defies-federal-law-244948 (last visited April 11, 2018).
51
     Maryland Department of Health, supra, at 44.



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including eight deaths. The police chief states that 80 percent of property crime in Hagerstown is

related to drug addiction. 52

                 79.   In 2013, Hagerstown EMS crews administered Narcan – a nasal spray medication

that reverses the effects of opioids in someone who is overdosing – 122 times. By 2015, that

number had almost doubled to 234. 53

                 80.   According to the Director of the Washington County Department of Social Services

(DSS), the number of newborns exposed to drugs has climbed at an alarming rate with 68 such

infants in FY2015, 101 in FY2016, 142 in FY 2017 and 155 in FY2018. 54 Children have also been

removed from their homes – due at least in part to their parents’ substance abuse – at numbers that

are also continually increasing with 31 in FY2016, 35 in FY2017, and 54 in FY2018. 55



                 81.   The CDC has tracked prescription rates per county in the United States, identifying

the geographic “hotspots” for rates of opioid prescriptions. 56 The CDC has calculated the

geographic distribution at county levels of opioid prescriptions dispensed per 100 persons, 57

revealing that Washington County has been a consistent hotspot over at least the past decade.




52
    CJ Lovelace, “Hagerstown joins litigation against major drug companies,” Herald-Mail Media, (March 27,
2018), available at https://www.heraldmailmedia.com/news/local/hagerstown-prepares-to-enter-litigation-against-
major-opioid-distributors/article_420cd58c-31ed-11e8-ada7-332e6d2300f0.html (last visited April 11, 2018).
53
      Jennifer Donelan & Dwayne Myers, “Heroin Highway: Part 5 – Hagerstown, MD. ‘Round the clock
emergency,’” WJLA, (February 19, 2016) available at http://wjla.com/features/hooked-on-heroin/heroin-highway-
part-5-6-hagerstown-md-and-phone-bank (last visited April 11, 2018).
54
           Information from D. Michael Piercy, Jr., Director, Washington County Department of Social Services.
55
           Id.
56
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited June 13, 2018).
57
     Id.



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        82.    The CDC’s statistics prove that the opioid prescription rates in Washington County

have exceeded any legitimate medical, scientific, or industrial purpose. The overall opioid

prescribing rate in 2016 was 66.5 prescriptions per 100 people and 58.7 in Maryland. 58 However,

in Washington County, Maryland, the 2016 prescription rate was 113.1 per 100 people – the third

highest in the State and a rate of more than one prescription for every man, woman and child in

Washington County. 59 This is down from the 2015 prescribing rate for Washington County which

was 116.6 per 100 people – also the third highest in the State. 60

        83.    Unfortunately, the 2015 and 2016 high rates of opioid prescriptions were not an

aberration for Washington County. The opioid prescribing rates in Washington County have

consistently been among the highest in the state and significantly greater than the national and

state average. Compared to a national average of 75.6 opioid prescriptions per 100 people in 2014 61

and 67.6 in Maryland, 62 the Washington County opioid prescription rate was 122.8 per 100

people. 63 In 2013, the national average was 78.1 opioid prescriptions per 100 people, 64 but the

opioid prescription rate in Washington County was 124.8 per 100 people. 65 Compared to a national


58
   Id. See also U.S. State Prescribing Rates, 2016, available at
https://www.cdc.gov/drugoverdose/maps/rxstate2016.html (last visited June 13, 2018).
59
   U.S. County Prescribing Rates, 2016, CDC, (reporting for “Washington County, MD” here and below), available
at https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (last visited June 13, 2018).
60
   U.S. County Prescribing Rates, 2015, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html (last visited June 13, 2018).
61
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
62
   U.S. State Prescribing Rates, 2014, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2014.html
(last visited June 13, 2018).
63
   U.S. County Prescribing Rates, 2014, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html (last visited June 13, 2018).
64
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June. 13, 2018).
65
   U.S. County Prescribing Rates, 2013, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html (last visited June 13, 2018).



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average of 81.3 opioid prescriptions per 100 people in 2012, 66 the opioid prescription rate in

Washington County was 128.2. 67 In 2011, the national average was 80.9 opioid prescriptions per

100 people, 68 while the opioid prescription rate in Washington County was 117.1. 69 Compared to

a national average of 81.2 opioid prescriptions per 100 people in 2010 70 and 71.2 in Maryland,71

the Washington County opioid prescription rate was 118.9 per 100 people – the third highest

prescribing rate in the state that year. 72 In 2009, the national average was 79.5 opioid prescriptions

per 100 people, 73 but the rate in Washington County was 105.1. 74 Compared to a national average

of 78.2 opioid prescriptions per 100 people in 2008 75 and 65.5 in Maryland, 76 the Washington

County rate was 99.1 per 100 people. 77 In 2007, the national average was 75.9 opioid prescriptions




66
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
67
   U.S. County Prescribing Rates, 2012, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html (last visited June 13, 2018).
68
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
69
   U.S. County Prescribing Rates, 2011, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html (last visited June 13, 2018).
70
   U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
71
   U.S. State Prescribing Rates, 2010, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2010.html
(last visited June 13, 2018).
72
   U.S. County Prescribing Rates, 2010, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html (last visited June 13, 2018).
73
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
74
   U.S. County Prescribing Rates, 2009, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2009.html (last visited June 13, 2018).
75
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited June 13, 2018).
76
   U.S. State Prescribing Rates, 2018, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2008.html
(last visited June 13, 2018).
77
   U.S. County Prescribing Rates, 2008, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2008.html (last visited June 13, 2018).



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per 100 people, 78 while the Washington County rate was 95.1. 79 Compared to a national average

of 72.4 opioid prescriptions per 100 people in 2006, 80 the Washington County rate was 89.73 per

100 people. 81

        B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND
           UNFAIR MARKETING OF OPIOIDS.

        84.      The opioid epidemic did not happen by accident.

        85.      Before the 1990’s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

        86.      Each Manufacturer Defendant has conducted, and has continued to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of opioids.

In connection with this scheme, each Manufacturer Defendant spent, and continues to spend,




78
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited Oct. 30,, 2017).
79
   U.S. County Prescribing Rates, 2007, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2007.html (last visited March 23, 2018).
80
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
81
   U.S. County Prescribing Rates, 2006, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2006.html (last visited March 23, 2018).

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millions of dollars on promotional activities and materials that falsely deny or trivialize the risks

of opioids while overstating the benefits of using them for chronic pain.

       87.   The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants’ claims.

       88.   The Manufacturer Defendants have disseminated these common messages to reverse

the popular and medical understanding of opioids and risks of opioid use. They disseminated these

messages directly, through their sales representatives, in speaker groups led by physicians the

Manufacturer Defendants recruited for their support of their marketing messages, and through

unbranded marketing and industry-funded front groups.

       89.   The Manufacturer Defendants’ efforts have been wildly successful. Opioids are now

the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually




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since 2009. 82 In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

. . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive when

prescribed for legitimate pain.” 83 This epidemic has resulted in a flood of prescription opioids

available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

or even non-prescription opioids, like heroin.

          90.     The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

and damages alleged herein.

                 1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
                    False and Deceptive Statements about Opioids.

          91.     The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State, including

in Plaintiff’s Community. Defendants also deployed seemingly unbiased and independent third

parties that they controlled to spread their false and deceptive statements about the risks and

benefits of opioids for the treatment of chronic pain throughout the State and Plaintiff’s

Community.

          92.     The Manufacturer Defendants employed the same marketing plans and strategies and

deployed the same messages in and around the State, including in Plaintiff’s Community, as they


82
   See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
83
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.

                                                          28
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did nationwide. Across the pharmaceutical industry, “core message” development is funded and

overseen on a national basis by corporate headquarters. This comprehensive approach ensures that

the Manufacturer Defendants’ messages are accurately and consistently delivered across

marketing channels – including detailing visits, speaker events, and advertising – and in each sales

territory. The Manufacturer Defendants consider this high level of coordination and uniformity

crucial to successfully marketing their drugs.

       93.   The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide decks, and supervisors rode

along with them periodically to both check on their performance and compliance.

                       i.   Direct Marketing.

       94.   The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.

       95.   Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef, and teacher, misleadingly implying that

the drug would provide long-term pain-relief and functional improvement. Upon information and
                                                 29
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belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in 2012 in medical

journals. These ads featured chronic pain patients and recommended OxyContin for each. One ad

described a “54-year-old writer with osteoarthritis of the hands” and implied that OxyContin would

help the writer work more effectively.

       96.    Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through “detailers” – sales representatives who visited individual doctors and medical staff in their

offices – and small-group speaker programs. The Manufacturer Defendants have not corrected this

misinformation. Instead, each Defendant devoted massive resources to direct sales contacts with

doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants spent in excess

of $168 million on detailing branded opioids to doctors, more than twice what they spent on

detailing in 2000.

       97.    The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by individual

doctor, which in turn allows them to target, tailor, and monitor the impact of their core messages.

Thus, the Manufacturer Defendants know their detailing to doctors is effective.

       98.    The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that “minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to




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reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.” 84

                        ii.   Indirect Marketing.

        99.   The Manufacturer Defendants’ indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded organizations

posing as neutral and credible professional societies and patient advocacy groups (referred to

hereinafter as “Front Groups”).

        100. The Manufacturer Defendants deceptively marketed opioids in the State and

Plaintiff’s Community through unbranded advertising – e.g., advertising that promotes opioid use

generally but does not name a specific opioid. This advertising was ostensibly created and

disseminated by independent third parties. But by funding, directing, reviewing, editing, and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

messages disseminated by these third parties and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as Defendants controlled

the distribution of their “core messages” via their own detailers and speaker programs, the

Manufacturer Defendants similarly controlled the distribution of these messages in scientific

publications, treatment guidelines, Continuing Medical Education (“CME”) programs, and

medical conferences and seminars. To this end, the Manufacturer Defendants used third-party

public relations firms to help control those messages when they originated from third-parties.

        101. The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not



84
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded advertising

to give the false appearance that the deceptive messages came from an independent and objective

source. Like the tobacco companies, the Manufacturer Defendants used third parties that they

funded, directed, and controlled to carry out and conceal their scheme to deceive doctors and

patients about the risks and benefits of long term opioid use for chronic pain.

       102. Defendants also identified doctors to serve, for payment, on their speakers’ bureaus

and to attend programs with speakers and meals paid for by Defendants. These speaker programs

provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker to his or her peers. These speakers give

the false impression that they are providing unbiased and medically accurate presentations when

they are, in fact, presenting a script prepared by Defendants. On information and belief, these

presentations conveyed misleading information, omitted material information, and failed to correct

Defendants’ prior misrepresentations about the risks and benefits of opioids.

       103. Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and directing

doctors who served as KOLS, and (b) funding, assisting, directing, and encouraging seemingly

neutral and credible Front Groups. The Manufacturer Defendants then worked together with those

KOLs and Front Groups to taint the sources that doctors and patients relied on for ostensibly

“neutral” guidance, such as treatment guidelines, CME programs, medical conferences and

seminars, and scientific articles. Thus, working individually and collectively, and through these

Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and patients that what




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they have long known – that opioids are addictive drugs, unsafe in most circumstances for long-

term use – was untrue, and that the compassionate treatment of pain required opioids.

       104. In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

Consent Judgments that prohibited Purdue from making misrepresentations in the promotion and

marketing of OxyContin in the future. By using indirect marketing strategies, however, Purdue

intentionally circumvented these restrictions. Such actions include contributing the creation of

misleading publications and prescribing guidelines which lack reliable scientific basis and promote

prescribing practices which have worsened the opioid crisis.

       105. Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of long-

term opioid use. The Manufacturer Defendants know that doctors rely heavily and less critically

on their peers for guidance, and KOLs provide the false appearance of unbiased and reliable

support for chronic opioid therapy. For example, the State of New York found in its settlement

with Purdue that the Purdue website “In the Face of Pain” failed to disclose that doctors who

provided testimonials on the site were paid by Purdue and concluded that Purdue’s failure to

disclose these financial connections potentially misled consumers regarding the objectivity of the

testimonials.

       106. Defendants utilized many KOLs, including many of the same ones.

       107. Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo, Janssen,



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and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

the American Pain Society (“APS”) / American Academy of Pain Medicine (“AAPM”) Guidelines

Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and again in

2009. He was also a member of the board of the American Pain Foundation (“APF”), an advocacy

organization almost entirely funded by the Manufacturer Defendants.

          108. Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain using

an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.” 85

          109. Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s and

‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids




85
     Good Morning America (ABC television broadcast Aug. 30, 2010).



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does not exist.” 86 Portenoy candidly stated: “Did I teach about pain management, specifically

about opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did.” 87

           110. Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director of

Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr. Webster

was President of American Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior Editor

of Pain Medicine, the same journal that published Endo special advertising supplements touting

Opana ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo, and

Purdue. At the same time, Dr. Webster was receiving significant funding from the Manufacturer

Defendants (including nearly $2 million from Cephalon).

           111. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

           112. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

by Endo, Janssen, and Purdue. Unaware of the flawed science and industry bias underlying this

tool, certain states and public entities have incorporated the Opioid Risk Tool into their own


86
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
87
     Id.

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guidelines, indicating, also, their reliance on the Manufacturer Defendants and those under their

influence and control.

          113. In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue entitled

“Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster recommended

use of risk screening tools, urine testing, and patient agreements as a way to prevent “overuse of

prescriptions” and “overdose deaths.” This webinar was available to and was intended to reach

doctors in the State and doctors treating members of Plaintiff’s Community. 88

          114. Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s

dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse

While Managing Pain—a book that is still available online—when faced with signs of aberrant

behavior, increasing the dose “in most cases . . . should be the clinician’s first response.” 89 Upon

information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed

himself, acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give

patients more medication.” 90

          115. The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these


88
   See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
89
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
90
   John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.

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“Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to negative

articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

        116. These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing, and approving their content, and by

funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

Groups would generate only the messages that the Manufacturer Defendants wanted to distribute.

Despite this, the Front Groups held themselves out as independent and serving the needs of their

members – whether patients suffering from pain or doctors treating those patients.

        117. Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below, but

there are many others, including the American Pain Society (“APS”), American Geriatrics Society

(“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain Association

(“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation (“USPF”) and

Pain & Policy Studies Group (“PPSG”). 91

        118. The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,


91
  See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
Dep’t of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.

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primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes – including

death – among returning soldiers. APF also engaged in a significant multimedia campaign –

through radio, television and the internet – to educate patients about their “right” to pain treatment,

namely opioids. All of the programs and materials were available nationally and were intended to

reach citizens of the State and Plaintiff’s Community.

          119. In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, upon information and belief, APF was entirely dependent

on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid using its line of

credit.

          120. APF held itself out as an independent patient advocacy organization. It often engaged

in grassroots lobbying against various legislative initiatives that might limit opioid prescribing,

and thus the profitability of its sponsors. Upon information and belief, it was often called upon to

provide “patient representatives” for the Manufacturer Defendants’ promotional activities,

including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF functioned

largely as an advocate for the interests of the Manufacturer Defendants, not patients. Indeed, upon

information and belief, as early as 2001, Purdue told APF that the basis of a grant was Purdue’s




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desire to “strategically align its investments in nonprofit organizations that share [its] business

interests.”

        121. Plaintiff is informed, and believes, that on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these activities

and publications, knowing that drug companies would support projects conceived as a result of

these communications.

        122. The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within days

of being targeted by Senate investigation, APF’s board voted to dissolve the organization “due to

irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.” 92

        123. Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to the Manufacturer Defendants’ deceptive marketing

of chronic opioid therapy.

        124. AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top of

other funding) to participate. The benefits included allowing members to present educational



92
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.

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programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet with

AAPM executive committee members in small settings. Defendants Endo, Purdue, and Cephalon

were members of the council and presented deceptive programs to doctors who attended this

annual event.

        125. Upon information and belief, AAPM is viewed internally by Endo as “industry

friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.

AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

        126. The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

        127. In 1996, AAPM and APS jointly issued a consensus statement, “The Use of Opioids

for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and claimed that

the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored the AAPM/APS

statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole consultant. The

consensus statement remained on AAPM’s website until 2011, and, upon information and belief,

was taken down from AAPM’s website only after a doctor complained. 93


93
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).



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           128. AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”) and

continued to recommend the use of opioids to treat chronic pain. 94 Treatment guidelines have been

relied upon by doctors, especially the general practitioners and family doctors targeted by the

Manufacturer Defendants. Treatment guidelines not only directly inform doctors’ prescribing

practices, but are cited throughout the scientific literature and referenced by third-party payors in

determining whether they should cover treatments for specific indications. Pharmaceutical sales

representatives employed by Endo, Actavis, and Purdue discussed treatment guidelines with

doctors during individual sales visits.

           129. At least fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support from

Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that the

risk of addiction is manageable for patients regardless of past abuse histories. 95 One panel member,

Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and founder of the

Michigan Headache & Neurological Institute, resigned from the panel because of his concerns that

the 2009 Guidelines were influenced by contributions that drug companies, including

Manufacturer Defendants, made to the sponsoring organizations and committee members. These

AAPM/APS Guidelines have been a particularly effective channel of deception and have

influenced not only treating physicians, but also the body of scientific evidence on opioids; the

Guidelines have been cited hundreds of times in academic literature, were disseminated in the

State and/or Plaintiff’s Community during the relevant time period, are still available online, and


94
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
95
     Id.

                                                       41
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were reprinted in the Journal of Pain. The Manufacturer Defendants widely referenced and

promoted the 2009 Guidelines without disclosing the lack of evidence to support them or the

Manufacturer Defendants financial support to members of the panel.

       130. The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004 as

an APF project. PCF is comprised of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative and did

not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

             2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the
                Risks and Benefits of Opioids.

                      i.   The Manufacturer Defendants embarked upon a campaign of
                           false, deceptive, and unfair assurances grossly understating and
                           misstating the dangerous addiction risks of the opioid drugs.

       131. To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations – which are described

below – reinforced each other and created the dangerously misleading impression that: (1) starting

patients on opioids was low risk because most patients would not become addicted, and because

those at greatest risk for addiction could be identified and managed; (2) patients who displayed

signs of addiction probably were not addicted and, in any event, could easily be weaned from the


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drugs; (3) the use of higher opioid doses, which many patients need to sustain pain relief as they

develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

not only failed to correct these misrepresentations, they continue to make them today.

        132. Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and Purdue

Pharma L.P., have entered into settlement agreements with public entities that prohibit them from

making many of the misrepresentations identified in this Complaint. Yet even afterward, each

Manufacturer Defendant continued to misrepresent the risks and benefits of long-term opioid use

in the State and Plaintiff’s Community and each continues to fail to correct its past

misrepresentations.

        133. Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

unfair claims about the purportedly low risk of addiction include:

            a. Actavis’s predecessor caused a patient education brochure, Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               is possible, but falsely claimed that it is “less likely if you have never had an
               addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing
               materials along with the rights to Kadian, it appears that Actavis continued to use
               this brochure in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               online. 96

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
               claimed in 2009 that “[p]eople who take opioids as prescribed usually do not
               become addicted.” Upon information and belief, another Endo website,
               PainAction.com, stated “Did you know? Most chronic pain patients do not become
               addicted to the opioid medications that are prescribed for them.” Endo also
               distributed an “Informed Consent” document on PainAction.com that misleadingly

96
   Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.

                                                      43
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                   suggested that only people who “have problems with substance abuse and
                   addiction” are likely to become addicted to opioid medications.

               d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
                  entitled Living with Someone with Chronic Pain, which stated that: “Most health
                  care providers who treat people with pain agree that most people do not develop an
                  addiction problem.”

               e. Janssen reviewed, edited, approved, and distributed a patient education guide
                  entitled Finding Relief: Pain Management for Older Adults (2009), which
                  described as “myth” the claim that opioids are addictive, and asserted as fact that
                  “[m]any studies show that opioids are rarely addictive when used properly for the
                  management of chronic pain.”

               f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
                  2015), which claims that concerns about opioid addiction are “overestimated.”

               g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                  Management, which claims that less than 1% of children prescribed opioids will
                  become addicted and that pain is undertreated due to “[m]isconceptions about
                  opioid addiction.” 97


               h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
                  Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                  promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
                  The book, which is still available for sale, and is promoted online at
                  www.defeatchronicpainnow.com, advises laypeople who are considering taking
                  opioid drugs that “[o]nly rarely does opioid medication cause a true addiction.”98
                  Further, the book advises that even the issue of tolerance is “overblown,” because
                  “[o]nly a minority of chronic pain patients who are taking long-term opioids
                  develop tolerance.” In response to a hypothetical question from a chronic back pain
                  patient who expresses a fear of becoming addicted, the book advises that “[i]t is
                  very uncommon for a person with chronic pain to become ‘addicted’ to narcotics
                  IF (1) he doesn’t have a prior history of any addiction and (2) he only takes the
                  medication to treat pain.”

               i. Consistent with the Manufacturer Defendants’ published marketing materials, upon
                  information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in the
                  State and Plaintiff’s Community minimized or omitted any discussion with doctors
                  of the risk of addiction; misrepresented the potential for abuse of opioids with



97
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
98
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).

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                      purportedly abuse-deterrent formulations; and routinely did not correct the
                      misrepresentations noted above.

                 j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                    opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                    amicus brief to the United States Fourth Circuit Court of Appeals that “patients
                    rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.
                    Portenoy. 99


            134. These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction], [and] overdose . . .).” 100 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.” 101

            135. The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting (“ER/LA”)

opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its announcements, the FDA

found that “most opioid drugs have ‘high potential for abuse’” and that opioids “are associated

with a substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

overdose, and death.” According to the FDA, because of the “known serious risks” associated with

long-term opioid use, including “risks of addiction, abuse, and misuse, even at recommended


99
   Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
100
    Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016,
Morbidity & Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
101
      Id. at 2, 25.



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doses, and because of the greater risks of overdose and death,” opioids should be used only “in

patients for whom alternative treatment options” like non-opioid drugs have failed. 102

        136. The State of New York, in a 2016 settlement agreement with Endo, found that opioid

“use disorders appear to be highly prevalent in chronic pain patients treated with opioids, with up

to 40% of chronic pain patients treated in specialty and primary care outpatient centers meeting

the clinical criteria for an opioid use disorder.” 103 Endo had claimed on its www.opana.com

website that “[m]ost healthcare providers who treat patients with pain agree that patients treated

with prolonged opioid medicines usually do not become addicted,” but the State of New York

found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to “make

statements that . . . opioids generally are non-addictive” or “that most patients who take opioids

do not become addicted” in New York. Endo remains free, however, to make those statements in

this State.

        137. In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.




102
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
A. Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
103
    Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228),
at 16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.



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pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients who

were already in danger.

           138. To this end, one of Purdue’s employees, Dr. David Haddox, invented a phenomenon

called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the false,

misleading, deceptive, and unfair statements regarding pseudoaddiction include:

               a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name,” “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of pseudoaddiction, rather than true addiction. 104 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real. 105

               b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                  stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
                  is under-treated . . . . Pseudoaddiction is different from true addiction because such
                  behaviors can be resolved with effective pain management.”

               c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
                  2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
                  Analgesia,” which, upon information and belief, promoted pseudoaddiction by
                  teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
                  appears to have substantially controlled NIPC by funding NIPC projects;
                  developing, specifying, and reviewing content; and distributing NIPC materials.

               d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                  which, upon information and belief, described pseudoaddiction as a concept that
                  “emerged in the literature” to describe the inaccurate interpretation of [drug-
                  seeking behaviors] in patients who have pain that has not been effectively treated.”

               e. Upon information and belief, Purdue sponsored a CME program titled “Path of the
                  Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role
                  play, a chronic pain patient with a history of drug abuse tells his doctor that he is
                  taking twice as many hydrocodone pills as directed. The narrator notes that because
                  of pseudoaddiction, the doctor should not assume the patient is addicted even if he
                  persistently asks for a specific drug, seems desperate, hoards medicine, or
                  “overindulges in unapproved escalating doses.” The doctor treats this patient by
                  prescribing a high-dose, long-acting opioid.


104
      Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
105
      See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).

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            f. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
               Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
               promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
               The book, which is still available for sale, and is promoted online at
               www.defeatchronicpainnow.com, teaches laypeople that “pseudoaddiction” is
               “caused by their doctor not appropriately prescribing the opioid medication.” It
               teaches that “[p]seudoaddiction happens when a patient’s opioid medication is not
               being prescribed in doses strong enough to provide good pain relief, or if the drug
               is not being prescribed often enough throughout the day. . . When a pseudoaddicted
               patient is prescribed the proper amount of opioid medication, he or she doesn’t take
               any extra pills because his or her pain is relieved.”


        139. In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already addicted

patients.

        140. In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer Defendants’

false instructions that addiction risk screening tools, patient contracts, urine drug screens, and

similar strategies allow them to reliably identify and safely prescribe opioids to patients

predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

            a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
               doctor who became a member of Endo’s speakers bureau in 2010. The supplement,
               entitled Pain Management Dilemmas in Primary Care: Use of Opioids, emphasized
               the effectiveness of screening tools, claiming that patients at high risk of addiction
               could safely receive chronic opioid therapy using a “maximally structured
               approach” involving toxicology screens and pill counts.

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                   b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
                      Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
                      tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
                      “overdose deaths.”

                   c. As recently as 2015, upon information and belief, Purdue has represented in
                      scientific conferences that “bad apple” patients – and not opioids – are the source
                      of the addiction crisis and that once those “bad apples” are identified, doctors can
                      safely prescribe opioids without causing addiction.


            141. The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.” 106

            142. A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women. 107

            143. The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by tapering

a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A Policymaker’s


106
      Id. at 11.
107
      Id. at 26.



                                                       49
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Guide to Understanding Pain & Its Management, which claimed that “[s]ymptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation” without mentioning any hardships that might occur. 108 Similarly, in the 2010

Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!” potential opioid users are

advised that tolerance to opioids is “easily remedied,” and that “[a]ll patients can be safely taken

off opioid medication if the dose is slowly tapered down by their doctor.”

        144. A fifth category of false, deceptive, and unfair statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased indefinitely without

added risk. The ability to escalate dosages was critical to Defendants’ efforts to market opioids for

long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

abandoned treatment when patients built up tolerance and lower dosages did not provide pain

relief. The Manufacturer Defendants’ deceptive claims include:

            a. Upon information and belief, Actavis’s predecessor created a patient brochure for
               Kadian in 2007 that stated, “Over time, your body may become tolerant of your
               current dose. You may require a dose adjustment to get the right amount of pain
               relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
               marketing materials along with the rights to Kadian, Actavis appears to have
               continued to use these materials in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which claims that some patients “need” a larger dose of
               an opioid, regardless of the dose currently prescribed. The guide stated that opioids
               have “no ceiling dose” and insinuated that they are therefore the most appropriate
               treatment for severe pain. 109 This publication is still available online.

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
               claimed in 2009 that opioid dosages may be increased until “you are on the right
               dose of medication for your pain.”


108
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter
APF, Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
109
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf., at 12.



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                d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
                   Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
                   format, it asked “If I take the opioid now, will it work later when I really need it?”
                   The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
                   relief.” 110

                e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                   Management for Older Adults (2009), which was distributed by its sales force. This
                   guide listed dosage limitations as “disadvantages” of other pain medicines but
                   omitted any discussion of risks of increased opioid dosages.

                f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
                   notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                   sufficient dosage of opioids, he or she should find another doctor who will.

                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                   Management, which taught that dosage escalations are “sometimes necessary,” and
                   that “the need for higher doses of medication is not necessarily indicative of
                   addiction,” but inaccurately downplayed the risks from high opioid dosages. 111

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that NSAIDs and other drugs, but not opioids, are
                   unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug Dependence,
                   “the oldest and largest organization in the US dedicated to advancing a scientific
                   approach to substance use and addictive disorders,” challenging the correlation
                   between opioid dosage and overdose. 112

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                   amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                   ‘ceiling dose’” for opioids. 113

                k. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”,
                   potential opioid users are warned about the risk of “[p]seudoaddiction [b]ecause of
                   a [l]ow [d]ose,” and advised that this condition may be corrected through the
                   prescription of a higher dose. Similarly, the book recommends that for chronic pain
                   patients, the opioid dose should be “gradually increased to find the best daily dose,

110
    Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).
111
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
112
      The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
113
      Brief of APF, at 9.

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                      as is done with all the other oral drugs.” The book discusses the risks of NSAIDs
                      and other drugs at higher doses, but not explain this risk for opioids.

           145. Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.” 114 More

specifically, the CDC explains that “there is now an established body of scientific evidence

showing that overdose risk is increased at higher opioid dosages.” 115 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death at higher

dosages.” 116 That is why the CDC advises doctors to “avoid increasing dosage” to above 90

morphine milligram equivalents per day. 117

           146. Defendants’ deceptive marketing of the so-called abuse-deterrent properties of some

of their opioids has created false impressions that these opioids can cure addiction and abuse.

           147. The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements for

the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant, in a way

that suggested it was more difficult to abuse. This claim was false. The FDA warned in a 2013

letter that Opana ER Extended-Release Tablets’ “extended-release features can be compromised,

causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation such as cutting,




114
      2016 CDC Guideline at 22–23.
115
      Id. at 23–24.
116
      Id. at 21.
117
      Id. at 16.



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grinding, or chewing, followed by swallowing.” 118 Also troubling, Opana ER can be prepared for

snorting using commonly available methods and “readily prepared for injection.” 119 The letter

discussed “the troubling possibility that a higher (and rising) percentage of [Opana ER Extended-

Release Tablet] abuse is occurring via injection.” 120 Endo’s own studies, which it failed to disclose,

showed that Opana ER could still be ground and chewed. In June 2017, the FDA requested that

Opana ER be removed from the market.

                              ii.   The Manufacturer Defendants embarked upon a campaign of
                                    false, deceptive, and unfair assurances grossly overstating the
                                    benefits of the opioid drugs.

            148. To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to long-

term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term benefit

of opioids in pain and function versus no opioids for chronic pain with outcomes examined at least

1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that other

treatments were more or equally beneficial and less harmful than long-term opioid use. 121 The

FDA, too, has recognized the lack of evidence to support long-term opioid use. Despite this,

Defendants falsely and misleadingly touted the benefits of long-term opioid use and falsely and

misleadingly suggested that these benefits were supported by scientific evidence.

            149. Some illustrative examples of the Manufacturer Defendants’ false claims are:

                   a. Upon information and belief, Actavis distributed an advertisement claiming that the
                      use of Kadian to treat chronic pain would allow patients to return to work, relieve
                      “stress on your body and your mental health,” and help patients enjoy their lives.

118
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
2013), at 5.
119
      Id. at 6.
120
      Id. at 6 n.21.
121
      Id. at 15.

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            b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
               pain would allow patients to perform demanding tasks like construction work or
               work as a chef and portrayed seemingly healthy, unimpaired subjects.

            c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
               Pain Management for Older Adults (2009) – which states as “a fact” that “opioids
               may make it easier for people to live normally.” The guide lists expected functional
               improvements from opioid use, including sleeping through the night, returning to
               work, recreation, sex, walking, and climbing stairs.

            d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
               display in doctors’ offices, of presumed patients in active professions; the caption
               read, “Pain doesn’t fit into their schedules.”

            e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
               in 2012 in medical journals entitled “Pain vignettes,” which were case studies
               featuring patients with pain conditions persisting over several months and
               recommending OxyContin for them. The ads implied that OxyContin improves
               patients’ function.

            f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
               Endo and Purdue, taught that relief of pain by opioids, by itself, improved patients’
               function.

            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which counseled patients that opioids “give [pain patients]
               a quality of life we deserve.” 122 This publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
               belief, that with opioids, “your level of function should improve; you may find you
               are now able to participate in activities of daily living, such as work and hobbies,
               that you were not able to enjoy when your pain was worse.” Elsewhere, the website
               touted improved quality of life (as well as “improved function”) as benefits of
               opioid therapy. The grant request that Endo approved for this project specifically
               indicated NIPC’s intent to make misleading claims about function, and Endo
               closely tracked visits to the site.

            i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled “Persistent
               Pain in the Older Patient.” 123 Upon information and belief, a CME disseminated


122
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
123
    E.g., NIPC, Persistent Pain and the Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.

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                via webcast claimed that chronic opioid therapy has been “shown to reduce pain
                and improve depressive symptoms and cognitive functioning.”

            j. Janssen sponsored and funded a multimedia patient education campaign called
               “Let’s Talk Pain.” One feature of the campaign was to complain that patients were
               under-treated. In 2009, upon information and belief, a Janssen-sponsored website,
               part of the “Let’s Talk Pain” campaign, featured an interview edited by Janssen
               claiming that opioids allowed a patient to “continue to function.”

            k. Purdue sponsored the development and distribution of APF’s A Policymaker’s
               Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
               clinical studies” have shown that opioids are effective in improving “[d]aily
               function,” “[p]sychological health,” and “[o]verall health-related quality of life for
               chronic pain.” 124 The Policymaker’s Guide was originally published in 2011.

            l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
               and continue to convey the message that opioids will improve patient function.


        150. As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

        151. In 2010, the FDA warned Actavis, in response to its advertising of Kadian described

above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment

of life.” 125 And in 2008, upon information and belief, the FDA sent a warning letter to an opioid

manufacturer, making it clear “that [the claim that] patients who are treated with the drug

experience an improvement in their overall function, social function, and ability to perform daily

activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”


124
    Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 29.
125
    Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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          152. The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by the

Manufacturer Defendants contravene pronouncements by and guidance from the FDA and CDC

based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in 2013

and IR opioids in 2016 to state that opioids should only be used as a last resort “in patients for

which alternative treatment options” like non-opioid drugs “are inadequate.” And the 2016 CDC

Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic pain,

particularly arthritis and lower back pain. 126 Purdue misleadingly promoted OxyContin as being

unique among opioids in providing 12 continuous hours of pain relief with one dose. In fact,

OxyContin does not last for 12 hours – a fact that Purdue has known at all times relevant to this

action. Upon information and belief, Purdue’s own research shows that OxyContin wears off in

under six hours in one quarter of patients and in under 10 hours in more than half. This is because

OxyContin tablets release approximately 40% of their active medicine immediately, after which

release tapers. This triggers a powerful initial response, but provides little or no pain relief at the

end of the dosing period, when less medicine is released. This phenomenon is known as “end of

dose” failure, and the FDA found in 2008 that a “substantial proportion” of chronic pain patients

taking OxyContin experience it. This not only renders Purdue’s promise of 12 hours of relief false

and deceptive, it also makes OxyContin more dangerous because the declining pain relief patients

experience toward the end of each dosing period drives them to take more OxyContin before the

next dosing period begins, quickly increasing the amount of drug they are taking and spurring

growing dependence.


126
      2016 CDC Guideline at 12.

                                                  56
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        153. Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours. Upon

information and belief, Purdue’s sales representatives continue to tell doctors that OxyContin lasts

a full 12 hours.

        154. Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

        OxyContin is particularly useful for sustained long-term pain because it comes in
        higher, compact pills with a slow release coating. OxyContin pills can work for 12
        hours. This makes it easier for patients to comply with dosing requirements without
        experiencing a roller-coaster of pain relief followed quickly by pain renewal that
        can occur with shorter acting medications. It also helps the patient sleep through
        the night, which is often impossible with short-acting medications. For many of
        those serviced by Pain Care Amici, OxyContin has been a miracle medication. 127

        155. Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA expressly

prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to approve

Fentora for the treatment of chronic pain because of the potential harm, including the high risk of

“serious and life-threatening adverse events” and abuse – which are greatest in non-cancer patients.

The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora should only be


127
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).



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used for cancer patients who are opioid-tolerant and should not be used for any other conditions,

such as migraines, post-operative pain, or pain due to injury. 128 Specifically, the FDA advised that

Fentora “is only approved for breakthrough cancer pain in patients who are opioid-tolerant,

meaning those patients who take a regular, daily, around-the-clock narcotic pain medication.” 129

            156. Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives to

give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

cancer pain. For example:

            a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent
               and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009.
               The CME instructed doctors that “[c]linically, broad classification of pain syndromes
               as either cancer- or non-cancer-related has limited utility” and recommended Actiq and
               Fentora for patients with chronic pain.

            b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
               speaker programs for doctors, including many non-oncologists, which promoted Actiq
               and Fentora for the treatment of non-cancer pain.

            c. In December 2011, Cephalon widely disseminated a journal supplement entitled
               “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl
               Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to
               Anesthesiology News, Clinical Oncology News, and Pain Medicine News – three
               publications that are sent to thousands of anesthesiologists and other medical
               professionals. The Special Report openly promotes Fentora for “multiple causes of
               pain” – and not just cancer pain.




128
    See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
(fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
129
      Id.

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        157. Cephalon’s deceptive marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

        158. Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as Purdue

is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate the high

rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less addictive

– in order to persuade the FDA to bar the manufacture and sale of generic copies of the drug

because the drug was too likely to be abused. In an interview with the Los Angeles Times, Purdue’s

senior compliance officer acknowledged that in five years of investigating suspicious pharmacies,

Purdue failed to take action – even where Purdue employees personally witnessed the diversion of

its drugs. The same was true of prescribers; despite its knowledge of illegal prescribing, Purdue

did not report that a Los Angeles clinic prescribed more than 1.1 million OxyContin tablets and

that Purdue’s district manager described it internally as “an organized drug ring” until years after

law enforcement shut it down. In doing so, Purdue protected its own profits at the expense of

public health and safety. 130

        159. Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require sales representatives to report signs of abuse,




130
    Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.

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diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused them

to be placed on a no-call list.

                 3. The Manufacturer Defendants Targeted Susceptible Prescribers and
                    Vulnerable Patient Populations.

           160. As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and Plaintiff’s Community. For example, the Manufacturer Defendants

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs, but were less likely to be educated about treating pain and

the risks and benefits of opioids and therefore more likely to accept the Manufacturer Defendants’

misrepresentations.

           161. The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants targeted

these vulnerable patients even though the risks of long-term opioid use were significantly greater

for them. For example, the 2016 CDC Guideline observes that existing evidence confirms that

elderly patients taking opioids suffer from elevated fall and fracture risks, reduced renal function

and medication clearance, and a smaller window between safe and unsafe dosages. 131 The 2016

CDC Guideline concludes that there must be “additional caution and increased monitoring” to

minimize the risks of opioid use in elderly patients. Id. at 27. The same is true for veterans, who




131
      2016 CDC Guideline at 13.

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are more likely to use anti-anxiety drugs (benzodiazepines) for post-traumatic stress disorder,

which interact dangerously with opioids.

                 4. Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes to
                    Promote Subsys.

           162. Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief.     It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl

(“TIRF”).

           163. To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.” 132 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

           164. Since its launch, Subsys has been an extremely expensive medication, and its price

continues to rise each year. Depending on a patient’s dosage and frequency of use, a month’s

supply of Subsys could cost in the thousands of dollars.

           165. Due to its high cost, in most instances prescribers must submit Subsys prescriptions

to insurance companies or health benefit payors for prior authorization to determine whether they




132
      Press Release, FDA, FDA Approves Shared System REMS for TIRF Products, Dec. 29, 2011.

                                                       61
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will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

Senate Homeland Security and Governmental Affairs Committee Minority Staff Report (“Staff

Report”), the prior authorization process includes “confirmation that the patient had an active

cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one

of these factors was not present, the prior authorization would be denied . . . .” 133

        166. These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical histories

of patients, falsely claiming that patients had cancer, and providing misleading information to

insurers and payors regarding patients’ diagnoses and medical conditions.

        167. Subsys has proved to be extremely profitable for Insys. Insys made approximately

$330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

stock rose 296%.

        168. Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through its

sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe and

appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses, and misrepresented the appropriateness of Subsys for treatment those



133
  U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling an Epidemic, Insys Therapeutics
and the Systemic Manipulation of Prior Authorization, https://www.documentcloud.org/documents/3987564-
REPORT-Fueling-an-Epidemic-Insys-Therapeutics.html.

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conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes

had the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

            169. Insys incentivized its sales force to engage in illegal and fraudulent conduct. Many

of the Insys sales representatives were new to the pharmaceutical industry and their base salaries

were low compared to industry standard. The compensation structure was heavily weighted

toward commissions and rewarded reps more for selling higher (and more expensive) doses of

Subsys, a “highly unusual” practice because most companies consider dosing a patient-specific

decision that should be made by a doctor. 134

            170. The Insys “speakers program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money

in the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who

increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800 micrograms

instead of 200 micrograms), would receive the invitations to the program—and the checks.” 135 It

was a pay-to-prescribe program.

            171. Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.

            172. In May of 2015, two Alabama pain specialists were arrested and charged with illegal

prescription drug distribution, among other charges. The doctors were the top prescribers of


134
      Id.
135
    Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, Southern Investigative Reporting Foundation, The
Investigator, April 24, 2015.

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Subsys, though neither were oncologists. According to prosecutors, the doctors received illegal

kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat neck,

back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to conspiracy

to commit health care fraud, including engaging in a kickback scheme in order to induce one of

these doctors to prescribe Subsys. The plea agreement states that nearly all of the Subsys

prescriptions written by the doctor were off-label to non-cancer patients. In May of 2017, one of

the doctors was sentenced to 20 years in prison.

       173. In June of 2015, a nurse practitioner in Connecticut described as the state’s highest

Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid

the nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event;

however, she did not give any presentations. In her guilty plea, the nurse admitted receiving the

speaker fees in exchange for writing prescriptions for Subsys.

       174. In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       175. In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of

opioid drugs instead of to oncologists whose patients experienced the breakthrough cancer pain

for which the drug is indicated. The Illinois Complaint also details how Insys used its speaker

program to pay high volume prescribers to prescribe Subsys. The speaker events took place at



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upscale restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging

from $700 to $5,100, and they were allowed to order as much food and alcohol as they wanted.

At most of the events, the “speaker” being paid by Insys did not speak, and, on many occasions,

the only attendees at the events were the speaker and an Insys sales representative.

            176. In December of 2016, six Insys executives and managers were indicted and then, in

October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis.” 136 A Drug Enforcement

Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

companies whose products include controlled medications that can lead to addiction and overdose

have a special obligation to operate in a trustworthy, transparent manner, because their customers’

health and safety and, indeed, very lives depend on it.” 137

                 5. The Manufacturer Defendants made Materially Deceptive Statements and
                    Concealed Materials Facts.

            177. As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts, in the course of

manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’ actions




136
   Press Release, DOJ, U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of Pharmaceutical Company
Insys Arrested and Charged with Racketeering (Oct. 26, 2017), available at https://www.justice.gov/usao-
ma/pr/founder-and-owner-pharmaceutical-company-insys-arrested-and-charged-racketeering.
137
      Id.

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were intentional and/or unlawful. Such statements include, but are not limited to, those set out

below and alleged throughout this Complaint.

       178. Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                distributed to consumers that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning the
                evidence supporting the efficacy of opioids long-term for the treatment of chronic
                non-cancer pain;

             c. Disseminating misleading statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through Purdue’s own
                unbranded publications and on internet sites Purdue operated that were marketed to
                and accessible by consumers;

             d. Distributing brochures to doctors, patients, and law enforcement officials that
                included deceptive statements concerning the indicators of possible opioid abuse;

             e. Sponsoring, directly distributing, and assisting in the distribution of publications
                that promoted the deceptive concept of pseudoaddiction, even for high-risk
                patients;

             f. Endorsing, directly distributing, and assisting in the distribution of publications that
                presented an unbalanced treatment of the long-term and dose-dependent risks of
                opioids versus NSAIDs;

             g. Providing significant financial support to pro-opioid KOL doctors who made
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

             h. Providing needed financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

             i. Assisting in the distribution of guidelines that contained deceptive statements
                concerning the use of opioids to treat chronic non-cancer pain and misrepresented
                the risks of opioid addiction;


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             j. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             k. Developing and disseminating scientific studies that misleadingly concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life, while concealing contrary data;

             l. Assisting in the dissemination of literature written by pro-opioid KOLs that
                contained deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain;

             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including known
                rates of abuse and addiction and the lack of validation for long-term efficacy;

             n. Targeting veterans by sponsoring and disseminating patient education marketing
                materials that contained deceptive statements concerning the use of opioids to treat
                chronic non-cancer pain;

             o. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                and misrepresented the risks of opioid addiction in this population;

             p. Exclusively disseminating misleading statements in education materials to hospital
                doctors and staff while purportedly educating them on new pain standards;

             q. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing; and

             r. Withholding from law enforcement the names of prescribers Purdue believed to be
                facilitating the diversion of its opioid, while simultaneously marketing opioids to
                these doctors by disseminating patient and prescriber education materials and
                advertisements and CMEs they knew would reach these same prescribers.

       179. Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                that contained deceptive statements;



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  b. Creating and disseminating advertisements that contained deceptive statements
     concerning the ability of opioids to improve function long-term and concerning the
     evidence supporting the efficacy of opioids long-term for the treatment of chronic
     non-cancer pain;

  c. Creating and disseminating paid advertisement supplements in academic journals
     promoting chronic opioid therapy as safe and effective for long term use for high
     risk patients;

  d. Creating and disseminating advertisements that falsely and inaccurately conveyed
     the impression that Endo’s opioids would provide a reduction in oral, intranasal, or
     intravenous abuse;

  e. Disseminating misleading statements concealing the true risk of addiction and
     promoting the misleading concept of pseudoaddiction through Endo’s own
     unbranded publications and on internet sites Endo sponsored or operated;

  f. Endorsing, directly distributing, and assisting in the distribution of publications that
     presented an unbalanced treatment of the long-term and dose-dependent risks of
     opioids versus NSAIDs;

  g. Providing significant financial support to pro-opioid KOLs, who made deceptive
     statements concerning the use of opioids to treat chronic non-cancer pain;

  h. Providing needed financial support to pro-opioid pain organizations – including
     over $5 million to the organization responsible for many of the most egregious
     misrepresentations – that made deceptive statements, including in patient education
     materials, concerning the use of opioids to treat chronic non-cancer pain;

  i. Targeting the elderly by assisting in the distribution of guidelines that contained
     deceptive statements concerning the use of opioids to treat chronic non-cancer pain
     and misrepresented the risks of opioid addiction in this population;

  j. Endorsing and assisting in the distribution of CMEs containing deceptive
     statements concerning the use of opioids to treat chronic non-cancer pain;

  k. Developing and disseminating scientific studies that deceptively concluded opioids
     are safe and effective for the long-term treatment of chronic non-cancer pain and
     that opioids improve quality of life, while concealing contrary data;

  l. Directly distributing and assisting in the dissemination of literature written by pro-
     opioid KOLs that contained deceptive statements concerning the use of opioids to
     treat chronic non-cancer pain, including the concept of pseudoaddiction;



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             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including known
                rates of abuse and addiction and the lack of validation for long-term efficacy; and

             n. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

       180. Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                that contained deceptive statements;

             b. Directly disseminating deceptive statements through internet sites over which
                Janssen exercised final editorial control and approval stating that opioids are safe
                and effective for the long-term treatment of chronic non-cancer pain and that
                opioids improve quality of life, while concealing contrary data;

             c. Disseminating deceptive statements concealing the true risk of addiction and
                promoting the deceptive concept of pseudoaddiction through internet sites over
                which Janssen exercised final editorial control and approval;

             d. Promoting opioids for the treatment of conditions for which Janssen knew, due to
                the scientific studies it conducted, that opioids were not efficacious and concealing
                this information;

             e. Sponsoring, directly distributing, and assisting in the dissemination of patient
                education publications over which Janssen exercised final editorial control and
                approval, which presented an unbalanced treatment of the long-term and dose
                dependent risks of opioids versus NSAIDs;

             f. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             g. Providing necessary financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

             h. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                and misrepresented the risks of opioid addiction in this population;

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           i. Targeting the elderly by sponsoring, directly distributing, and assisting in the
              dissemination of patient education publications targeting this population that
              contained deceptive statements about the risks of addiction and the adverse effects
              of opioids, and made false statements that opioids are safe and effective for the
              long-term treatment of chronic non-cancer pain and improve quality of life, while
              concealing contrary data;

           j. Endorsing and assisting in the distribution of CMEs containing deceptive
              statements concerning the use of opioids to treat chronic non-cancer pain;

           k. Directly distributing and assisting in the dissemination of literature written by pro-
              opioid KOLs that contained deceptive statements concerning the use of opioids to
              treat chronic non-cancer pain, including the concept of pseudoaddiction;

           l. Creating, endorsing, and supporting the distribution of patient and prescriber
              education materials that misrepresented the data regarding the safety and efficacy
              of opioids for the long-term treatment of chronic non-cancer pain, including known
              rates of abuse and addiction and the lack of validation for long-term efficacy;

           m. Targeting veterans by sponsoring and disseminating patient education marketing
              materials that contained deceptive statements concerning the use of opioids to treat
              chronic non-cancer pain; and

           n. Making deceptive statements concerning the use of opioids to treat chronic non-
              cancer pain to prescribers through in-person detailing.

       181. Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

           a. Creating, sponsoring, and assisting in the distribution of patient education materials
              that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the
              deceptive concept of pseudoaddiction, even for high-risk patients;

           c. Providing significant financial support to pro-opioid KOL doctors who made
              deceptive statements concerning the use of opioids to treat chronic non-cancer pain
              and breakthrough chronic non-cancer pain;

           d. Developing and disseminating scientific studies that deceptively concluded opioids
              are safe and effective for the long-term treatment of chronic non-cancer pain in
              conjunction with Cephalon’s potent rapid-onset opioids;

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             e. Providing needed financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the use
                of opioids to treat chronic non-cancer pain;

             f. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             g. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of Cephalon’s rapid-onset opioids;

             h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of
                doctors, including general practitioners, neurologists, sports medicine specialists,
                and workers’ compensation programs, serving chronic pain patients;

             i. Making deceptive statements concerning the use of Cephalon’s opioids to treat
                chronic non-cancer pain to prescribers through in-person detailing and speakers’
                bureau events, when such uses are unapproved and unsafe; and

             j. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing and speakers’ bureau events.

       182. Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing;

             b. Creating and disseminating advertisements that contained deceptive statements that
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life;

             c. Creating and disseminating advertisements that concealed the risk of addiction in
                the long-term treatment of chronic, non-cancer pain; and

             d. Developing and disseminating scientific studies that deceptively concluded opioids
                are safe and effective for the long-term treatment of chronic non-cancer pain and
                that opioids improve quality of life while concealing contrary data.




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             6. The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

       183. The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and deceptive. The history of

opioids, as well as research and clinical experience establish that opioids are highly addictive and

are responsible for a long list of very serious adverse outcomes. The FDA warned Defendants of

this, and Defendants had access to scientific studies, detailed prescription data, and reports of

adverse events, including reports of addiction, hospitalization, and death – all of which clearly

described the harm from long-term opioid use and that patients were suffering from addiction,

overdose, and death in alarming numbers. More recently, the FDA and CDC have issued

pronouncements, based on medical evidence, that conclusively expose the falsity of Defendants’

misrepresentations, and Endo and Purdue have recently entered agreements in New York

prohibiting them from making some of the same misrepresentations described in this Complaint.

       184. At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair, and

fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy and

integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

shaping, editing, and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,
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and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their own

role.

        185. Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the medical community

with false and misleading information about ineffectual strategies to avoid or control opioid

addiction. The Manufacturer Defendants recommended to the medical community that dosages be

increased, without disclosing the risks. The Manufacturer Defendants spent millions of dollars

over a period of years on a misinformation campaign aimed at highlighting opioids’ alleged

benefits, disguising the risks, and promoting sales. The lack of support for the Manufacturer

Defendants’ deceptive messages was not apparent to medical professionals who relied upon them

in making treatment decisions, nor could it have been detected by the Plaintiff or Plaintiff’s

Community. Thus, the Manufacturer Defendants successfully concealed from the medical

community, patients, and health care payors facts sufficient to arouse suspicion of the claims that

the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the Manufacturer

Defendants’ industry-wide fraud and could not have acquired such knowledge earlier through the

exercise of reasonable diligence.




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       C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL DISTRIBUTION OF
          OPIOIDS.

       186. The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823, 21

CFR § 1301.74) and Maryland law (see e.g. MD. CODE REGS. 10.19.03.12) to monitor, detect,

investigate, refuse to fill, and report suspicious orders of prescription opioids originating from

Plaintiff’s Community as well as those orders which the Distributor Defendants knew or should

have known were likely to be diverted into Plaintiff’s Community.

       187. The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       188. Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are a direct and proximate causes of the widespread diversion

of prescription opioids for nonmedical purposes into Plaintiff’s Community.

       189. The unlawful diversion of prescription opioids is a direct and proximate cause and/or

substantial contributing factor to of the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and in Plaintiff’s Community. This diversion and the epidemic

are direct causes of harms for which Plaintiff seeks to recover here.

       190. The opioid epidemic in the State, including inter alia in Plaintiff’s Community,

remains an immediate hazard to public health and safety.

       191. The opioid epidemic in Plaintiff’s Community is a temporary and continuous public

nuisance and remains unabated.

       192. The Distributor Defendants’ intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.




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             1. Wholesale Drug Distributors Have a Duty under State and Federal Law to
                Guard Against, and Report, Unlawful Diversion and to Report and Prevent
                Suspicious Orders.

       193. As under federal law, opioids are a Schedule II controlled substance under Maryland

law. See MD. CODE ANN., CRIM. LAW § 5-403. Opioids are categorized as “Schedule II” drugs

because they have a “high potential for abuse” and the potential to cause “severe psychic or

physical dependence” and/or “severe psychological . . . dependence.” 21 U.S.C. § 812(b)(2)(A,

C).

       194. As wholesale drug distributors, each Defendant was required under Maryland law to

first be registered by the Maryland Department of Health. MD. CODE ANN., CRIM. LAW §§ 5-301,

5-303; MD. CODE REGS. 10.19.03.02. To receive and maintain this registration, each of the

Defendant Wholesale Distributors assumed a duty to comply with state and federal laws and

regulations. MD. CODE ANN., CRIM. LAW § 5-303(a) & (b)(2) (Department shall register applicants

to distribute controlled substances unless the registration is inconsistent with the public interest

and Department considers “compliance with applicable federal, State and local law” in

determining the public interest); MD. CODE REGS. 10.19.03.01.

       195. The Maryland Department of Health has the authority to “deny . . . suspend or revoke

a registration” issued to Wholesale Distributes who have, inter alia, “been convicted of a crime

under federal law or the law of any state related to a controlled dangerous substance;” “surrendered

federal registration or had federal registration suspended or revoked” or violated the Maryland

Controlled Dangerous Substances Act. MD. CODE ANN., CRIM. LAW § 5-307.

       196. Each Distributor Defendant was further required to register with the DEA, pursuant

to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution of



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Schedule II controlled substances with a duty to comply with all security requirements imposed

under that statutory scheme.

       197. Each Distributor Defendant has an affirmative duty under federal and Maryland law

to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must maintain

“effective control against diversion of particular controlled substances into other than legitimate

medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Maryland law requires that

all “registrants shall provide effective controls and procedures to guard against theft and unlawful

diversion of controlled substances” with the Department of Health using its own security

requirements as well as federal standards set forth in 21 CFR §§1307.71-1301.77. MD. CODE REGS.

10.19.03.12; see also MD. CODE ANN., CRIM. LAW § 5-303(b)(1).

       198. Federal regulations, incorporated by Maryland law, impose a non-delegable duty

upon wholesale drug distributors to “design and operate a system to disclose to the registrant

suspicious orders of controlled substances. The registrant [distributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when discovered by the

registrant. Suspicious orders include orders of unusual size, orders deviating substantially from a

normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b); MD. CODE REGS.

10.19.03.12(A)(1) (incorporating 21 C.F.R. § 1301.74).

       199. “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b). These criteria are

disjunctive and are not all inclusive. For example, if an order deviates substantially from a normal

pattern, the size of the order does not matter and the order should be reported as suspicious.

Likewise, a wholesale distributor need not wait for a normal pattern to develop over time before



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determining whether a particular order is suspicious. The size of an order alone, regardless of

whether it deviates from a normal pattern, is enough to trigger the wholesale distributor’s

responsibility to report the order as suspicious. The determination of whether an order is suspicious

depends not only on the ordering patterns of the particular customer but also on the patterns of the

entirety of the wholesale distributor’s customer base and the patterns throughout the relevant

segment of the wholesale distributor industry. 138

          200. In addition to reporting all suspicious orders, distributors must also stop shipment on

any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged orders must be

reported. Id.

          201. These prescription drugs are regulated for the purpose of providing a “closed” system

intended to reduce the widespread diversion of these drugs out of legitimate channels into

the illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control. 139




138
   Masters Pharmaceuticals, Inc.; Decision and Order, 80 Fed. Reg. 55,418-01, 55,421, 2015 WL 5320504,
(September 15, 2015) (quoting December 27, 2007 letter from the Deputy Assistant Administrator, Office of
Diversion Control, Drug Enforcement Administration, to all registered distributors).
139
      See 1970 U.S.C.C.A.N. 4566, 4571-72.



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         202. Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities. 140

         203. As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the

closed system is to function properly … distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes. This

responsibility is critical, as … the illegal distribution of controlled substances has a substantial and

detrimental effect on the health and general welfare of the American people.” 141

         204. The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders. 142

         205. The DEA sent a letter to each of the Distributor Defendants on September 27, 2006,

warning that it would use its authority to revoke and suspend registrations when appropriate. The



140
    Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).
141
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t
Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is
being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance
distributors in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
142
   See Brief for HDMA and NACDS, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40 years
require distributors to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).



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letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

into other than legitimate medical, scientific, and industrial channels.” 143 The letter also instructs

that “distributors must be vigilant in deciding whether a prospective customer can be trusted to

deliver controlled substances only for lawful purposes.” 144 The DEA warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.” 145

            206. The DEA sent a second letter to each of the Distributor Defendants on December 27,

2007. 146 This letter reminds the Defendants of their statutory and regulatory duties to “maintain

effective controls against diversion” and “design and operate a system to disclose to the registrant

suspicious orders of controlled substances.” 147 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity
            purchases”) does not meet the regulatory requirement to report suspicious orders.
            Registrants are reminded that their responsibility does not end merely with the
            filing of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine whether the
            controlled substances are likely to be diverted from legitimate channels. Reporting
            an order as suspicious will not absolve the registrant of responsibility if the
            registrant knew, or should have known, that the controlled substances were being
            diverted.

            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an unusual
            frequency. These criteria are disjunctive and are not all inclusive. For example, if
            an order deviates substantially from a normal pattern, the size of the order does not
            matter and the order should be reported as suspicious. Likewise, a registrant need
            not wait for a “normal pattern” to develop over time before determining whether a
143
      Rannazzisi Letter, at 2.
144
      Id. at 1.
145
      Id. at 2.
146
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
147
      Id.

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            particular order is suspicious. The size of an order alone, whether or not it deviates
            from a normal pattern, is enough to trigger the registrant’s responsibility to report
            the order as suspicious. The determination of whether an order is suspicious
            depends not only on the ordering patterns of the particular customer, but also on
            the patterns of the registrant’s customer base and the patterns throughout the
            segment of the regulated industry.

            Registrants that rely on rigid formulas to define whether an order is suspicious may
            be failing to detect suspicious orders. For example, a system that identifies orders
            as suspicious only if the total amount of a controlled substance ordered during one
            month exceeds the amount ordered the previous month by a certain percentage or
            more is insufficient. This system fails to identify orders placed by a pharmacy if
            the pharmacy placed unusually large orders from the beginning of its relationship
            with the distributor. Also, this system would not identify orders as suspicious if the
            order were solely for one highly abused controlled substance if the orders never
            grew substantially. Nevertheless, ordering one highly abused controlled substance
            and little or nothing else deviates from the normal pattern of what pharmacies
            generally order.

            When reporting an order as suspicious, registrants must be clear in their
            communication with DEA that the registrant is actually characterizing an order as
            suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
            “excessive purchases” do not comply with the requirement to report suspicious
            orders, even if the registrant calls such reports “suspicious order reports.”

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration. 148

Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.” 149




148
      Id.
149
      Id.



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          207. The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake such

efforts as responsible members of society.” 150

          208. The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely situated

to perform due diligence in order to help support the security of the controlled substances they

deliver to their customers.” The guidelines set forth recommended steps in the “due diligence”

process, and note in particular: If an order meets or exceeds a distributor’s threshold, as defined in

the distributor’s monitoring system, or is otherwise characterized by the distributor as an order of

interest, the distributor should not ship to the customer, in fulfillment of that order, any units of

the specific drug code product as to which the order met or exceeded a threshold or as to which

the order was otherwise characterized as an order of interest. 151

          209. Each of the Distributor Defendants sold prescription opioids, including hydrocodone

and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from which Defendants

knew prescription opioids were likely to be diverted to Plaintiff’s Community.

          210. Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.




150
      See Brief of HDMA, 2012 WL 1637016, at *2.
151
   Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).

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        211. Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        212. Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        213. Each Distributor Defendant owes a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the State and Plaintiff’s Community.

        214. The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

        215. The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

the damages caused thereby.

               2. The Distributor Defendants Breached their Duties.

        216. Because distributors handle such large volumes of controlled substances, and are the

first major line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, it is incumbent on distributors to maintain effective

controls to prevent diversion of controlled substances. Should a distributor deviate from these

checks and balances, the closed system collapses. 152

        217. The sheer volume of prescription opioids distributed to pharmacies in the Plaintiff’s

Community, and/or to pharmacies from which the Distributor Defendants knew the opioids were

likely to be diverted into Plaintiff’s Community, is excessive for the medical need of the




152
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.



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community and facially suspicious. Some red flags are so obvious that no one who engages in the

legitimate distribution of controlled substances can reasonably claim ignorance of them. 153

        218. The Distributor Defendants failed to report “suspicious orders” originating from

Plaintiff’s Community, or which the Distributor Defendants knew were likely to be diverted to

Plaintiff’s Community, to the federal and state authorities, including the DEA and/or the state

Board of Pharmacy.

        219. The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in

Plaintiff’s Community, and/or in areas from which the Distributor Defendants knew opioids were

likely to be diverted to Plaintiff’s Community.

        220. The Distributor Defendants breached their duty to monitor, detect, investigate, refuse

and report suspicious orders of prescription opiates originating from Plaintiff’s Community, and/or

in areas from which the Distributor Defendants knew opioids were likely to be diverted to

Plaintiff’s Community.

        221. The Distributor Defendants breached their duty to maintain effective controls against

diversion of prescription opiates into other than legitimate medical, scientific, and industrial

channels.

        222. The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.




153
    Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).

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           223. The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels. 154

           224. The federal and state laws at issue here are public safety laws.

           225. The Distributor Defendants’ violations of public safety statutes constitute prima facie

evidence of negligence under State law.

           226. The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity, and

disseminated massive quantities of prescription opioids into the black market.

           227. The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

are required to legally acquire and maintain a license to distribute prescription opiates.

           228. The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

           229. The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the suspicious

orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or criminal

indifference to civil obligations affecting the rights of others and justifies an award of punitive

damages.




154
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

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                    3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
                       their Compliance with their Legal Duties.

           230. The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed those

duties in an effort to mislead regulators and the public regarding the Distributor Defendants’

compliance with their legal duties.

           231. Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run the Distributor

Defendants, and the NACDS submitted amicus briefs regarding the legal duty of wholesale

distributors. Inaccurately denying the legal duties that the wholesale drug industry has been

tragically recalcitrant in performing, they argued as follows:

                         a. The Associations complained that the “DEA has required
                            distributors not only to report suspicious orders, but to investigate
                            orders (e.g., by interrogating pharmacies and physicians) and take
                            action to halt suspicious orders before they are filled.” 155

                         b. The Associations argued that, “DEA now appears to have changed
                            its position to require that distributors not only report suspicious
                            orders, but investigate and halt suspicious orders. Such a change in
                            agency position must be accompanied by an acknowledgment of the
                            change and a reasoned explanation for it. In other words, an agency
                            must display awareness that it is changing position and show that
                            there are good reasons for the new policy. This is especially
                            important here, because imposing intrusive obligation on
                            distributors threatens to disrupt patient access to needed prescription
                            medications.” 156

                         c. The Associations alleged (inaccurately) that nothing “requires
                            distributors to investigate the legitimacy of orders, or to halt
                            shipment of any orders deemed to be suspicious.” 157


155
      Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
156
      Id. at *8 (citations and quotation marks omitted).
157
      Id. at *14.



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                       d. The Association complained that the purported “practical
                          infeasibility of requiring distributors to investigate and halt
                          suspicious orders (as well as report them) underscores the
                          importance of ensuring that DEA has complied with the APA before
                          attempting to impose such duties.” 158

                       e. The Associations alleged (inaccurately) that “DEA’s regulations []
                          sensibly impose[] a duty on distributors simply to report suspicious
                          orders, but left it to DEA and its agents to investigate and halt
                          suspicious orders.” 159

                       f. Also inaccurately, the Associations argued that, “[i]mposing a duty
                          on distributors – which lack the patient information and the
                          necessary medical expertise – to investigate and halt orders may
                          force distributors to take a shot-in-the-dark approach to complying
                          with DEA’s demands.” 160

           232. The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs. 161

           233. The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court upheld

the revocation of Master Pharmaceutical’s license and determined that DEA regulations require

that in addition to reporting suspicious orders, distributors must “decline to ship the order, or

conduct some ‘due diligence’ and—if it is able to determine that the order is not likely to be

diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in violation

of legal requirements because it failed to conduct necessary investigations and filled suspicious



158
      Id. at *22.
159
      Id. at *24–25.
160
      Id. at 26.
161
    See Brief of HDMA, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know the
rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).

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orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags giving rise to

suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court also

rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the DEA

had created or imposed new duties. Id. at 220.

            234. Wholesale Distributor McKesson has recently been forced to specifically admit to

breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an Administrative

Memorandum of Agreement (“2017 Agreement”) entered into between McKesson and the DEA

in January 2017, McKesson admitted that, at various times during the period from January 1, 2009

through the effective date of the Agreement (January 17, 2017) it “did not identify or report to

[the] DEA certain orders placed by certain pharmacies which should have been detected by

McKesson as suspicious based on the guidance contained in the DEA Letters.” 162 Further, the

2017 Agreement specifically finds that McKesson “distributed controlled substances to

pharmacies even though those McKesson Distribution Centers should have known that the

pharmacists practicing within those pharmacies had failed to fulfill their corresponding

responsibility to ensure that controlled substances were dispensed pursuant to prescriptions issued

for legitimate medical purposes by practitioners acting in the usual course of their professional

practice, as required by 21 C.F.R § 1306.04(a).” 163 McKesson admitted that, during this time

period, it “failed to maintain effective controls against diversion of particular controlled substances

into other than legitimate medical, scientific and industrial channels by sales to certain of its

customers in violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300



162
    See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and
the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
163
      Id. at 4.



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et seq., at the McKesson Distribution Centers” including the McKesson Distribution Center

located in “Washington Courthouse, Ohio.” 164 Due to these violations, McKesson agreed that its

authority to distribute controlled substances from the Washington Courthouse, Ohio facility

(among other facilities) would be partially suspended. 165

            235. The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA. 166 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do

so. 167 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson’s obligations.” 168 As a result of these

violations, McKesson was fined and required to pay to the United States $150,000,000. 169

            236. Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even though

McKesson had specifically agreed in 2008 that it would no longer violate those obligations,

McKesson continued to violate the laws in contrast to its written agreement not to do so.




164
      Id.
165
      Id. at 6.
166
      Id. at 4.
167
      Id.
168
    Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
169
      See 2017 Settlement Agreement and Release, at 6.



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            237. Because of the Distributor Defendants’ refusal to abide by their legal obligations, the

DEA has repeatedly taken administrative action to attempt to force compliance. For example, in

May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation

and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

between 2008 and 2012. 170 The Office of Administrative Law Judges issued a recommended

decision in a total of 117 registrant actions before the DEA issued its final decision, including 76

actions involving orders to show cause and 41 actions involving immediate suspension orders. 171

These actions include the following:

               a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                  Suspension Order against the AmerisourceBergen Orlando, Florida
                  distribution center (“Orlando Facility”) alleging failure to maintain
                  effective controls against diversion of controlled substances. On June 22,
                  2007, AmerisourceBergen entered into a settlement that resulted in the
                  suspension of its DEA registration;

               b. On November 28, 2007, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Auburn,
                  Washington Distribution Center (“Auburn Facility”) for failure to maintain
                  effective controls against diversion of hydrocodone;

               c. On December 5, 2007, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Lakeland, Florida
                  Distribution Center (“Lakeland Facility”) for failure to maintain effective
                  controls against diversion of hydrocodone;

               d. On December 7, 2007, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Swedesboro, New
                  Jersey Distribution Center (“Swedesboro Facility”) for failure to maintain
                  effective controls against diversion of hydrocodone;

               e. On January 30, 2008, the DEA issued an Order to Show Cause and
                  Immediate Suspension Order against the Cardinal Health Stafford, Texas

170
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
171
      Id.

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              Distribution Center (“Stafford Facility”) for failure to maintain effective
              controls against diversion of hydrocodone;

           f. On May 2, 2008, McKesson Corporation entered into an Administrative
              Memorandum of Agreement (“2008 MOA”) with the DEA which provided
              that McKesson would “maintain a compliance program designed to detect
              and prevent the diversion of controlled substances, inform DEA of
              suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the
              procedures established by its Controlled Substance Monitoring Program”;

           g. On September 30, 2008, Cardinal Health entered into a Settlement and
              Release Agreement and Administrative Memorandum of Agreement with
              the DEA related to its Auburn Facility, Lakeland Facility, Swedesboro
              Facility and Stafford Facility. The document also referenced allegations by
              the DEA that Cardinal failed to maintain effective controls against the
              diversion of controlled substances at its distribution facilities located in
              McDonough, Georgia (“McDonough Facility”), Valencia, California
              (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);

           h. On February 2, 2012, the DEA issued an Order to Show Cause and
              Immediate Suspension Order against the Cardinal Health Lakeland, Florida
              Distribution Center (“Lakeland Facility”) for failure to maintain effective
              controls against diversion of oxycodone;

           i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to
              the DEA to resolve the civil penalty portion of the administrative action
              taken against its Lakeland, Florida Distribution Center; and

           j. On January 5, 2017, McKesson Corporation entered into an Administrative
              Memorandum Agreement with the DEA wherein it agreed to pay a $150
              million civil penalty for violation of the 2008 MOA as well as failure to
              identify and report suspicious orders at its facilities in Aurora CO, Aurora
              IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,
              Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse
              OH and West Sacramento CA.

       238. Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

                                               90
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in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s license

from “imminent harm” to “immediate harm” and provided the industry the right to “cure” any

violations of law before a suspension order can be issued. 172

        239. In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        240. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and represented that it was being “as effective and efficient as possible

in constantly monitoring, identifying, and eliminating any outside criminal activity.” 173 Given the

sales volumes and the company’s history of violations, this executive was either not telling the

truth, or, if Cardinal Health had such a system, it ignored the results.

        241. Similarly, Defendant McKesson publicly stated that it has a “best-in-class controlled

substance monitoring program to help identify suspicious orders,” and claimed it is “deeply



172
    See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
173
    Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.



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passionate about curbing the opioid epidemic in our country.” 174 Again, given McKesson’s

historical conduct, this statement is either false, or the company ignored outputs of the monitoring

program.

        242. By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the

existence or scope of Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

        243. Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in

Plaintiff’s Community.

        244. The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants, pay

fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

They hold multiple DEA registration numbers and when one facility is suspended, they simply

ship from another facility.

        245. The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.




174
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.

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         246. The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

distributing controlled substances in the State and Plaintiff’s Community.

                4. The National Retail Pharmacies Were on Notice of and Contributed to
                   Illegal Diversion of Prescription Opioids.

         247. National retail pharmacy chains earned enormous profits by flooding the country

with prescription opioids. 175 They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors and

dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.

         248. Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

         249. On information and belief, the National Retail Pharmacies distributed and dispensed

substantial quantities of prescription opioids, including fentanyl, hydrocodone, and oxycodone in

Maryland. In addition, they distributed and dispensed substantial quantities of prescription opioids

in other states, and these drugs were diverted from these other states to Maryland. The National

Retail Pharmacies failed to take meaningful action to stop this diversion despite their knowledge

of it, and contributed substantially to the diversion problem.

         250. The National Retail Pharmacies developed and maintained extensive data on opioids

they distributed and dispensed.             Through this data, National Retail Pharmacies had direct

knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in Maryland in particular. They used the data



175
   The allegations contained in this Complaint are based, in part, on discovery that is in its infancy. Plaintiff
reserves its right to further amend this complaint to add supporting allegations, claims and parties.

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to evaluate their own sales activities and workforce. On information and belief, the National Retail

Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a

valuable resource that they could have used to help stop diversion, but failed to do so.

             a. The National Retail Pharmacies Have a Duty to Prevent Diversion

          251. Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring and reporting suspicious activity.

          252. The National Retail Pharmacies, like manufacturers and other distributors, are

registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are

required to “provide effective controls and procedures to guard against theft and diversion of

controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states,

“[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon the

prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills the

prescription.” Because pharmacies themselves are registrants under the CSA, the duty to prevent

diversion lies with the pharmacy entity, not the individual pharmacist alone.

          253. The DEA, among others, has provided extensive guidance to pharmacies concerning

their duties to the public. The guidance advises pharmacies how to identify suspicious orders and

other evidence of diversion.

          254. Suspicious pharmacy orders include orders of unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the pharmacy,

orders that deviate from a normal pattern and/or orders of unusual frequency and duration, among

others.



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       255. Additional types of suspicious orders include: (1) prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

substances compared to other practitioners in the area; (2) prescriptions which should last for a

month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for antagonistic

drugs, such as depressants and stimulants, at the same time; (4) prescriptions that look “too good”

or where the prescriber’s handwriting is too legible; (5) prescriptions with quantities or doses that

differ from usual medical usage; (6) prescriptions that do not comply with standard abbreviations

and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing

different handwriting. Most of the time, these attributes are not difficult to detect and should be

easily recognizable by pharmacies.

       256. Suspicious pharmacy orders are red flags for if not direct evidence of diversion.

       257. Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the National Retail Pharmacies themselves. That data allows them to observe patterns

or instances of dispensing that are potentially suspicious, of oversupply in particular stores or

geographic areas, or of prescribers or facilities that seem to engage in improper prescribing.

       258. According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

       259. Despite their legal obligations as registrants under the CSA, the National Retail

Pharmacies allowed widespread diversion to occur—and they did so knowingly.

       260. Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy or



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customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The policies remained in place even as the epidemic raged.

       261. Upon information and belief, this problem was compounded by the Pharmacies’

failure to adequately train their pharmacists and pharmacy technicians on how to properly and

adequately handle prescriptions for opioid painkillers, including what constitutes a proper inquiry

into whether a prescription is legitimate, whether a prescription is likely for a condition for which

the FDA has approved treatments with opioids, and what measures and/or actions to take when a

prescription is identified as phony, false, forged, or otherwise illegal, or when suspicious

circumstances are present, including when prescriptions are procured and pills supplied for the

purpose of illegal diversion and drug trafficking.

       262. Upon information and belief, the National Retail Pharmacies also failed to

adequately use data available to them to identify doctors who were writing suspicious numbers of

prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

available to them to do statistical analysis to prevent the filling of prescriptions that were illegally

diverted or otherwise contributed to the opioid crisis.

       263. Upon information and belief, the National Retail Pharmacies failed to analyze: (a)

the number of opioid prescriptions filled by individual pharmacies relative to the population of the

pharmacy's community; (b) the increase in opioid sales relative to past years; (c) the number of

opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.




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       264. Upon information and belief, the National Retail Pharmacies also failed to conduct

adequate internal or external audits of their opioid sales to identify patterns regarding prescriptions

that should not have been filled and to create policies accordingly, or if they conducted such audits,

they failed to take any meaningful action as a result.

       265. Upon information and belief, the National Retail Pharmacies also failed to effectively

respond to concerns raised by their own employees regarding inadequate policies and procedures

regarding the filling of opioid prescriptions.

       266. The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they were

complying with their duties and obligations under the law with regard to controlled substances.

                   b. Multiple Enforcement Actions against the National Retail Pharmacies
                      Confirm their Compliance Failures.

       267. The National Retail Pharmacies have long been on notice of their failure to abide by

state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for their

illegal prescription opioid practices. Upon information and belief, based upon the widespread

nature of these violations, these enforcement actions are the product of, and confirm, national

policies and practices of the National Retail Pharmacies.

                    i. CVS

       268. CVS is one of the largest companies in the world, with annual revenue of more than

$150 billion. According to news reports, it manages medications for nearly 90 million customers

at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

like other Defendants, CVS sought profits over people.


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        269. CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the United States Department

of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business and has allowed

its pharmacies to continue dispensing opioids in quantities significantly higher than any plausible

medical need would require, and to continue violating its recordkeeping and dispensing

obligations under the CSA.

        270. As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled

substances. 176

        271. This fine was preceded by numerous others throughout the country.

        272. In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under

the CSA and filled prescriptions with no legitimate medical purpose. 177

        273. In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA. 178




176
    Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle Alleged Violations
of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017), https://www.justice.gov/usao-edca/pr/cvs-
pharmacy-inc-pays-5m-settle-alleged-violations-controlled-substance-act.
177
   Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million Settlement Agreement with
CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (Feb. 12, 2016),
https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-agreement-cvs-unlawful-
distribution-controlled.
178
   Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle Controlled
Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016), https://www.justice.gov/usao-ct/pr/cvs-pharmacy-
pays-600000-settle-controlled-substances-act-allegations.



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        274. In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription

monitoring program website and review a patient’s prescription history before dispensing certain

opioid drugs. 179

        275. In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances—mostly

addictive painkillers—more than 500 times between 2011 and 2014. 180

        276. In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions

with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

to prescribe that drug. Additionally, the government alleged that CVS had recordkeeping

deficiencies. 181

        277. In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical


179
   Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing opioids in agreement with state,
Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-news/2016/09/01/cvs-will-pay-795000-strengthen-
policies-around-dispensing-opioids-in-agreement-with-state.
180
   Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve Allegations that
Pharmacists Filled Fake Prescriptions, U.S. Dep’t of Just. (June 30, 2016), https://www.justice.gov/usao-ma/pr/cvs-
pay-35-million-resolve-allegations-pharmacists-filled-fake-prescriptions.
181
   Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS Health Corp. Resolved
With $450,000 Civil Settlement, U.S. Dep’t of Just. (Aug. 10, 2015), https://www.justice.gov/usao-ri/pr/drug-
diversion-claims-against-cvs-health-corp-resolved-450000-civil-settlement.



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purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.” 182

        278. In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired. 183

        279. In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area. 184

        280. Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers. 185

                                ii. Walgreens

        281. Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens

operates more than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted

basis in fiscal 2017.


182
   Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million Settlement Agreement
With CVS For Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (May 13, 2015),
https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-million-settlement-agreement-cvs-unlawful-
distribution.
183
   Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5, 2014),
http://www.expressnews.com/business/local/article/H-E-BCVS-fined-over-prescriptions-5736554.php.
184
  Andrew Knittle, Oklahoma pharmacy board stays busy, hands out massive fines at times, NewsOK (May 3,
2015), http://newsok.com/article/5415840.
185
   Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle Civil Penalty Claims
Involving Violations of Controlled Substances Act, U.S. Dep’t of Just. (Apr. 3, 2013), https://www.justice.gov/usao-
wdok/pr/cvs-pay-11-million-settle-civil-penalty-claims-involving-violations-controlled.



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        282. Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing

violations of the CSA, including negligently allowing controlled substances such as oxycodone

and other prescription painkillers to be diverted for abuse and illegal black market sales. 186

        283. The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

        284. Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each

allegedly ordered more than one million dosage units of oxycodone in 2011—more than ten times

the average amount. 187

        285. They increased their orders over time, in some cases as much as 600% in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to these

abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”




186
   Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record Settlement Of $80
Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t of Just. (June 11, 2013),
https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-settlement-80-million-civil-penalties-under-
controlled.
187
  Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens Co. (Drug Enf’t
Admin. Sept. 13, 2012).



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underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health

of communities. 188

            286. Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center. 189

            287. Walgreens has also settled with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000). 190

            288. The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

use of some Medicaid patients who were considered high-risk.

            289. In January 2017, an investigation by the Massachusetts Attorney General found that

some Walgreens pharmacies failed to monitor patients’ drug use patterns and did not use sound




188
      Id.

189
      Id.
190
   Walgreens to pay $200,000 settlement for lapses with opioids, APhA (Jan. 25, 2017),
https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.



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professional judgment when dispensing opioids and other controlled substances—despite the

context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids. 191

                                 iii. Rite Aid

            290. With approximately 4,600 stores in 31 states and the District of Columbia, Rite Aid

is the largest drugstore chain on the East Coast and the third-largest in the United States, with

annual revenue of more than $21 billion.

            291. In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of

the CSA. 192

            292. The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

country had a pattern of non-compliance with the requirements of the CSA and federal regulations

that led to the diversion of prescription opioids in and around the communities of the Rite Aid

pharmacies investigated. Rite Aid also failed to notify the DEA of losses of controlled substances

in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b). 193

            293. Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.




191
      Id.
192
    Press Release, Dep’t of Just., Rite Aid Corporation and Subsidiaries Agree to Pay $5 Million in Civil Penalties to
Resolve Violations in Eight States of the Controlled Substances Act, U.S. Dep’t of Just. (Jan. 12, 2009),
https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-penalties-resolve-
violations.
193
      Id.

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       294. The litany of state and federal actions against the National Retail Pharmacies

demonstrate that they routinely, and as a matter of standard operating procedure, violated their

legal obligations under the CSA and other laws and regulations that govern the distribution and

dispensing of prescription opioids.

       295. Throughout the country and the State, the National Retail Pharmacies were or

should have been aware of numerous red flags of potential suspicious activity and diversion.

       296. On information and belief, from the catbird seat of their retail pharmacy operations,

the National Retail Pharmacies knew or reasonably should have known about the disproportionate

flow of opioids into Maryland and the operation of “pill mills” that generated opioid prescriptions

that, by their quantity or nature, were red flags for if not direct evidence of illicit supply and

diversion. Additional information was provided by news reports, and state and federal regulatory

actions, including prosecutions of pill mills in the area.

       297. On information and belief, the National Retail Pharmacies knew or reasonably

should have known about the devastating consequences of the oversupply and diversion of

prescription opioids, including spiking opioid overdose rates in the community.

       298. On information and belief, because of (among others sources of information)

regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

against others pertaining to prescription opioids obtained from their retail stores, complaints and

information from employees and other agents, and the massive volume of opioid prescription

drug sale data that they developed and monitored, the National Retail Pharmacies were well aware

that their distribution and dispensing activities fell far short of legal requirements.




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       299. The National Retail Pharmacies’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

       D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO
          PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
          SUSPICIOUS ORDERS.

       300. The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal and Maryland law.

       301. The Manufacturing Defendants were required to comply with the same registration

requirements as the Distributor Defendants. See MD. CODE ANN., CRIM. LAW § 5-301(a)(1) (“[A]

person shall be registered by the [Maryland Department of Health] before the person manufactures,

distributes, or dispenses a controlled dangerous substance in the State.”); MD. CODE ANN., CRIM.

LAW § 5-303(a) & (b)(2) (Department shall register applicants to distribute controlled substances

unless the registration is inconsistent with the public interest and Department considers

“compliance with applicable federal, State and local law” in determining the public interest); MD.

CODE REGS. 10.19.03.03(A)(1) (“Requirement. A person shall register with the Department and

obtain and maintain a registration certificate before the person: (1) Manufactures, distributes, or

dispenses controlled dangerous substances”).

       302.    Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription opioids.

See 21 U.S.C. § 823(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded
       therefrom into other than legitimate medical, scientific, research, or industrial
       channels, by limiting the importation and bulk manufacture of such controlled
       substances to a number of establishments which can produce an adequate and
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       uninterrupted supply of these substances under adequately competitive conditions
       for legitimate medical, scientific, research, and industrial purposes . . . .

21 USCA § 823(a)(1) (emphasis added).

       303. Additionally, as “registrants” under Section 823, the Manufacturer Defendants were

also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958).” Like the Distributor Defendants, the

Manufacturer Defendants breached these duties.

       304. The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a manufacturer’s

product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

and, in exchange for the payment, the distributor identifies to the manufacturer the product, volume

and the pharmacy to which it sold the product. Thus, the Manufacturer Defendants knew – just as

the Distributor Defendants knew – the volume, frequency, and pattern of opioid orders being




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placed and filled. The Manufacturer Defendants built receipt of this information into the payment

structure for the opioids provided to the opioid distributors.

           305. Federal statutes and regulations – and Maryland law incorporating those

requirements – are clear: just like opioid distributors, opioid manufacturers are required to “design

and operate a system to disclose . . . suspicious orders of controlled substances” and to maintain

“effective controls against diversion.” 21 C.F.R. § 1301.74; 21 USCA § 823(a)(1).

           306. The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements. 194

           307. In the press release accompanying the settlement, the Department of Justice stated:

Mallinckrodt “did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid epidemic.

These suspicious order monitoring requirements exist to prevent excessive sales of controlled

substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link in the chain

of supply that resulted in millions of oxycodone pills being sold on the street. . . . ‘Manufacturers

and distributors have a crucial responsibility to ensure that controlled substances do not get into

the wrong hands. . . .’” 195

           308. Among the allegations resolved by the settlement, the government alleged

“Mallinckrodt failed to design and implement an effective system to detect and report ‘suspicious



194
    See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders
195
      Id. (quoting DEA Acting Administrator Chuck Rosenberg).

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orders’ for controlled substances – orders that are unusual in their frequency, size, or other patterns

. . . [and] Mallinckrodt supplied distributors, and the distributors then supplied various U.S.

pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills without

notifying DEA of these suspicious orders.” 196

            309. The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these sales

and report suspicious orders to DEA.” 197

            310. The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

            With respect to its distribution of oxycodone and hydrocodone products,
            Mallinckrodt's alleged failure to distribute these controlled substances in a manner
            authorized by its registration and Mallinckrodt's alleged failure to operate an
            effective suspicious order monitoring system and to report suspicious orders to
            the DEA when discovered as required by and in violation of 21 C,F.R. §
            1301.74(b). The above includes, but is not limited to Mallinckrodt's alleged
            failure to:
                          i. conduct adequate due diligence of its customers;
                         ii. detect and report to the DEA orders of unusual size and frequency;
                        iii. detect and report to the DEA orders deviating substantially from
                             normal patterns including, but not limited to, those identified in
                             letters from the DEA Deputy Assistant Administrator, Office of
                             Diversion Control, to registrants dated September 27, 2006 and
                             December 27, 2007:
                                 1. orders that resulted in a disproportionate amount of a
                                      substance which is most often abused going to a particular
                                      geographic region where there was known diversion,
                                 2. orders that purchased a disproportionate amount of a
                                      substance which is most often abused compared to other
                                      products, and


196
      Id.
197
    Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).

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                               3. orders from downstream customers to distributors who
                                  were purchasing from multiple different distributors, of
                                  which Mallinckrodt was aware;
                      iv. use "chargeback" information from its distributors to evaluate
                          suspicious orders. Chargebacks include downstream purchasing
                          information tied to certain discounts, providing Mallinckrodt with
                          data on buying patterns for Mallinckrodt products; and
                       v. take sufficient action to prevent recurrence of diversion by
                          downstream customers after receiving concrete information of
                          diversion of Mallinckrodt product by those downstream
                          customers. 198

            311. Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not

meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

agreed that it “recognizes the importance of the prevention of diversion of the controlled

substances they manufacture” and would “design and operate a system that meets the requirements

of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction information to

identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt agrees to notify

DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.” 199

            312. Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to "downstream" registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.” 200


198
      2017 Mallinckrodt MOA at p. 2-3.
199
      Id. at 3-4.
200
      Id. at p.5.

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       313. The same duties imposed by federal law on Mallinckrodt were imposed upon all

Manufacturer Defendants.

       314. The same business practices utilized by Mallinckrodt regarding “charge backs” and

receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.

       315. Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

       316. The Manufacturer Defendants failed to monitor, report, and halt suspicious orders of

opioids as required by federal law.

       317. The Manufacturer Defendants’ failures to monitor, report, and halt suspicious orders

of opioids were intentional and unlawful.

       318. The Manufacturer Defendants have misrepresented their compliance with federal

law.

       319. The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

criminal activity, and disseminated massive quantities of prescription opioids into the black

market.

       320. The wrongful actions and omissions of the Manufacturer Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

allegations below.




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        321. The Manufacturer Defendants’ actions and omissions in failing to effective prevent

diversion and failing to monitor, report, and prevent suspicious orders have enabled the unlawful

diversion of opioids into Plaintiff’s Community.

        E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL
           DUTIES CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL
           DAMAGES.

        322. As the Manufacturer Defendants’ efforts to expand the market for opioids increased

so have the rates of prescription and sale of their products — and the rates of opioid-related

substance abuse, hospitalization, and death among the people of the State and the Plaintiff’s

Community. The Distributor Defendants have continued to unlawfully ship these massive

quantities of opioids into communities like the Plaintiff’s Community, fueling the epidemic.

        323. There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.” 201

        324. Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions. 202

        325. The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.” 203




201
  See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
202
    See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
203
   See See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480
(2016).



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        326. The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths. 204

        327. As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

devastating effects including substantial opiate-related substance abuse, hospitalization and deaths

that mirror Defendants’ increased distribution of opiates.

        328. Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

Plaintiff’s Community and areas from which such opioids are being diverted into Plaintiff’s

Community, has caused the Defendant-caused opioid epidemic to include heroin addiction, abuse,

and death.

        329. Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the State and in Plaintiff’s Community.

        330. Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in Plaintiff’s Community.

        331. Defendants repeatedly and purposefully breached their duties under state and federal

law, and such breaches are direct and proximate causes of, and/or substantial factors leading to,

the widespread diversion of prescription opioids for nonmedical purposes into the Plaintiff’s

Community.

        332. The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,




204
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
Prescription Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.

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morbidity and mortality in the State and Plaintiff’s Community. This diversion and the epidemic

are direct causes of foreseeable harms incurred by the Plaintiff and Plaintiff’s Community.

        333. Defendants intentional and/or unlawful conduct resulted in direct and foreseeable,

past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein. Plaintiff

also seeks the means to abate the epidemic created by Defendants’ wrongful and/or unlawful

conduct.

        334. Plaintiff seeks economic damages from the Defendants as reimbursement for the

costs association with past efforts to eliminate the hazards to public health and safety.

        335. Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

        336. To eliminate the hazard to public health and safety, and abate the public nuisance, a

“multifaceted, collaborative public health and law enforcement approach is urgently needed.” 205

        337. A comprehensive response to this crisis must focus on preventing new cases of opioid

addiction, identifying early opioid-addicted individuals, and ensuring access to effective opioid

addiction treatment while safely meeting the needs of patients experiencing pain. 206

        338. These community-based problems require community-based solutions that have

been limited by “budgetary constraints at the state and Federal levels.” 207




205
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016), at 1145.
206
    See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
207
    See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
Prescription Drug Abuse Crisis (2011), Error! Hyperlink reference not
valid.https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.

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       339. Having profited enormously through the aggressive sale, misleading promotion, and

irresponsible distribution of opiates, Defendants should be required to take responsibility for the

financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff’s Community.

       F. DEFENDANTS’ FRAUDULENT AND DECEPTIVE MARKETING OF
          OPIOIDS DIRECTLY CAUSED HARM TO THE PLAINTIFF.

       340. In the first instance, The County was damaged directly, through its payments of false

claims for chronic opioid therapy by (a) its self-insured health care plans and (b) its workers’

compensation program.

       341. The Defendants’ marketing of opioids caused health care providers to prescribe and

The County, through its health plans and workers’ compensation program, to pay for prescriptions

of opioids to treat chronic pain. Because of the Defendants’ unbranded marketing, health care

providers wrote and The County paid for prescriptions opioids for chronic pain that were filled not

only with their drugs, but with opioids sold by other manufacturers. All of these prescriptions were

caused by Defendants’ fraudulent marketing and therefore all of them constitute false claims.

Because, as laid out below, The County is obligated to cover medically necessary and reasonably

required care, it had no choice but to pay these false and fraudulent claims.

       342. The fact that The County would pay for these ineligible prescriptions is both the

foreseeable and intended consequence of the Defendants’ fraudulent marketing scheme. The

Defendants set out to change the medical and general consensus supporting chronic opioid therapy

so that doctors would prescribe and government payors, such as The County, would pay for long-

term prescriptions of opioids to treat chronic pain despite the absence of genuine evidence

supporting chronic opioid therapy and the contrary evidence regarding the significant risks and

limited benefits from long-term use of opioids.




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           1. Increase in Opioid Prescribing Nationally

           343. Defendants’ scheme to change the medical consensus regarding opioid therapy for

chronic pain worked. During the year 2000, outpatient retail pharmacies filled 174 million

prescriptions for opioids nationwide. During 2009, they provided 83 million more.

           344. Opioid prescriptions increased even as the percentage of patients visiting the doctor

for pain remained constant.

           345. A study of 7.8 million doctor visits between 2000 and 2010 found that opioid

prescriptions increased from 11.3% to 19.6% of visits, as NSAID and acetaminophen prescriptions

fell from 38% to 29%, driven primarily by the decline in NSAID prescribing. 208

           346. Approximately 20% of the population between the ages of 30 and 44 and nearly 30%

of the population over 45 have used opioids. Indeed, “[o]pioids are the most common means of

treatment for chronic pain.” 209 From 1980 to 2000, opioid prescriptions for chronic pain visits

doubled. This is the result not of an epidemic of pain, but an epidemic of prescribing. A study of

7.8 million doctor visits found that prescribing for pain increased by 73% between 2000 and 2010

– even though the number of office visits in which patients complained of pain did not change and

prescribing of non-opioid pain medications decreased. For back pain alone – one of the most

common chronic pain conditions – the percentage of patients prescribed opioids increased from

19% to 29% between 1999 and 2010, even as the use of NSAIDs, or acetaminophen declined and

referrals to physical therapy remained steady – and climbing.

           347. This increase corresponds with, and was caused by, the Defendants’ massive

marketing push. The industry’s spending nationwide on marketing of opioids stood at more than


208
   Matthew Daubress et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States,
2000-2010, 51 (10) medMed. Care 870 (2013).
209
      Deborah Grady et al., Opioids for Chronic Pain, 171 (16) Arch. Intern. Med. 1426 (2011).

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$20 million per quarter and $91 million annually in 2000. By 2011, that figure hit its peak of more

than $70 million per quarter and $288 million annually, a more than three-fold increase. By 2014,

the figures dropped to roughly $45 million per quarter and $182 million annually, as the

Defendants confronted increased concern regarding opioid addiction, abuse, and diversion. Even

so, the Defendants still spend double what they spent in 2000 on opioid marketing.

        348. By far the largest component of this spending was opioid drug makers’ detailing

visits to individual doctors, with total detailing expenditures more than doubling between 2000

and 2014 and now standing at $168 million annually.

        2. The County’s Increased Spending on Opioids through Self-Insured Health Care
           Plans and Worker’s Compensation Program.

        349. Commensurate with the Defendants’ heavy promotion of opioids and the resultant

massive upswing in prescribing of opioids nationally, The County has seen its own spending on

opioids—through claims paid by its health care plans and worker’s compensation program—

increase dramatically.

          i.    Health Care Plans

        350. The County provides comprehensive health care benefits, including prescription drug

coverage, to its employees and retirees. These benefits are provided under health plans that The

County self-insures, including preferred provider organizations (“PPO”) for employees, among

other benefits for retirees.

        351. The prescription drug plan under the PPO’s are self-insured: the costs of prescription

drugs are paid directly by The County.

        352. Throughout the relevant time period for this action, the PPO’s prescription drug costs

have been paid by The County.




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       353. Doctors submit claims directly to The County’s applicable health plan for their costs

associated with prescribing opioids, including office visits and toxicology screens for patients

prescribed opioids. In addition, prescriptions for opioids written by these doctors for patients

covered by The County’s self-insured health plans are filled by pharmacies, which submit claims

for reimbursement to The County’s third party pharmacy benefit manager.

       354. The County’s applicable health plans provide benefits for all “medically necessary”

services associated with opioids, including treatment related to any adverse outcomes from chronic

opioid therapy, such as overdose or addiction treatment.

       355. The Defendants caused doctors and pharmacies to submit, and The County to pay,

claims to its health plans that were false by: (a) causing doctors to write prescriptions for chronic

opioid therapy based on deceptive representations regarding the risks, benefits, and superiority of

those drugs; (b) causing doctors to certify that these prescriptions and associated services were

medically necessary; (c) causing claims to be submitted for drugs that were promoted for off-label

uses and misbranded, and therefore not FDA-approved; and (d) distorting the standard of care for

treatment of chronic pain so that doctors would feel not only that it was appropriate, but required,

that they prescribe and continue prescriptions for opioids long-term to treat chronic pain. Each –

or any – of these factors made claims to The County for chronic opioid therapy false.

       356. The County’s self-insured health plans only cover the cost of prescription drugs that

are medically necessary and dispensed for a FDA-approved purpose. Prescriptions drugs that are

not medically necessary or that are dispensed for a non-FDA approved purpose are expressly

excluded from coverage under The County’s plans. Generally, under any PPO plan, a medically

necessary prescription is one which is “customary for the treatment or diagnosis of an illness or

injury, and is consistent with generally accepted medical standards.”



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       357. Doctors who care for The County employees and retirees and their dependents are

bound by the provider agreements that entitle them to participate in The County’s health plans.

These agreements generally permit doctors to charge only for treatments that are medically

necessary.

       358. The County is obligated to pay for the medically necessary treatment of covered

employees.

       359. In prescribing opioids for chronic pain, doctors certify that the treatment is medically

necessary and the drugs dispensed for an FDA approved purpose, and – at least with respect to the

self-insured plans – the health plans authorize payment from The County’s funds.

       360. As described above, the use of opioids to treat chronic pain is not “in accordance

with generally accepted standards of medical practice” nor “clinically appropriate . . . and

considered effective for the patient’s illness, injury or disease.”

       361. Further, the Defendants’ deceptive marketing rendered opioids misbranded as

prescribed for chronic pain because they were false and misleading and because, by minimizing

the risks associated with the drugs, they did not contain adequate directions for use. The written,

printed, or graphic matter accompanying the Defendants’ drugs did not accurately describe the

risks associated with long-term use of their products, rendering them misbranded. Due to this

misbranding, the Defendants’ opioids were not FDA-approved, within the meaning of The

County’s health plans, for the long-term treatment of chronic pain.

       362. For each and all of the reasons above, chronic opioid therapy and its attendant and

consequential costs are not eligible for reimbursement through The County’s health plan. The

County would not have knowingly reimbursed claims for prescription drugs that were not eligible

for coverage.



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       363. As a result of the Defendants’ deceptive marketing, The County’s patients who used

opioids long-term to treat chronic pain also incurred additional costs and suffered additional

injuries requiring care, including doctors’ visits, toxicology screens, hospitalization for overdoses,

treatment and other adverse effects of opioids, and long-term disability, among others, which

caused The County to incur additional costs.

       364. The costs incurred by The County include, but are not limited to, doctor visits, which

would also be included with these prescriptions. This includes prescriptions that also were caused

by Defendants’ deceptive marketing, including prescriptions for Defendants’ generic opioid

products and prescriptions for opioids from other manufacturers. These figures do not reflect the

cost to The County of prescribing opioids, such as doctors’ visits or toxicology screens, or the

costs of treating the adverse effects of prescribing opioids long-term, such as overdose and

addiction. They also do not reflect the total damages for all years to The County, which will be

determined at trial, and which will include costs to the health plan for the treatment of opioid abuse

and dependency.

       365. The claims – and the attendant and consequential costs – for opioids prescribed for

chronic pain, as opposed to acute and cancer or end-of-life pain, were ineligible for payment and

the result of the Defendants’ deceptive and unfair conduct.

         ii.   Workers’ Compensation Programs

       366. The County, through a fully self-insured program, provides workers’ compensation,

including prescription drug benefits, to eligible employees injured in the course of their

employment. When an employee is injured on the job, he or she may file a claim for workers’

compensation, if the injury is deemed work-related, The County is responsible for paying its share

of the employee’s medical costs and lost wages.



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       367. The County uses a third party vendor to help manage medical benefits under the

workers’ compensation program. Doctors submit claims to The County’s workers’ compensation

program for the costs associated with prescribing opioids, including office visits and toxicology

screens for patients prescribed opioids.

       368. Upon information and belief, The County’s vendor uses a pharmacy and drug

utilization management program to manage prescriptions for The County’s workers’ compensation

program.

       369. The County’s workers’ compensation program covers all costs associated with

opioids, including treatment related to any adverse outcomes from chronic opioid therapy, such as

addiction treatment.

       370. The Defendants cause doctors and pharmacies to submit, and The County to pay

claims to its workers’ compensation program that were false by: (a) causing doctors to write

prescriptions for chronic opioid therapy based on deceptive representations regarding the risks,

benefits, and superiority of those drugs; (b) causing doctors to certify that these prescriptions and

associated services were medically necessary; (c) causing claims to be submitted for drugs that

were promoted for off-label uses and misbranded, and therefore not FDA-approved; and (d)

distorting the standard of care for treatment of chronic pain so that doctors would feel not only

that it was appropriate, but required, that they prescribe and continue prescriptions for opioids

long-term to treat chronic pain. Each – or any – of these factors made claims to The County for

chronic opioid therapy false.

       371. The Maryland Workers’ Compensation Act requires employers or their insurers to

pay for, inter alia, medical and surgical services, hospital and nursing services, and medicine




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required by the nature of the injury or occupational disease. MD. CODE ANN.,            LABOR AND

EMPLOYMENT, §    9-660.

       372. In prescribing opioids for chronic pain, doctors certify that the treatment is medically

necessary and reasonably required, and the workers’ compensation program authorizes payment

from The County funds.

       373. The County’s workers’ compensation program is obligated to cover all “medically

necessary” and “reasonably required” treatment arising from a compensable work-related injury.

       374. As described above, however, the use of opioids to treat chronic pain is not medically

necessary or reasonably required in that their risks do not materially exceed their benefits; they do

not improve physiological function; and their use is not consistent with guidelines that are

scientifically based (as opposed to marketing driven).

       375. Nevertheless, the amount of such prescriptions paid by worker’s compensation

programs is monumental. A study of the National Council on Compensation Insurance (“NCCI”)

concluded that, in 2011, approximately 38% of pharmacy costs in workers’ compensation are for

opioids and opioid combinations, amounting to approximately $1.4 billion.

       376. Upon information and belief, those trends are reflected in The County’s experience

with paying for opioids through its worker’s compensation plan.

       377. The County incurred costs associated with the prescribing of opioids, such as

doctors’ visits or toxicology screens, and the costs of treating the adverse effects of prescribing

opioids long-term such as overdose and addiction.

       378. However, the costs of long-term opioid use are not limited to costs of opioid

prescriptions. Long-term opioid use is accompanied by a host of consequential costs, including

costs related to abuse, addiction, and death.



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       379. These claims – and their attendant and consequential costs – for opioids prescribed

for chronic pain, as opposed to acute and cancer or end-of-life pain, were ineligible for payment

and the result of the Defendant’s fraudulent scheme.

        iii.   The County’s Increased Costs Correlate with the Defendants’ Promotion.

       380. Upon information and belief, a review of The County’s costs related to opioid

prescriptions, and the costs associated with those prescriptions, will show that as the Defendants

spent more to promote their drugs, doctors began prescribing them more often and as a result, the

costs to The County went up.

       381. It is also distressing (and a sign of further problems ahead) that the drop in opioid

prescribing beginning in 2014 has been accompanied by a corresponding increase in the

Defendants’ promotional spending, which is headed towards a new high, despite evidence of the

grave toll that opioids are taking on law enforcement, public health, and individual lives.

       382. The     Plaintiff   asserts   that   each   Defendant   made    misrepresentations    or

misrepresentation by omission of material facts by their employees, agents, or co-conspirators to

prescribing physicians who then wrote opioid prescriptions for which the Plaintiff paid.

Furthermore, the Plaintiff asserts that specific details about the names of the employees, agents, or

co-conspirators, the substance of the misrepresentations or omissions, the time and date and

location of said misrepresentations or omissions, and the names of the prescribing physicians who

were exposed to each Defendants’ misrepresentations or omissions were closely tracked by the

Defendants, are in the exclusive possession of the Defendants and Plaintiff reasonably believes

that such information will be disclosed in discovery.




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       G. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
         ESTOPPED FROM ASSERTED STATUTES OF LIMITATIONS AS
         DEFENSES.

              1. Continuing Conduct.

       383. Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.

       384. The continued tortious and unlawful conduct by the Defendants causes a repeated or

continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated.

              2. Fraudulent Concealment

       385. To the extent any statute of limitations defense would apply, Defendants cannot rely

upon a statute of limitations defense because they undertook efforts to purposefully conceal their

unlawful conduct and fraudulently assure the public, including the State, the Plaintiff, and

Plaintiff’s Community, that they were undertaking efforts to comply with their obligations under

the state and federal controlled substances laws, all with the goal of protecting their registered

manufacturer or distributor status in the State and to continue generating profits. Notwithstanding

the allegations set forth above, the Defendants affirmatively assured the public, including the State,

the Plaintiff, and Plaintiff’s Community, that they are working to curb the opioid epidemic.

       386. Defendants’ knowingly and fraudulently concealed the facts alleged herein. As

alleged herein, Defendants knew of the wrongful acts set forth above, and had material information

pertinent to their discovery, and concealed them from the Plaintiff and Plaintiff’s Community. The

Plaintiff did not know, or could not have known through the exercise of reasonable diligence, of



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the existence or scope of the Defendants’ industry-wide fraud or of its cause of action, as a result

of Defendants’ conduct.

           387. The Distributor Defendants also repeatedly misrepresented their compliance with

their legal duties under state and federal law in an effort to mislead regulators and the public

regarding the Distributor Defendants’ compliance with their legal duties. The Distributor

Defendants worked to fraudulently convince the public that they were complying with their legal

obligations. Through such statements, the Distributor Defendants attempted to assure the public

they were working to curb the opioid epidemic. By misleading the public about the effectiveness

of their controlled substance monitoring programs, the Distributor Defendants successfully

concealed the facts sufficient to arouse suspicion of the claims that the Plaintiff now asserts. The

Plaintiff did not know of the existence or scope of Defendants’ industry-wide fraud and could not

have acquired such knowledge earlier through the exercise of reasonable diligence.

           388. For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and assured the public it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.” 210

           389. Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate about

curbing the opioid epidemic in our country.” 211




210
      Bernstein et al., supra.
211
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.



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          390. Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and NACDS,

filed an amicus brief in Masters Pharmaceuticals, which made the following statements: 212

      a. “HDMA and NACDS members not only have statutory and regulatory responsibilities to

          guard against diversion of controlled prescription drugs, but undertake such efforts as

          responsible members of society.”

      b. “DEA regulations that have been in place for more than 40 years require distributors to

          report suspicious orders of controlled substances to DEA based on information readily

          available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”

      c. “Distributors take seriously their duty to report suspicious orders, utilizing both computer

          algorithms and human review to detect suspicious orders based on the generalized

          information that is available to them in the ordering process.”

      d. “A particular order or series of orders can raise red flags because of its unusual size,

          frequency, or departure from typical patterns with a given pharmacy.”

      e. “Distributors also monitor for and report abnormal behavior by pharmacies placing orders,

          such as refusing to provide business contact information or insisting on paying in cash.”

Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.




212
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.

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       391. The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database, that will confirm their identities and the

extent of their wrongful and illegal activities.

       392. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

Manufacturer Defendants provided the medical community with false and misleading information

about ineffectual strategies to avoid or control opioid addiction. Manufacturer Defendants

recommended to the medical community that dosages be increased, without disclosing the risks.

Manufacturer Defendants spent millions of dollars over a period of years on a misinformation

campaign aimed at highlighting opioids’ alleged benefits, disguising the risks, and promoting

sales. The medical community, consumers, the State, and Plaintiff’s Community were duped by

the Manufacturer Defendants’ campaign to misrepresent and conceal the truth about the opioid

drugs that they were aggressively pushing in the State and in Plaintiff’s Community.

       393. As alleged herein, at all times relevant to this Complaint, the Manufacturer

Defendants took steps to avoid detection of and to fraudulently conceal their deceptive marketing

and unlawful, unfair, and fraudulent conduct such as by disguising their role in the deceptive

marketing of chronic opioid therapy by funding and working through third parties like Front

Groups and KOLs. The Defendants hid their role in shaping, editing, and approving the content of

information and materials disseminated by these third parties and manipulated their promotional

materials and the scientific literature to make it appear that these documents were accurate,

truthful, and supported by objective evidence when they were not. The Manufacturer Defendants

spent millions of dollars over a period of years on a misinformation campaign aimed at



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highlighting opioids’ alleged benefits, disguising the risks, and promoting sales. The lack of

support for the Manufacturer Defendants’ deceptive messages was not apparent to medical

professionals who relied upon them in making treatment decisions, nor could it have been detected

by the Plaintiff or Plaintiff’s Community. Thus, the Manufacturer Defendants successfully

concealed from the medical community, patients, and health care payors facts sufficient to arouse

suspicion of the claims that the Plaintiff now asserts. Plaintiff did not know of the existence or

scope of the Manufacturer Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.

       394. Defendants intended that their actions and omissions would be relied upon, including

by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not know, and did

not have the means to know, the truth due to Defendants’ actions and omissions.

       395. The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders.

       396. The purposes of the statutes of limitations period are satisfied because Defendants

cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon discovering

the facts essential to its claims, described herein, which Defendants knowingly concealed.

       397. In light of their statements to the media, in legal filings, and settlements, it is clear

that Defendants had actual or constructive knowledge that their conduct was deceptive, in that they

consciously concealed the schemes set forth herein.

       398. Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their conduct.



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As a result of the above, the Plaintiff was unable to obtain vital information bearing on its claims

absent any fault or lack of diligence on its part.

                               V. LEGAL CAUSES OF ACTION

                                            COUNT I
                                       PUBLIC NUISANCE
                                      (Against all Defendants)

        399. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        400. Each Defendant is liable for public nuisance because its conduct at issue has caused

an unreasonable and substantial interference with a right common to the general public, which is

the proximate cause of, and/or substantial factor leading to, Plaintiff’s injury. See Restatement

Second, Torts § 821B.

        401. By causing dangerously addictive drugs to flood the community, and to be diverted

for illicit purposes, in contravention of federal and State law, each Defendant has injuriously

affected rights common to the general public, specifically including the rights of the people of the

Plaintiff’s Community to public health, public safety, public peace, public comfort, and public

convenience. The public nuisance caused by Defendants’ diversion of dangerous drugs has caused

substantial annoyance, inconvenience, and injury to the public.

        402. By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a course of conduct that injuriously

affects the safety, health, and morals of the people of the Plaintiff’s Community.

        403. By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes, Defendants injuriously affected public rights, including the

right to public health, public safety, public peace, and public comfort of the people of the Plaintiff’s

Community.
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       404. Plaintiff alleges that Defendants’ wrongful and illegal actions have created a public

nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

unreasonable interference with a right common to the general public.

       405. The Defendants have intentionally and/or unlawfully created a nuisance.

       406. The residents of Plaintiff’s Community have a common right to be free from conduct

that creates an unreasonable jeopardy to the public health, welfare and safety, and to be free from

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       407. Defendants intentionally, unlawfully, and recklessly manufacture, market, distribute,

and sell prescription opioids that Defendants know, or reasonably should know, will be diverted,

causing widespread distribution of prescription opioids in and/or to Plaintiff’s Community,

resulting in addiction and abuse, an elevated level of crime, death and injuries to the residents of

Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to the residents of

Plaintiff’s Community, and direct costs to Plaintiff’s Community.

       408. Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

residents.

       409. Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

was illegal.   Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

stop shipment of suspicious orders.




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       410. Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

and reasonable apprehension of danger to person or property.

       411. Defendants’ conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally Plaintiff’s Community is

of a continuing nature.

       412. Defendants’ actions have been of a continuing nature and have produced a significant

effect upon the public’s rights, including the public’s right to health and safety.

       413. A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State is a public nuisance.

       414. Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

       415. Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

       416. Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       417. Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.




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       418. Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       419. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are

in the business of manufacturing, marketing, selling, and distributing prescription drugs, including

opioids, which are specifically known to Defendants to be dangerous under federal law. See, e.g.,

21 U.S.C. § 812 (b)(2).

       420. Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the defendants know, or reasonably should know, will likely be diverted for non-legitimate,

non-medical use, creates a strong likelihood that these illegal distributions of opioids will cause

death and injuries to residents in Plaintiff’s Community and otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       421. It is, or should be, reasonably foreseeable to defendants that their conduct will cause

deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       422. The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only causes

deaths and injuries, but also creates a palpable climate of fear among residents in Plaintiff’s

Community where opioid diversion, abuse, addiction are prevalent and where diverted opioids

tend to be used frequently.



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       423. Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       424. Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ special

positions within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

       425. The presence of diverted prescription opioids in Plaintiff’s Community, and the

consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

results in and/or substantially contributes to the creation of significant costs to the Plaintiff and to

Plaintiff’s Community in order to enforce the law, equip its police force and treat the victims of

opioid abuse and addiction.

       426. Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

       427. Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community, costs borne by

Plaintiff’s Community and the Plaintiff, and a significant and unreasonable interference with

public health, safety and welfare, and with the public’s right to be free from disturbance and

reasonable apprehension of danger to person and property.

       428. Defendants’ conduct constitutes a public nuisance and, if unabated, will continue to

threaten the health, safety and welfare of the residents of Plaintiff’s Community, creating an




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atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

       429. Defendants created an intentional nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated plague

of prescription opioid and heroin addiction. Defendants knew the dangers to public health and

safety that diversion of opioids would create in Plaintiff’s Community, however, Defendants

intentionally and/or unlawfully failed to maintain effective controls against diversion through

proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and failed

to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants intentionally

and/or unlawfully marketed opioids in manners they knew to be false and misleading. Such actions

were inherently dangerous.

       430. Defendants knew the prescription opioids have a high likelihood of being diverted.

It was foreseeable to Defendants that where Defendants distributed prescription opioids or caused

such opioids to be distributed without maintaining effective controls against diversion, including

monitoring, reporting, and refusing shipment of suspicious orders, that the opioids would be

diverted, and create an opioid abuse nuisance in Plaintiff’s Community.

       431. Defendants’ actions also created a nuisance by acting recklessly, negligently and/or

carelessly, in breach of their duties to maintain effective controls against diversion, thereby

creating an unreasonable risk of harm.




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       432. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       433. The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance which the government

seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiff seeks all damages

flowing from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and harm created

by Defendants’ conduct.

       434. As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s Community

have suffered actual injury and damages including, but not limited to, significant expenses for

police, emergency, health, prosecution, corrections and other services. The Plaintiff here seeks

recovery for its own harm.

       435. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include, inter alia, health services, law enforcement expenditures, and costs

related to opioid addiction treatment and overdose prevention.

       436. The Plaintiff further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions and

interference with a right common to the public.

       437. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

abatement, compensatory damages, and punitive damages from the Defendants for the creation of

a public nuisance, attorney fees and costs, and pre- and post-judgment interest.

       438. Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.



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       439. Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff’s community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because inter alia these drugs are defined

under federal and state law as substances posing a high potential for abuse and severe addiction.

Defendants created an intentional nuisance. Defendants’ actions created and expanded the abuse

of opioids, drugs specifically codified as constituting severely harmful substances.

       440. The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting from the

Defendants’ abdication of their gate-keeping and diversion prevention duties, and the

Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to the following:

       a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose, injuries,
          and deaths.

       b. Even children have fallen victim to the opioid epidemic. Easy access to prescription
          opioids made opioids a recreational drug of choice among teenagers. Even infants have
          been born addicted to opioids due to prenatal exposure, causing severe withdrawal
          symptoms and lasting developmental impacts.

       c. Even those residents of Plaintiff’s Community who have never taken opioids have
          suffered from the public nuisance arising from Defendants’ abdication of their gate-
          keeper duties and fraudulent promotions. Many residents have endured both the
          emotional and financial costs of caring for loved ones addicted to or injured by opioids,
          and the loss of companionship, wages, or other support from family members who have
          used, abused, become addicted to, overdosed on, or been killed by opioids.

       d. The opioid epidemic has increased health care costs.

       e. Employers have lost the value of productive and healthy employees.



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       f. Defendants’ conduct created an abundance of drugs available for criminal use and
          fueled a new wave of addiction, abuse, and injury.

       g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign pushing
          dangerous drugs resulted in a diverted supply of narcotics to sell, and the ensuing
          demand of addicts to buy them. More prescription opioids sold by Defendants led to
          more addiction, with many addicts turning from prescription opioids to heroin. People
          addicted to opioids frequently require increasing levels of opioids, and many turned to
          heroin as a foreseeable result.

       h. The diversion of opioids into the secondary, criminal market and the increased number
          of individuals who abuse or are addicted to opioids increased the demands on health
          care services and law enforcement.

       i. The significant and unreasonable interference with the public rights caused by
          Defendants’ conduct taxed the human, medical, public health, law enforcement, and
          financial resources of the Plaintiff’s Community.

       j. Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s
          Community is unreasonable because there is little social utility to opioid diversion and
          abuse, and any potential value is outweighed by the gravity of the harm inflicted by
          Defendants’ actions.

       441. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include inter alia health services and law enforcement expenditures, as

described in this Complaint.

       442. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ fraudulent activity and fraudulent misrepresentations. Plaintiff does

not seek damages for physical personal injury or any physical damage to property caused by

Defendants’ actions.

       443. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.


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                                    COUNT II
         RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                              18 U.S.C. 1961, et seq.
             (Against Defendants Purdue, Cephalon, Janssen, and Endo)
                       (The “Opioid Marketing Enterprise”)
       444. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       445. Plaintiff brings this Count on behalf of itself against the following Defendants, as

defined above: Purdue, Cephalon, Janssen, and Endo (referred to collectively for this Claim as the

“RICO Marketing Defendants”).

       446. At all relevant times, the RICO Marketing Defendants were and are “persons” under

18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial

interest in property.”

       447. Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).

       448. The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity.” 18 U.S.C. § 1961(4). The definition of “enterprise” in Section

1961(4) includes legitimate and illegitimate enterprises within its scope. Specifically, the section

“describes two separate categories of associations that come within the purview of an ‘enterprise’

-- the first encompassing organizations such as corporations, partnerships, and other ‘legal

entities,’ and the second covering ‘any union or group of individuals associated in fact although

not a legal entity.’” United State v. Turkette, 452 U.S. 576, 577 (1981).




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       449. Beginning in the early 1990s, the RICO Marketing Defendants aggressively sought

to bolster their revenue, increase profit, and grow their share of the prescription painkiller market

by unlawfully increasing the volume of opioids they sold. The RICO Marketing Defendants knew

that they could not increase their profits without misrepresenting that opioids were non-addictive

and safe for the long-term treatment of chronic pain.

       450. The generally accepted standards of medical practice prior to the 1990s dictated that

opioids should only be used in short durations to treat acute pain, pain relating to recovery from

surgery, or for cancer or palliative (end-of-life) care. Due to the evidence of addiction and lack of

evidence indicating that opioids improved patients’ ability to overcome pain and function, the use

of opioids for chronic pain was discouraged or prohibited. As a result, doctors generally did not

prescribe opioids for chronic pain.

       451. Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

Defendants formed an association-in-fact enterprise and engaged in a scheme to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller market, through

repeated and systematic misrepresentations about the safety and efficacy of opioids for treating

long-term chronic pain.

       452. The RICO Marketing Defendants formed an association-in-fact enterprise consisting

of “advocacy groups and professional societies” (“Front Groups”) and paid “physicians affiliated

with these groups” (KOLs”) in order to unlawfully increase the demand for opioids. Through their

personal relationships, the RICO Marketing Defendants and members of the Opioid Marketing

Enterprise had the opportunity to form and take actions in furtherance of the Opioid Marketing

Enterprise’s common purpose.          The RICO Marketing Defendants’ substantial financial



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contribution to the Opioid Marketing Enterprise, and the advancement of opioids-friendly

messaging, fueled the U.S. opioids epidemic. 213

        453. The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

misleading statements and misrepresentations about opioids that downplayed the risk of addiction

and exaggerated the benefits of opioid use, including: (1) downplaying the serious risk of

addiction; (2) creating and promoting the concept of “pseudoaddiction” when signs of actual

addiction began appearing and advocated that the signs of addiction should be treated with more

opioids; (3) exaggerating the effectiveness of screening tools to prevent addiction; (4) claiming

that opioid dependence and withdrawal are easily managed; (5) denying the risks of higher opioid

dosages; and (6) exaggerating the effectiveness of “abuse-deterrent” opioid formulations to

prevent abuse and addiction.

        454. The RICO Marketing Defendants also falsely touted the benefits of long-term opioid

use, including the supposed ability of opioids to improve function and quality of life, even though

there was no scientifically reliable evidence to support the RICO Marketing Defendants’ claims.

        455. The RICO Marketing Defendants’ scheme, and the common purpose of the Opioid

Marketing Enterprise, has been wildly successful. Opioids are now the most prescribed class of

drugs. Globally, opioid sales generated $11 billion in revenue for drug companies in 2010 alone;

sales in the United States have exceeded $8 billion in revenue annually since 2009. 214 In an open

letter to the nation’s physicians in August 2016, the then-U.S. Surgeon General expressly


213
   Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, February
12, 2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.
214
    See Katherine Eban, OxyContin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.



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connected this “urgent health crisis” to “heavy marketing of opioids to doctors . . . [m]any of

[whom] were even taught – incorrectly – that opioids are not addictive when prescribed for

legitimate pain.” 215

          456. The scheme devised and implemented by the RICO Marketing Defendants amounted

to a common course of conduct designed to ensure that the RICO Marketing Defendants

unlawfully increased their sales and profits through misrepresentations about the addictive nature

and effective use of the RICO Marketing Defendants’ drugs. As Senator McCaskill aptly

recognized:

          The opioid epidemic is the direct result of a calculated marketing and sales strategy
          developed in the 90’s, which delivered three simple messages to physicians. First,
          that chronic pain was severely undertreated in the United States. Second, that
          opioids were the best tool to address that pain. And third, that opioids could treat
          pain without risk of serious addiction. As it turns out, these messages were
          exaggerations at best and outright lies at worst. 216

      A. THE OPIOID MARKETING ENTERPRISE

          457. The Opioid Marketing Enterprise consists of the RICO Marketing Defendants, the

Front Groups, and the KOLs – each of whom is identified below:

      •   The RICO Defendants

             o   Purdue
             o   Cephalon
             o   Janssen
             o   Endo

      •   The Front Groups

             o American Pain Foundation (“APF”)
             o American Academy of Pain Medicine (“AAPM”)
             o American Pain Society (“APS”)

215
   Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/; Fueling An Epidemic,
supra n.3, at 1.
216
    See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtable, September 12, 2017, at 31:03-
31:37, https://www.youtube.com/watch?v=k9mrQa8_vAo (accessed on March 1, 2018).

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           o Federation of State Medical Boards (“FSMB”)
           o U.S. Pain Foundation (“USPF”)
           o American Geriatrics Society (“AGS”)

   •   The KOLs

           o   Dr. Russell Portenoy (“Dr. Portenoy”)
           o   Dr. Lynn Webster (“Dr. Webster”)
           o   Dr. Perry Fine (“Dr. Fine”)
           o   Dr. Scott M. Fishman (“Dr. Fishman”)

       458. The Opioid Marketing Enterprise is an ongoing and continuing business organization

that created and maintained systematic links, interpersonal relationships and engaged in a pattern

of predicate acts (i.e. racketeering activity) in order to further the common purpose of the

enterprise: unlawfully increasing profits and revenues from the continued prescription and use of

opioids for long-term chronic pain. Each of the individuals and entities who formed the Opioid

Marketing Enterprise is an entity or person within the meaning of 18 U.S.C. § 1961(3) and acted

to enable the common purpose and fraudulent scheme of the Opioid Marketing Enterprise.

       459. In order to accomplish the common purpose, members of the Opioid Marketing

Enterprise repeatedly and systematically misrepresented – affirmatively, and through half-truths

and omissions – that opioids are non-addictive and safe for the effective treatment of long-term,

chronic, non-acute and non-cancer pain, and for other off-label uses not approved by the FDA.

The Opioid Marketing Enterprise misrepresented and concealed the serious risks and lack of

corresponding benefits of using opioids for long-term chronic pain.            By making these

misrepresentations, the Opioid Marketing Enterprise ensured that a large number of opioid

prescriptions would be written and filled for chronic pain.

       460. At all relevant times, the Opioid Marketing Enterprise: (a) had an existence separate

and distinct from each RICO Marketing Defendant and its members; (b) was separate and distinct

from the pattern of racketeering in which the RICO Defendants engaged; (c) was an ongoing and

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continuing organization consisting of individuals, persons, and legal entities, including each of the

RICO Marketing Defendants; (d) was characterized by interpersonal relationships between and

among each member of the Opioid Marketing Enterprise, including between the RICO Marketing

Defendants and each of the Front Groups and KOLs; (e) had sufficient longevity for the enterprise

to pursue its purpose; and (f) functioned as a continuing unit.

       461. The persons and entities engaged in the Opioid Marketing Enterprise are

systematically linked through contractual relationships, financial ties, personal relationships, and

continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

       462. Each of the RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise had systematic links to and personal relationships with each other through joint

participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. Each of the RICO Marketing Defendants coordinated their

marketing efforts through the same KOLs and Front Groups, based on their agreement and

understanding that the Front Groups and KOLs were industry friendly and would work together

with the RICO Marketing Defendants to advance the common purpose of the Opioid Marketing

Enterprise.

              1. The RICO Defendants

       463. In addition to their systematic links to and personal relationships with the Front

Groups and KOLS, described below, the RICO Marketing Defendants had systematic links to and

personal relationships with each other through their participation in lobbying groups, trade industry

organizations, contractual relationships and continuing coordination of activities, including but not

limited to, the Pain Care Forum (“PCF”) and the Healthcare Distribution Alliance (“HDA”).

       464. The PCF has been described as a coalition of drug makers, trade groups and dozens

of non-profit organizations supported by industry funding. Plaintiff is informed and believes that
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the PCF was created with the stated goal of offering a “setting where multiple organizations can

share information” and “promote and support taking collaborative action regarding federal pain

policy issues.” Plaintiff is informed and believes that past APF President Will Rowe described the

PCF as “a deliberate effort to positively merge the capacities of industry, professional associations,

and patient organizations.”

            465. The PCF recently became a national news story when it was discovered that lobbyists

for members of the PCF, including the RICO Marketing Defendants, quietly shaped federal and

state policies regarding the use of prescription opioids for more than a decade.

            466. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.” 217 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures. 218

            467. Not surprisingly, each of the RICO Marketing Defendants who stood to profit from

lobbying in favor of prescription opioid use is a member of and/or participant in the PCF. 219 In

2012, membership and participating organizations in the PCF included the HDA (of which all the

RICO Defendants are members), Endo, Purdue, Johnson & Johnson (the parent company for

Janssen Pharmaceuticals), and Teva (the parent company of Cephalon). 220 Each of the RICO



217
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
218
      Id.
219
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf (last
visited March 8, 2018).
220
      Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.

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Marketing Defendants worked together through the PCF to advance the interests of the Opioid

Marketing Enterprise. But, the RICO Marketing Defendants were not alone, many of the RICO

Marketing Defendants’ Front Groups were also members of the PCF, including the American

Academy of Pain Management, the American Pain Foundation, and the American Pain Society.

Upon information and belief, the RICO Marketing Defendants’ KOLs were also members of and

participated in the PCF.

            468. Through the Pain Care Forum, the RICO Marketing Defendants met regularly and in

person to form and take action to further the common purpose of the Opioid Marketing Enterprise

and shape the national response to the ongoing prescription opioid epidemic.

            469. Through the HDA – or Healthcare Distribution Alliance – the RICO Marketing

Defendants “strengthen[ed] . . . alliances” 221 and took actions to further the common purpose of

the Opioid Marketing Enterprise.

            470. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “participate on HDA committees, task

forces and working groups with peers and trading partners,” and “make connections.” 222 Clearly,

membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the RICO Marketing Defendants.

            471. The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the RICO Marketing Defendants with the opportunity to work closely together,




221
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en
(emphasis added).
222
      Id.

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confidentially, to develop and further the common purpose and interests of the Opioid Marketing

Enterprise.

        472. The HDA also offered multiple conferences, including annual business and

leadership conferences through which the RICO Marketing Defendants had an opportunity to

“bring together high-level executives, thought leaders and influential managers . . . to hold strategic

business discussions on the most pressing industry issues.” 223 The HDA and its conferences were

significant opportunities for the RICO Marketing Defendants to interact at the executive level and

form and take actions in furtherance of the common purpose of the Opioid Marketing Enterprise.

It is clear that the RICO Marketing Defendants embraced this opportunity by attending and

sponsoring these events. 224

        473. The systematic contacts and personal relationships developed by the RICO

Marketing Defendants through the PCF and the HDA furthered the common purpose of the Opioid

Marketing Enterprise because it allowed the RICO Marketing Defendants to coordinate the

conduct of the Opioid Marketing Enterprise by, including but not limited to, coordinating their

interaction and development of relationships with the Front Groups and KOLs.

              2. The Front Groups

        474. Each of the RICO Marketing Defendants had systematic links to and personal

relationships with Front Groups that operated as part of the Opioid Marketing Enterprise to further

the common purpose of unlawfully increasing sales by misrepresenting the non-addictive and




223
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14, 2017).
224
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last accessed on
September 14, 2017).

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effective use of opioids for the treatment of long-term chronic pain. As recently reported by the

U.S. Senate in “Fueling an Epidemic”:

             The fact that these same manufacturers provided millions of dollars to the groups
             described below suggests, at the very least, a direct link between corporate
             donations and the advancement of opioids-friendly messaging. By aligning medical
             culture with industry goals in this way, many of the groups described in this report
             may have played a significant role in creating the necessary conditions for the U.S.
             opioids epidemic. 225

             475. “Patient advocacy organizations and professional societies like the Front Groups

'play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.” 226 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’” 227

Indeed, as reflected below, the U.S. Senate’s report found that the RICO Marketing Defendants

made nearly $9 million worth of contributions to various Front Groups, including members of the

Opioid Marketing Enterprise. 228




225
      Fueling an Epidemic, at p. 1.
226
      Id. at p. 2
227
      Id.
228
      Id. at p. 3.

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             476. The Front Groups included in the Opioid Marketing Enterprise “have promoted

messages and policies favorable to opioid use while receiving millions of dollars in payments from

opioid manufacturers. Through criticism of government prescribing guidelines, minimization of

opioid addiction risk, and other efforts, ostensibly neutral advocacy organizations have often

supported industry interests at the expense of their own constituencies.” 229 And, as reflected

below, many of the RICO Marketing Defendants’ Front Groups received the largest contributions:


229
      Id. at p. 3.

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             477. But, the RICO Marketing Defendants connection with and control over the Front

Groups did not end with financial contributions. Rather, the RICO Marketing Defendants made

substantial contributions to physicians affiliated with the Front Groups totaling more than $1.6

million. 230 Moreover, the RICO Marketing Defendants “made substantial payments to individual

group executives, staff members, board members, and advisory board members” affiliated with

the Front Groups subject to the Senate Committee’s study. 231




230
      Id. at p. 3.
231
      Id. at p. 10.

                                                148
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            478. As described in more detail below 232, the RICO Marketing Defendants “amplified or

issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.” 233 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for overprescription and misbranding.” 234




232
   The activities that the Front Groups engaged in, and the misrepresentations that they made, in furtherance of the
common purpose of the Opioid Marketing Enterprise are alleged more fully below, under the heading “Conduct of
the Opioid Marketing Enterprise.”
233
      Id. at 12-15.
234
      Id. at 12.

                                                        149
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          479. The systematic contacts and interpersonal relationships of the RICO Marketing

Defendants, and the Front Groups are further described below:

          480. The American Pain Foundation (“APF”) - The American Pain Foundation was the

most prominent member of the RICO Defendants’ Front Groups and was funded almost

exclusively by the RICO Marketing Defendants. Plaintiff is informed and believes that APF

received more than $10 million in funding from the RICO Marketing Defendants between 2007

and the close of its business in May 2012.          The APF had multiple contacts and personal

relationships with the RICO Marketing Defendants through its many publishing and educational

programs, funded and supported by the RICO Marketing Defendants. Plaintiff is further informed

and believes that between 2009 and 2010, APF received more than eighty percent (80%) of it

operating budget from pharmaceutical industry sources. By 2011, upon information and belief,

APF was entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and

others.

          481. On information and belief, APF was often called upon to provide “patient

representatives” for the RICO Marketing Defendants’ promotional activities, including for

Purdue’s “Partners Against Pain” and Janssen’s “Let’s Talk Pain.” APF functioned largely as an

advocate for the interests of the RICO Marketing Defendants, not patients. Indeed, upon

information and belief, as early as 2001, Purdue told APF that the basis of a grant was Purdue’s

desire to “strategically align its investments in nonprofit organizations that share [its] business

interests.”

          482. APF is also credited with creating the PCF in 2004. Plaintiff is informed and believes

that the PCF was created with the stated goal of offering a “setting where multiple organizations

can share information” and “promote and support taking collaborative action regarding federal



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pain policy issues.” Plaintiff is informed and believes that past APF President Will Rowe

described the PCF as “a deliberate effort to positively merge the capacities of industry, professional

associations, and patient organizations.”

        483. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APF to pursue.

APF then submitted grant proposals seeking to fund these activities and publications, knowing that

drug companies would support projects conceived as a result of these communications.

        484. Furthermore, APF’s Board of Directors was largely comprised of doctors who were

on Defendants’ payrolls, either as consultants or speakers at medical events. 235 As described

below, many of the KOLs involved in the Opioid Marketing Enterprise also served in leadership

positions within the APF.

        485. In December 2011, a ProPublica investigation found that in 2010, nearly 90% of

APF’s funding came from the drug and medical device community, including RICO Marketing

Defendants. 236 More specifically, APF received approximately $2.3 million from industry sources

out of total income of $2.85 million in 2009.                It’s budget for 2010 projected receipt of

approximately $2.9 million from drug companies, out of total income of approximately $3.5

million. In May 2012, the U.S. Senate Finance Committee began looking into APF to determine

the links, financial and otherwise, between the organization and the manufacturers of opioid

painkillers. Within days of being targeted by the Senate investigation, APF’s Board voted to



235
   Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23, 2011),
https://www.propublica.org/article/the-champion-of-painkillers.
236
   Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller drugs, probe finds,
Wash. Post (Dec. 23, 2011), https://www.washingtonpost.com/national/healthscience/patient-advocacy-group-
funded-by-success-of-painkiller-drugs-probefinds/2011/12/20/gIQAgvczDP_story. html?utm_term=.
22049984c606.



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dissolve the organization “due to irreparable economic circumstances.” APF “cease[d] to exist,

effective immediately.” 237

        486. The American Academy of Pain Medicine (“AAPM”) – The AAPM was another

Front Group that had systematic ties and personal relationships with the RICO Defendants. AAPM

received over $2.2 million in funding since 2009 from opioid manufacturers. AAPM maintained

a corporate relations council, whose members paid $25,000 per year (on top of other funding) to

participate. The benefits included allowing members to present educational programs at off-site

dinner symposia in connection with AAPM’s marquee event – its annual meeting held in Palm

Springs, California, or other resort locations. AAPM describes the annual event as an “exclusive

venue” for offering education programs to doctors. Membership in the corporate relations council

also allowed drug company executives and marketing staff to meet with AAPM executive

committee members in small settings. The RICO Marketing Defendants were all members of the

council and presented deceptive programs to doctors who attended this annual event. 238

        487. The RICO Marketing Defendants internally viewed AAPM as “industry friendly,”

with RICO Defendants’ advisors and speakers among its active members. The RICO Marketing

Defendants attended AAPM conferences, funded its CMEs and satellite symposia, and distributed

its publications. AAPM conferences heavily emphasized sessions on opioids. AAPM presidents

have included top industry-supported KOLs like Perry Fine and Lynn Webster.

        488. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for AAPM to


237
    Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.
238
   The American Academy of Pain Medicine, Pain Medicine DC The Governing Voices of Pain: Medicine,
Science, and Government, March 24-27, 2011, http://www.painmed.org/files/2011-annual-meeting-program-
book.pdf.

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pursue. AAPM then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.

        489. Plaintiff is informed and believes that members of AAPM’s Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the AAPM.

        490. The American Pain Society (“APS”) – The APS was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

APS was one of the Front Groups investigated by Senators Grassley and Baucus, as evidenced by

their May 8, 2012 letter arising out of their investigation of “extensive ties between companies that

manufacture and market opioids and non-profit organizations” that “helped created a body of

dubious information favoring opioids.” 239

        491. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APS to pursue.

APS then submitted grant proposals seeking to fund these activities and publications, knowing that

drug companies would support projects conceived as a result of these communications.

        492. Plaintiff is informed and believes that members of APS’s Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the APS.


239
   Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.

                                                     153
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         493. The Federation of State Medical Boards (“FSMB”) - FSMB was another Front Group

with systematic connections and interpersonal relationships with the RICO Marketing Defendants.

In addition to the contributions reported in Fueling an Epidemic, a June 8, 2012 letter submitted

by FSMB to the Senate Finance Committee disclosed substantial payments from the RICO

Marketing Defendants beginning in 1997 and continuing through 2012. 240 Not surprisingly, the

FSMB was another one of the Front Groups investigated by Senators Grassley and Baucus, as

evidenced by their May 8, 2012 letter arising out of their investigation of “extensive ties between

companies that manufacture and market opioids and non-profit organizations” that “helped created

a body of dubious information favoring opioids.” 241

         494. The U.S. Pain Foundation (“USPF”) – The USPF was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants. The

USPF was one of the largest recipients of contributions from the RICO Marketing Defendants,

collecting nearly $3 million in payments between 2012 and 2015 alone. 242 The USPF was also a

critical component of the Opioid Marketing Enterprise’s lobbying efforts to reduce the limits on

over-prescription. The U.S. Pain Foundation advertises its ties to the RICO Marketing Defendants,

listing opioid manufacturers like Pfizer, Teva, Depomed, Endo, Purdue, McNeil (i.e. Janssen), and

Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate members. 243 Industry Front Groups




240
    June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus and Charles Grassley.
241
    Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.
242
    Fueling an Epidemic, at p. 4.
243
    Id. at 12; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/ (last accessed on
March 9, 2018).

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like the American Academy of Pain Management, the American Academy of Pain Medicine, the

American Pain Society, and PhRMA are also members of varying levels in the USPF.

        495. American Geriatrics Society (“AGS”) – The AGS was another Front Group with

systematic connections and interpersonal relationships with the RICO Defendants. The AGS was

a large recipient of contributions from the RICO Marketing Defendants, including Endo, Purdue

and Janssen. AGS contracted with the RICO Marketing Defendants to disseminate guidelines

regarding the use of opioids for chronic pain in 2002 (The Management of Persistent Pain in Older

Persons, hereinafter “2002 AGS Guidelines”) and 2009 (Pharmacological Management of

Persistent Pain in Older Persons, 244 hereinafter “2009 AGS Guidelines”). According to news

reports, AGS has received at least $344,000 in funding from opioid manufacturers since 2009. 245

AGS’s complicity in the common purpose of the Opioid Marketing Enterprise is evidenced by the

fact that AGS internal discussions in August 2009 reveal that it did not want to receive-up front

funding from drug companies, which would suggest drug company influence, but would instead

accept commercial support to disseminate pro-opioid publications.

        496. Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities, lobbying efforts and publications

for AGS to pursue. AGS then submitted grant proposals seeking to fund these activities and

publications, knowing that drug companies would support projects conceived as a result of these

communications.




244
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), available at https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
245
  John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J. Sentinel,
May 30, 2012.


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       497. Plaintiff is informed and believes that members of AGS Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the AGS.

       498. There was regular communication between each of the RICO Marketing Defendants,

Front Groups and KOLs, in which information was shared, misrepresentations were coordinated,

and payments were exchanged.        Typically, the coordination, communication and payment

occurred, and continues to occur, through the use of the wires and mail in which the RICO Markets

Defendants, Front Groups, and KOLs share information necessary to overcome objections and

resistance to the use of opioids for chronic pain. The RICO Marketing Defendants, Front Groups

and KOLs functioned as a continuing unit for the purpose of implementing the Opioid Marketing

Enterprise’s scheme and common purpose, and each agreed to take actions to hide the scheme and

continue its existence.

       499. At all relevant times, the Front Groups were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in that conduct, and reaped benefits

from that conduct. Each Front Group also knew, but did not disclose, that the other Front Groups

were engaged in the same scheme, to the detriment of consumers, prescribers, and Plaintiff. But

for the Opioid Marketing Enterprise’s unlawful fraud, the Front Groups would have had incentive

to disclose the deceit by the RICO Marketing Defendants and the Opioid Marketing Enterprise to

their members and constituents. By failing to disclose this information, Front Groups perpetuated

the Opioid Marketing Enterprise’s scheme and common purpose, and reaped substantial benefits.

           3. The KOLs

       500. Similarly, each of the RICO Marketing Defendants financed, supported, utilized and

relied on the same KOLs by paying, financing, supporting, managing, directing, or overseeing,
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and/or relying on their work. On Information and belief, the RICO Marketing Defendants

cultivated this small circle of doctors solely because they favored the aggressive treatment of

chronic pain with opioids.

       501. The RICO Marketing Defendants and the Opioid Marketing Enterprise relied on their

KOLs to serve as part of their speakers bureaus and to attend programs with speakers bureaus.

The RICO Marketing Defendants graded their KOLs on performance, post-program sales, and

product usage. Furthermore, the RICO Marketing Defendants expected their KOLs to stay “on

message,” and obtained agreements from them, in writing, that “all slides must be presented in

their entirety and without alterations . . . and in sequence.”

       502. The RICO Marketing Defendants’ KOLs have been at the center of the Opioid

Marketing Enterprise’s marketing efforts, presenting the false appearance of unbiased and reliable

medical research supporting the broad use of opioid therapy for chronic pain. As described in

more detail below, the KOLs have written, consulted, edited, and lent their names to books and

articles, and given speeches, and CMEs supporting chronic opioid therapy. They have served on

committees that developed treatment guidelines that strongly encourage the use of opioids to treat

chronic pain (even while acknowledging the lack of evidence in support of that position) and on

the boards of the pro-opioid Front Groups identified above.

       503. The RICO Marketing Defendants and KOLS all had systematic connections and

interpersonal relationships, as described below, through the KOLs receipt of payments from the

RICO Marketing Defendants and Front Groups, the KOLs’ authoring, publishing, speaking, and

educating on behalf of the RICO Marketing Defendants, and their leadership roles and

participation in the activities of the Front Groups, which were in turn financed by the RICO

Marketing Defendants.



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        504. The systematic contacts and interpersonal relationships of the KOLs with the RICO

Marketing Defendants and Front Groups are described below:

        505. Dr. Russell Portenoy – Dr. Portenoy was one of the main KOLs that the RICO

Marketing Defendants identified and promoted to further the common purpose of the Opioid

Marketing Enterprise. Dr. Portenoy received research support, consulting fees, and honoraria from

the RICO Defendants, and was a paid consultant to various RICO Marketing Defendants. Dr.

Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic pain.

Dr. Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing

Defendants’ misrepresentation regarding the risks and benefits of opioid use. Dr. Portenoy had

financial relationships with at least a dozen pharmaceutical companies, most of which produced

prescription opioids. 246

        506. In exchange for the payments he received from the RICO Marketing Defendants, Dr.

Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing Defendants’

misrepresentation regarding the risks and benefits of opioids. 247 Dr. Portenoy, published, spoke,

consulted, appeared in advertisements and on television broadcasts, and traveled the country to

travel the country to promote more liberal prescribing for many types of pain and conduct


246
   Anna Lembke, Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to
Stop, (Johns Hopkins University Press 2016), at 59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of
Addiction and Death (St. Martin’s Press, 1st Ed 2003).
247
    In 1986, the medical journal Pain, which would eventually become the official journal of the American Pain
Society (“APS”), published an article by Portenoy and Foley summarizing the results of a “study” of 38 chronic
non-cancer pain patients who had been treated with opioid painkillers. Portenoy and Foley concluded that, for non-
cancer pain, opioids “can be safely and effectively prescribed to selected patients with relatively little risk of
producing the maladaptive behaviors which define opioid abuse.” However, their study was neither scientific nor did
it meet the rigorous standards commonly used to evaluate the validity and strength of such studies in the medical
community. For instance, there was no placebo control group, and the results were retroactive (asking patients to
describe prior experiences with opioid treatment rather than less biased, in-the-moment reports). The authors
themselves advised caution, stating that the drugs should be used as an “alternative therapy” and recognizing that
longer term studies of patients on opioids would have to be performed. None were. See Russell K. Portenoy &
Kathleen M. Foley, Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
(May 1986).

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continuing medical education (“CME”) seminars sponsored by the RICO Marketing Defendants

and Front Groups.

        507. Dr. Portenoy was also a critical component of the RICO Marketing Defendants’

control over their Front Groups, and the Front Groups support of the Opioid Marketing

Enterprise’s common purpose. Specifically, Dr. Portenoy sat as a Director on the board of the

APF. He was also the President of the APS.

        508. In a 2011 interview released by Physicians for Responsible Opioid Prescribing, Dr.

Portenoy admitted that his earlier work relied on evidence that was not “real” and left real evidence

behind, all in furtherance of the Opioid Marketing Enterprise’s common purpose:

        I gave so many lectures to primary care audiences in which the Porter and Jick
        article was just one piece of data that I would then cite, and I would cite six, seven,
        maybe ten different avenues of thought or avenues of evidence, none of which
        represented real evidence, and yet what I was trying to do was to create a narrative
        so that the primary care audience would look at this information in [total] and feel
        more comfortable about opioids in a way they hadn’t before. In essence this was
        education to destigmatize [opioids], and because the primary goal was to
        destigmatize, we often left evidence behind. 248

        509. Dr. Lynn Webster – Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages regarding

prescription opioids and had systematic contacts and personal relationships with the RICO

Marketing Defendants and the Front Groups.

        510. Dr. Webster was the co-founder and Chief Medical Director of an otherwise

unknown pain clinic in Salt Lake City, Utah (Lifetree Clinical Research), who went on to become

one of the RICO Marketing Defendants’ main KOLs. Dr. Webster was the President of American

Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the same



248
    Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30, 2011),
https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.

                                                    159
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journal that published Endo special advertising supplements touting Opana ER. Dr. Webster was

the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.

Webster was receiving significant funding from the RICO Marketing Defendants (including nearly

$2 million from Cephalon alone).

       511. During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than twenty

(20) of Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

       512. Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-minute

screening tool relying on patient self-reports that purportedly allows doctors to manage the risk

that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort patients

likely to become addicted is an important tool in giving doctors confidence to prescribe opioids

long-term, and, for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

by Endo, Janssen, and Purdue.

       513. Dr. Webster is also credited as one of the leading proponents of “pseudoaddiction”

that the RICO Marketing Defendants, Front Groups and KOLs disseminated as part of the common

purpose of the Opioid Marketing Enterprise.

       514. Plaintiff is informed and believes that in exchange for the payments he received from

the RICO Marketing Defendants, Dr. Webster published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the RICO

Marketing Defendants and Front Groups.



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        515. Like Dr. Portenoy, Dr. Webster later reversed his opinion and disavowed his

previous work on and opinions regarding pseudoaddiction.                          Specifically, Dr. Webster

acknowledged that “[pseudoaddiction] obviously became too much of an excuse to give patients

more medication.” 249

        516. Dr. Perry Fine – Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages regarding

prescription opioids and had systematic contacts and personal relationships with the RICO

Marketing Defendants and the Front Groups.

        517. Dr. Fine was originally a doctor practicing in Utah, who received support from the

RICO Marketing Defendants, including Janssen, Cephalon, Endo, and Purdue. Dr. Fine’s ties to

the RICO Marketing Defendants have been well documented. 250 He has authored articles and

testified in court cases and before state and federal committees, and he served as president of the

AAPM, and argued against legislation restricting high-dose opioid prescription for non-cancer

patients. Multiple videos featured Fine delivering educational talks about prescription opioids. He

even testified in a trial that the 1,500 pills a month prescribed to celebrity Anna Nicole Smith for

pain did not make her an addict before her death. 251 He has also acknowledged having failed to

disclose numerous conflicts of interest.




249
   John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.
250
    Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry, ProPublica
(Dec. 23, 2011, 2:14 PM), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-
industry
251
    Linda Deutsch, Doctor: 1,500 pills don’t prove Smith was addicted, Seattle Times (Sept. 22, 2010, 5:16 PM),
http://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-smithwas-addicted/.

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            518. Dr. Fine was also a critical component of the RICO Marketing Defendants’ control

over their Front Groups, and the Front Groups support of the Opioid Marketing Enterprise’s

common purpose. Specifically, Dr. Fine served on the Board of Directors of APF and served as

the President of the AAPM in 2011.

            519. Plaintiff is informed and believes that in exchange for the payments he received from

the RICO Marketing Defendants, Dr. Fine published, spoke, consulted, appeared in advertisements

and on television broadcasts, and traveled the country to promote more liberal prescribing of

opioids for many types of pain and conduct CME seminars sponsored by the RICO Marketing

Defendants and Front Groups.

            520. Dr. Scott M. Fishman – Dr. Fishman was a critical component of the Opioid

Marketing Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages

regarding prescription opioids and had systematic contacts and personal relationships with the

RICO Marketing Defendants and the Front Groups.

            521. Dr. Fishman’s ties to the opioid drug industry are legion. 252

            522. As Dr. Fishman’s personal biography indicates, he is critical component of the RICO

Marketing Defendants’ control over their Front Groups, and the Front Groups support of the

Opioid Marketing Enterprise’s common purpose. Specifically, Dr. Fishman is an “internationally

recognized expert on pain and pain management” who has served in “numerous leadership roles

with the goal to alleviate pain.” 253 Dr. Fishman’s roles in the pain industry include “past president

of the American Academy of Pain Medicine [AAPM], past chairman of the board of directors of


252
   Scott M. Fishman, M.D., Professor, U.C. Davis Health, Center for Advancing Pain Relief,
https://www.ucdmc.ucdavis.edu/advancingpainrelief/our_team/Scott_Fishman.html (accessed on February 28,
2018).
253
      Id.



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the American Pain Foundation [APF], and past board member of the American Pain Society

[APS].” 254 Dr. Fishman is also “the immediate past chair and current member of the Pain Care

Coalition of the American Society of Anesthesiologists, American Pain Society, and Academy of

Pain Medicine.” 255 Dr. Fishman’s leadership positions within the central core of the RICO

Marketing Defendants’ Front Groups was a direct result of his participation in the Opioid

Marketing Enterprise and agreement to cooperate with the RICO Marketing Defendants’ pattern

of racketeering activity.

            523. Plaintiff is informed and believes that in exchange for the payments he received from

the RICO Marketing Defendants, Dr. Fishman published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the RICO

Marketing Defendants and Front Groups.

            524. There was regular communication between each of the RICO Marketing Defendants,

Front Groups and KOLs, in which information was shared, misrepresentations are coordinated,

and payments were exchanged.            Typically, the coordination, communication and payment

occurred, and continues to occur, through the use of the wires and mail in which the RICO

Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance to the use of opioids for chronic pain. The RICO Marketing Defendants,

Front Groups and KOLs functioned as a continuing unit for the purpose of implementing the

Opioid Marketing Enterprise’s scheme and common purpose, and each agreed to take actions to

hide the scheme and continue its existence.



254
      Id.
255
      Id.

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       525. At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLS and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and Plaintiff. But for the Opioid Marketing Enterprise’s unlawful conduct,

the KOLs would have had incentive to disclose the deceit by the RICO Marketing Defendants and

the Opioid Marketing Enterprise, and to protect their patients and the patients of other physicians.

By failing to disclose this information, KOLs furthered the Opioid Marketing Enterprise’s scheme

and common purpose, and reaped substantial benefits.

       526. As public scrutiny and media coverage focused on how opioids ravaged communities

in Maryland and throughout the United States, the Front Groups and KOLS did not challenge the

RICO     Marketing    Defendants’     misrepresentations,   seek    to   correct   their   previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

that the risks of using opioids for chronic pain outweighed their benefits and were not supported

by medically acceptable evidence.

       527. The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

Enterprise. As reported in Fueling an Epidemic, the Opioid Marketing Enterprise’s conduct in

furtherance of the common purpose of the Opioid Marketing Enterprise involved: (1)



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misrepresentations regarding the risk of addiction and safe use of prescription opioids for long-

term chronic pain; (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to

criticize or undermine CDC guidelines; and (4) efforts to limit prescriber accountability. The

misrepresentations made in these publications are described in the following section.

          528. Efforts to Minimize the Risk of Addiction and Promote Opioid Use As Safe for

Long-Term Treatment of Chronic Pain – Members of the Opioid Marketing Enterprise furthered

the common purpose of the enterprise by publishing and disseminating statements that minimized

the risk of addiction and misrepresented the safety of using prescription opioids for long-term

treatment of chronic, non-acute, and non-cancer pain. The categories of misrepresentations made

by the Opioid Marketing Enterprise and the RICO Defendants included the following: 256

      •   The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the
          American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6
          (1997). The “landmark consensus” was published by the AAPM and APS. Dr. Portenoy
          was the sole consultant. A member of Purdue’s speaker bureau authored the consensus.

      •   Model Guidelines for the Use of Controlled Substances for the Treatment of Pain (1998,
          2004, 2007). 257 These guidelines, originally published by the FSMB in collaboration with
          RICO Defendants, advocated that opioids were “essential” and that “misunderstanding of
          addiction” contributed to undertreated pain.

      •   Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education,
          Labor and Pensions, Testimony by John D. Giglio, M.A., J.D., Executive Director of the
          APF (2002.) 258




256
  As noted below, the earliest misrepresentations disseminated by the RICO Defendants and the Opioid Marketing
Enterprise began in 1997 and has continued unabated since that time. Therefore, this list is alleged as fully and
completely as possible.
257
    Model Policy for the Use of Controlled Substances for the Treatment of Pain, Federation of State Medical Boards
of the United States, May 2004,
https://www.ihs.gov/painmanagement/includes/themes/newihstheme/display_objects/documents/modelpolicytreatm
entpain.pdf (last accessed on March 9, 2018).
258
  Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
Testimony by John D. Giglio, M.A., J.D., Executive Director of the APF (2002.)



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       •   The Management of Persistent Pain in Older Persons (2002). These guidelines were
           published by AGS with substantial funding from Endo, Purdue and Janssen.

       •   Overview of Management Options (2003, 2007, 2010, and 2013). 259 This CME was edited
           by Dr. Portenoy, sponsored by Purdue, and published by the American Medical
           Association. It taught that opioids, unlike non-prescription pain medication are safe at high
           doses.

       •   Understanding Your Pain: Taking Oral Opioid Analgesics (2004). 260 This article,
           published by Endo Pharmaceuticals, advocated that withdrawal and needing to take higher
           dosages are not signs of addiction.

       •   Interview by Paula Moyer with Scott M. Fishman, M.D. (2005). Dr. Fishman advocated
           that “the risks of addiction are . . . small and can be managed.” 261

       •   Open-label study of fentanyl effervescent buccal tablets in patients with chronic pain and
           breakthrough pain: interim safety and tolerability results (2006). 262 Dr. Webster gave this
           CME, sponsored by Cephalon, that misrepresented that opioids were safe for the treatment
           of non-cancer pain.

       •   Treatment Options: A Guide for People Living With Pain (2007). This document was
           published by the APF and sponsored by Cephalon and Purdue. 263

       •   Responsible Opioid Prescribing: A Physician’s Guide (2007). 264 This book, authored by
           Dr. Fishman was financed by the FSMB with funding from Cephalon, Endo and Purdue.




259
   Portenoy, et al., Overview of Management Options, https://cme.ama-assn.org/activity/1296783/detail.aspx. On
information and belief, this CME was published by the American Medical Association in 2003, 2007, 2010, and
2013.
260
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).
261
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.
262
   Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent buccal tablets in patients
with chronic pain and breakthrough pain: interim safety and tolerability results. Program and abstracts of the
annual meeting of the American Academy of Pain Medicine; February 22-25, 2006; San Diego, California. Abstract
120. Published with permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2
(accessed on March 6, 2018).
263
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last accessed on March 8,
2018).
264
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).



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       •   Avoiding Opioid Abuse While Managing Pain (2007). 265 This book, co-authored by Dr.
           Webster, misrepresented that for prescribers facing signs of aberrant behavior, increasing
           the dose in “most cases . . . should be a clinician’s first response.”

       •   Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF
           (2008). 266 This screening tool was published by the National Institutes of Health with
           support from Endo through an educational grant, and advocated that most patients are able
           to successfully remain on long-term opioid therapy without significant problems.

       •   Case Challenges in Pain Management: Opioid Therapy for Chronic Pain (2007). 267 This
           article, sponsored by Endo, misrepresented that opioids are a highly effective class of
           analgesic drugs.

       •   Opioid-Based Management of Persistent and Breakthrough Pain (2008). 268 This
           document was written by Dr. Fine and sponsored by an educational grant from Cephalon.
           Dr. Fine advocated for the prescription of rapid onset opioids “in patients with non-cancer
           pain.”

       •   Optimizing Opioid Treatment for Breakthrough Pain (2008). 269 Dr. Webster presented an
           online seminar (webinar) sponsored by Cephalon, that misrepresented that non-opioid
           analgesics and combination opioids containing non-opioids are less effective because of
           dose limitations.

       •   Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain
           (2009). 270 These guidelines were published by AAPM and APS. Fourteen of the twenty-
           one panel members, including Dr. Portenoy and Dr. Fine, received support from the RICO
           Defendants.




265
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
266
   Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on March 8, 2018).
267
   Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited on March 8, 2018).
268
   Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-persistent-and-breakthrough-
pain (accessed on February 27, 2018).
269
   Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).
270
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).



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       •   Pharmacological Management of Persistent Pain in Older Persons (2009). 271 These
           guidelines were published by AGS, with substantial funding from Endo, Purdue, and
           Janssen, updated the 2002 guidelines and misrepresented that the risks of addiction are
           exceedingly low.

       •   Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A
           Survival Guide to Pain Management for Returning Veterans and Their Families,272
           American Pain Foundation, 2009. This article was published in 2009 and sponsored by
           Purdue.

       •   Finding Relief: Pain Management for Older Adults, (2009). 273 This article was a
           collaboration between the American Geriatrics Society, AAPM and Janssen.

       •   Good Morning America (2010). Dr. Portenoy appeared on Good Morning America and
           stated that “Addiction, when treating pain, is distinctly uncommon.” 274

       •   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain
           Foundation (2011). 275 APF published this document, that was sponsored by Purdue, which
           argued that the notion of strong pain leading to addiction is a common misconception.

       •   Managing Patient’s Opioid Use: Balancing the Need and the Risk (2011). 276 Dr. Webster
           presented a webinar, sponsored by Purdue, that misrepresented the ability to use risk screen
           tools, urine samples and patient agreements to prevent overuse and overdose death.

       •   Safe and Effective Opioid Rotation (2012). 277 This CME, delivered by Dr. Fine, that is
           also available online, advocated for the safe and non-addictive use of opioids to treat cancer
           and non-cancer patients over a person’s “lifetime.”


271
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), available at https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
272
   Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival Guide to Pain
Management for Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March 1, 2018)
273
      Finding Relief, Pain Management for Older Adults, (2009).
274
      Good Morning America (ABC television broadcast Aug. 30, 2010).
275
   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at 5,
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).
276
   See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions in Pain
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
277
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.



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       •   Pain: Opioid Facts (2012). 278 This document was published online on Endo’s website
           painknowledge.org and advocated for the use of opioids and downplayed the risk of
           addiction, even for people with a history of addiction and opioid use, and supported the
           concept of pseudoaddiction.

           529. Efforts to Criticize or Undermine CDC Guidelines – Members of the Opioid

Marketing Enterprise criticized or undermined the CDC Guidelines which represented “an

important step – and perhaps the first major step from the federal government – toward limiting

opioid prescriptions for chronic pain.” 279 The following are examples of the actions taken by

Opioid Marketing Enterprise members to prevent restriction on over-prescription:

       •   Several Front Groups, including the U.S. Pain Foundation, and the AAPM criticized the
           draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were not
           transparent relative to process and failed to disclose the names, affiliation, and conflicts of
           interest of the individuals who participated in the construction of these guidelines.” 280

       •   The AAPM criticized the prescribing guidelines in 2016, through its immediate past
           president, stating “that the CDC guideline makes disproportionately strong
           recommendations based upon a narrowly selected portion of the available clinical
           evidence.” 281

           530. In each of the actions performed by members of the Opioid Marketing Enterprise,

described above, the members of the Opioid Marketing Enterprise made branded and unbranded

marketing claims about prescription opioids that misrepresented prescription opioids as non-

addictive and safe for use as identified in following section.

                4. Members of the Opioid Marketing Enterprise Furthered the Common
                   Purpose by Making Misrepresentations.


278
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
279
      Fueling an Epidemic, supra, at p. 13.
280
    Pat Anson, Chronic Pain Group Blasts CDC for Opioid Guidelines, Pain News Networks,
https://www.painnewsnetwork.org/stories/2015/9/22/chronic-pain-groups-blast-cdc-for-opioid-guidelines (last
accessed on March 8, 2018).
281
   Practical Pain Management, Responses and Criticisms Over New CDC Opioid Prescribing Guidelines
(https://www.practicalpainmanagement.com/resources/news-and-research/responses-criticisms-over-new-cdc-
opioid-prescribing-guidelines) (accessed Sept. 28, 2017).

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          531. The RICO Marketing Defendants, Front Groups and KOLs participated in the

conduct of the Opioid Marketing Enterprise and shared in the common purpose of marketing

opioids for chronic pain through a pattern of racketeering activity (including multiple instances of

mail and wire fraud) by knowingly making material misrepresentations or omissions to Maryland

prescribers, consumers, the general public, regulators and Plaintiff. All of the misrepresentations

made by members of the Opioid Marketing Enterprise furthered the common purpose of the

Enterprise.

          532. Members of the Opioid Marketing Enterprise, including the RICO Marketing

Defendants, Front Groups and KOLs made multiple unbranded marketing misrepresentations

about the benefits and risks of opioid use, in furtherance of the Opioid Marketing Enterprise’s

common purpose, as follows:

          533. Members of the Opioid Marketing Enterprise minimized the risks of addiction and/or

construed opioids as non-addictive:

      •   AAMP and APS endorsed the use of opioids to treat chronic pain and claimed that the risk
          of a patients’ addiction to opioids was low. 282

      •   “[O]pioids are safe and effective, and only in rare cases lead to addiction.” 283

      •   “[T]he risks of addiction are . . . small and can be managed.” 284




282
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
283
  Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
107th Cong. 2 (Feb. 12, 2002) (testimony of John D. Giglio, M.A., J.D., Executive Director, American Pain
Foundation), https://www.help.senate.gov/imo/media/doc/Giglio.pdf.
284
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.


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       •   Represented that calling opioids “‘narcotics’ reinforces myths and misunderstandings as it
           places emphasis on their potential abuse rather than on the importance of their use as pain
           medicines.” 285




       •   “Addiction, when treating pain, is distinctly uncommon. If a person does not have a history,
           a personal history, of substance abuse, and does not have a history in the family of
           substance abuse, and does not have a very major psychiatric disorder, most doctors can feel
           very assured that that person is not going to become addicted.” 286

       •   The risk of addiction is manageable for patients regardless of past abuse histories. 287

       •   “[T]he likelihood that the treatment of pain using an opioid drug which is prescribed by a
           doctor will lead to addiction is extremely low.” 288




285
   APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last
accessed on March 8, 2018).
286
      Good Morning America (ABC television broadcast Aug. 30, 2010).
287
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
288
  Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street Journal (Dec. 17,
2012), https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.



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      •   Patients might experience withdrawal symptoms associated with physical dependence as
          they decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume their
          opioid use, will only take enough medication to alleviate their pain.” 289

      •   The notion that “strong pain medication leads to addiction” is a “common
          misconception.” 290




      •   “Addiction to an opioid would mean that your pain has gone away but you still take the
          medicine regularly when you don’t need it for pain, maybe just to escape your
          problems.” 291




289
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.
290
   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at 5,
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).
291
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).



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       •    Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will
            become problematic or that opioids are contraindicated.” 292

       •    [P]eople who have no history of drug abuse, including tobacco, and use their opioid
            medication as directed will probably not become addicted.” 293




       •    “A history of addiction would not rule out the use of opioid pain relievers.” 294




292
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
293
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
294
      Id.



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       •    APF published Exit Wounds, wherein it represented that “[l]ong experience with opioids
            shows that people who are not predisposed to addiction are very unlikely to become
            addicted to opioid pain medications.” 295




       •    Patients rarely become addicted to prescribed opioids. 296

       •    Concern about patients becoming addicted reflects widespread failure to appreciate the
            distinction between “(1) tolerance – the body’s tendency to become accustomed to a
            substance so that, over time, a larger amount is needed to produce the same physical effect
            (pain relief) and physical dependence – the state defined by the experience of adverse
            symptoms if a drug is abruptly withdrawn . . each of which is common with pain patients”
            . . . “and, on the other hand, (2) the psychological and behavioral patterns – an unhealthy
            craving for, compulsive use of, and unhealthy fixation – that characterize addiction.” 297

       •    Evidence establishes that the risk of drug addiction (historically the principal medical
            justification for withholding or limiting opioids) is far less substantial than long and widely
            assumed. 298




295
   Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival Guide to Pain
Management for Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March 1, 2018).
296
   Brief of Amici the American Pain Foundation, the National Pain Foundation , and the National Foundation for
the Treatment of Pain, 2005 WL 2405247, *9 (citing Portenoy, Russell, et al., Acute and Chronic Pain, in
COMPREHENSIVE TEXTBOOK OF SUBSTANCE ABUSE, 863-903 (Lowinson et al. eds., 4th ed. 2005), United
States v. Hurowitz, 459 F.3d 463 (2006) (citing Portenoy et. al, Chronic Use of Opioid Analgesics in Non-Malignant
Pain: Report of 38 Cases, PAIN, Vol. 25, 171-186, (1986)).
297
   Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v. Hurwitz, 459 F.3d 463 (2006)
(emphasis in original).
298
      Id. and sources cited at note 9.



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       •   The “risks [of addiction] are exceedingly low in older patients with no current or past
           history of substance abuse.” 299




           534. Members of the Opioid Marketing Enterprise advocated that opioids were safe and

effective for long-term treatment of chronic, non-acute and non-cancer pain:

       •   “Opioids are an essential option for treating moderate to severe pain associated with
           surgery or trauma. They may also be an important part of the management of persistent
           pain unrelated to cancer.” 300




       •   Opioids were a safe and effective treatment for of pain as part of a physicians’ treatment
           guidelines. 301

       •   The “small risk of abuse does not justify the withholding of these highly effective
           analgesics from chronic pain patients.” 302

       •   Opioids, unlike some non-prescription pain medications, are safe at high doses. 303




299
    Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), available at https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
300
      APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
301
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
302
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.
303
   Portenoy, et al., Overview of Management Options, https://cme.ama-assn.org/activity/1296783/detail.aspx. On
information and belief, this CME was published in 2003, 2007, 2010, and 2013.



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       •    Falsely representing “recent findings suggesting that most patients are able to successfully
            remain on long-term opioid therapy without significant problems.” 304

       •    Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to
            good medical practice. 305

       •    Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will
            become problematic or that opioids are contraindicated.” 306

       •    Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to
            good medical practice. 307

       •    Broadly classifying pain syndromes as “either cancer- or non-cancer-related has limited
            utility,” and recommended dispensing rapid onset opioids “in patients with non-cancer
            pain.” 308

       •    Opioids are safe and well-tolerated in patients with chronic pain and break through pain. 309




       •    Non-opioid analgesics and combination opioids containing non-opioids such as aspirin and
            acetaminophen are less effective than opioids because of dose limitations on non-
            opioids. 310



304
   Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on March 8, 2018).
305
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
306
      Id.
307
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
308
   Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-persistent-and-breakthrough-
pain (accessed on February 27, 2018).
309
   Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent buccal tablets in patients
with chronic pain and breakthrough pain: interim safety and tolerability results. Program and abstracts of the
annual meeting of the American Academy of Pain Medicine; February 22-25, 2006; San Diego, California. Abstract
120. Published with permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2
(accessed on March 6, 2018).
310
   Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).



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       •    Opioids can safely alleviate chronic pain unresponsive to other medication. 311

       •    Medical organization and government-sponsored clinical guidelines support and encourage
            opioid treatment for chronic pain. 312

       •    Respiratory depression, even at extremely high levels, does not occur in the context of
            appropriate clinical treatment. 313

       •    There is no “ceiling dose” for opioids. 314

       •    Opioid analgesics are the most effective way to treat pain of moderate to severe intensity
            and often the only treatment that provides significant relief. 315

       •    “Opioid rotations” (switching from one opioid to another) not only for cancer patients, but
            also for non-cancer patients, may need to occur four or five times over a person’s “lifetime”
            to manage pain. 316

       •    Opioids represent a highly effective . . . class of analgesic medications for controlling both
            chronic and acute pain. The phenomenon of tolerance to opioids – the gradual waning of
            relief at a given dose – and fears of abuse, diversion, and misuse of these medications by
            patients have led many clinicians to be wary of prescribing these drugs, and/or to restrict
            dosages to levels that may be insufficient to provide meaningful relief. 317




311
    Brief of Amici the American Pain Foundation, the National Pain Foundation , and the National Foundation for
the Treatment of Pain, 2005 WL 2405247, *8, United States v. Hurowitz, 459 F.3d 463 (2006) (citing Portenoy et.
al, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of 38 Cases, PAIN, Vol. 25, 171-186, (1986)).
312
      Id. at *8, and sources cited in note 11.
313
      Id.
314
      Id.
315
      Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v. Hurwitz, 459 F.3d 463.
316
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
317
    Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
2007, https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited on March 8, 2018).

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          535. Members of the Opioid Marketing Enterprise created and championed the concept

of “pseudoaddiction,” advocating that signs of addiction were actually pseudoaddiction that

required prescribing additional opioids:

      •   Patients might experience withdrawal symptoms associated with physical dependence as
          they decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume their
          opioid use, will only take enough medication to alleviate their pain.” 318

      •   “Addiction IS NOT when a person develops ‘withdrawal’ (such as abdominal cramping or
          sweating) after the medicine is stopped or the dose is reduced by a large amount. . . .
          Addiction also IS NOT what happens when some people taking opioids need to take a
          higher dose after a period of time in order for it to continue to relieve their pain. This
          normal ‘tolerance’ to opioid medications doesn’t affect everyone who takes them and does
          not, by itself, imply addiction.” 319




318
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.
319
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), http://www.thblack.com/links/RSD/Understand_Pain_Opioid_Analgesics.pdf (emphasis in
original) (last accessed on March 9, 2018).

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       •    “Addiction to an opioid would mean that your pain has gone away but you still take the
            medicine regularly when you don’t need it for pain, maybe just to escape your
            problems.” 320




320
      Id.



                                                 179
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       •   Behaviors such as “[r]equesting [drugs] by name,” “[d]emanding or manipulative
           behavior,” “[o]btaining drugs from more than one physician,” and “[h]oarding opioids,”
           are all really signs of pseudoaddiction, rather than genuine addiction.” 321

       •   “Sometimes people behave as if they are addicted, when they are really in need of more
           medication.” 322




       •   For prescribers facing signs of aberrant behavior, increasing the does “in most cases . . .
           should be the clinician’s first response.” 323

           536. Members of the Opioid Marketing Enterprise advocated that long-term use of

prescription opioids would improve function, including but not limited to, psychological health,

and health-related quality of life:

       •   When opioids are managed, properly prescribed and taken as directed, they are effective in
           improving daily function, psychological health and health-related quality of life. 324




321
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
322
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
323
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
324
   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at 5,
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).

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       •   Opioid therapy to relieve pain and improve function is a legitimate medical practice for
           acute and chronic pain of both cancer and non-cancer origins. 325

       •   “[Y]our level of function should improve, you may find you are now able to participate in
           activities of daily living, such as work and hobbies, that you were not able to enjoy when
           your pain was worse.” 326

       •   “The goal of opioid therapy is to . . . improve your function.” 327




       •   The “goal” for chronic pain patients is to “improve effectiveness which is different from
           efficacy and safety.” 328




325
  Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007);
Scott M. Fishman, Responsible Opioid Prescribing: A Clinician’s Guide, 10-11 (2d ed. 2012).
326
      Plaintiff is informed and believes that this misrepresentation was made on the website painknowledge.org.
327
    Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
328
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.

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           537. Members of the Opioid Marketing Enterprise represented that screening questions

and professional guidelines would help curb addiction and potential abuse:

       •   Screening questions and professional guidelines will “easily and efficiently” allow
           physicians to manage risk and “minimize the potential for abuse.” 329

       •   Risk screening tools, urine testing, and patient agreements are a way to prevent “overuse
           of prescriptions” and “overdose deaths.” 330




       •   The risks of addiction and abuse can be managed by doctors and evaluated with “tools.”331



329
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
330
    See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions in Pain
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
331
    Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.

                                                        182
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            538. In addition to the unbranded marketing misrepresentations made by members of the

Opioid Marketing Enterprise, the RICO Marketing Defendants made misrepresentations in their

branded marketing activities.            The RICO Marketing Defendants’ branded marketing

misrepresentations furthered the common purpose of the Opioid Marketing Enterprise because

they advanced the common messages of the Opioid Marketing Enterprise. For example:

            539. The RICO Marketing Defendants misrepresented that opioids were non-addictive or

posed less risk of addiction or abuse:

       •    Purdue:

               o “Fear of addiction is exaggerated.” 332




               o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing also
                 enhances patient compliance with their doctor’s instructions.” 333




332
  Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem, L.A. Times (May 5,
2016), http://documents.latimes.com/oxycontin-press-release-1996/ (hereinafter “Ryan, Description of Hell”)
333
      Id.

                                                     183
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            o Long-acting, extended release formulations are safe and “less prone” to abuse by
              patients and addiction. 334

            o OxyContin is safe and non-addictive when using extended release formulations,
              and appropriate for use in non-cancer patients. 335

            o Consistently minimizing the risk of addiction in the use of opioids for the treatment
              of chronic non-cancer-related pain. 336

            o OxyContin is virtually non-addicting. 337

            o “Assur[ing] doctors – repeatedly and without evidence – that ‘fewer than one
              percent’ of patients who took OxyContin became addicted.” 338




334
    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter “Meier, Guilty Plea”).
335
    Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_investigation_of_presc
ription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).
336
  Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2)
Am. J. Pub. Health 221-27 (Feb. 2009) (hereinafter, “Van Zee, Promotion and Marketing”).
337
   Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
338
   Id.; see also “I got my life back,” OxyContin Promotional Video, 1998,
https://www.youtube.com/watch?v=Er78Dj5hyeI (last accessed on March 8, 2018).



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              o OxyContin was addiction resistant and had “abuse-deterrent properties.” 339

              o Misrepresented the risk of addiction using misleading and inaccurate promotions
                of OxyContin that were unsupported by science. 340

              o It was more difficult to extract the oxycodone from an OxyContin tablet for
                intravenous abuse. 341

              o OxyContin created fewer chances for addiction than immediate-release opioids. 342

              o OxyContin had fewer “peak and trough” effects than immediate-release opioids
                resulting in less euphoria and less potential for abuse than short-acting opioids. 343

              o Patients could abruptly stop opioid therapy without experiencing withdrawal
                symptoms, and patients who took OxyContin would not develop tolerance. 344




339
      Id.
340
  Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
341
      Id.
342
      Id.
343
      Id.
344
      Id.



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              o OxyContin did not cause a “buzz,” caused less euphoria, had less addiction
                potential, had less abuse potential, was less likely to be diverted than immediate-
                release opioids, and could be used to “weed out” addicts and drug seekers. 345

              o Purdue published a prescriber and law enforcement education pamphlet in 2011
                entitled Providing Relief, Preventing Abuse, which under the heading, “Indications
                of Possible Drug Abuse,” shows pictures of the stigmata of injecting or snorting
                opioids—skin popping, track marks, and perforated nasal septa. In fact, opioid
                addicts who resort to these extremes are uncommon; the far more typical reality is
                patients who become dependent and addicted through oral use. Thus, these
                misrepresentations wrongly reassured doctors that as long as they do not observe
                those signs, they need not worry that their patients are abusing or addicted to
                opioids.

              o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                Management, which inaccurately claimed that less than 1% of children prescribed
                opioids will become addicted. This publication is still available online. This
                publication also asserted that pain is undertreated due to “misconceptions about
                opioid addiction.”

              o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain
                (2007), which asserted that addiction is rare and limited to extreme cases of
                unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

              o A Purdue-funded study with a Purdue co-author claimed that “evidence that the risk
                of psychological dependence or addiction is low in the absence of a history of
                substance abuse.” 346 The study relied only on the 1980 Porter-Jick letter to the
                editor concerning a chart review of hospitalized patients, not patients taking
                Purdue’s long-acting, take-home opioid. Although the term “low” is not defined,
                the overall presentation suggests the risk is so low as not to be a worry.

              o Purdue contracted with AGS to produce a CME promoting the 2009 guidelines for
                the Pharmacological Management of Persistent Pain in Older Persons. These
                guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
                patients with no current or past history of substance abuse.” None of the references
                in the guidelines corroborates the claim that elderly patients are less likely to
                become addicted to opioids and the claim is, in fact, untrue. Purdue was aware of
                the AGS guidelines’ content when it agreed to provide this funding, and AGS
                drafted the guidelines with the expectation it would seek drug company funding to
                promote them after their completion.

              o Purdue sponsored APF’s Exit Wounds (2009), which counseled veterans that
                “[l]ong experience with opioids shows that people who are not predisposed to

345
      Id.
346
    C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial
I painful diabetic neuropathy, 105 Pain 71 (2003).

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                    addiction are very unlikely to become addicted to opioid pain medications.”
                    Although the term “very unlikely” is not defined, the overall presentation suggests
                    it is so low as not to be a worry.

                o Purdue sales representatives told prescribers that its drugs were “steady state,” the
                  implication of which was that they did not produce a rush or euphoric effect, and
                  therefore were less addictive and less likely to be abused.

                o Purdue sales representatives told prescribers that Butrans has a lower abuse
                  potential than other drugs because it was essentially tamperproof and, after a certain
                  point, patients no longer experience a “buzz” from increased dosage.

                o Advertisements that Purdue sent to prescribers stated that OxyContin ER was less
                  likely to be favored by addicts, and, therefore, less likely to be abused or diverted,
                  or result in addiction.

                o In discussions with prescribers, Purdue sales representatives omitted discussion of
                  addiction risks related to Purdue’s drugs.

       •   Janssen:

                o Myth: Opioid medications are always addictive.
                  Fact: Many studies show that opioids are rarely addictive when used properly for
                  the management of chronic pain. 347

                o Myth: Opioid doses have to get bigger over time because the body gets used to
                  them.
                  Fact: Unless the underlying cause of your pain gets worse (such as with cancer or
                  arthritis), you will probably remain on the same dose or need only small increases
                  over time. 348

                o “[Q]uestions of addiction,” “are often overestimated” because, “[a]ccording to
                  clinical opinion polls, true addiction occurs only in a small percentage of patients
                  with chronic pain who receive chronic opioid analgesics.” 349




347
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).
348
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).
349
    Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11, 2017).

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  o Janssen sponsored a patient education guide titled Finding Relief: Pain
    Management for Older Adults (2009), which its personnel reviewed and approved
    and which its sales force distributed. This guide described a “myth” that opioids are
    addictive, and asserts as fact that “[m]any studies show that opioids are rarely
    addictive when used properly for the management of chronic pain.” Although the
    term “rarely” is not defined, the overall presentation suggests the risk is so low as
    not to be a worry. The language also implies that as long as a prescription is given,
    opioid use is not a problem.

  o Janssen contracted with AGS to produce a CME promoting the 2009 guidelines for
    the Pharmacological Management of Persistent Pain in Older Persons. These
    guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
    patients with no current or past history of substance abuse.” The study supporting
    this assertion does not analyze addiction rates by age and, as already noted,
    addiction remains a significant risk for elderly patients. Janssen was aware of the
    AGS guidelines’ content when it agreed to provide this funding, and AGS drafted
    the guidelines with the expectation it would seek drug company funding to promote
    them after their completion.

  o Janssen provided grants to APF to distribute Exit Wounds (2009) to veterans, which
    taught that [l]ong experience with opioids shows that people who are not
    predisposed to addiction are very unlikely to become addicted to opioid pain
    medications.” Although the term “very unlikely” is not defined, the overall
    presentation suggests the risk is so low as not to be a worry.

  o Janssen currently runs a website, Prescriberesponsibly.com (last modified July 2,
    2015), which claims that concerns about opioid addiction are “overstated.”

  o A June 2009 Nucynta Training module warns Janssen’s sales force that physicians
    are reluctant to prescribe controlled substances like Nucynta, but this reluctance is
    unfounded because “the risks . . . are much smaller than commonly believed.”




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                  o Janssen sales representatives told prescribers that its drugs were “steady state,” the
                    implication of which was that they did not produce a rush or euphoric effect, and
                    therefore were less addictive and less likely to be abused.

                  o Janssen sales representatives told prescribers that Nucynta and Nucynta ER were
                    “not opioids,” implying that the risks of addiction and other adverse outcomes
                    associated with opioids were not applicable to Janssen’s drugs. In truth, however,
                    as set out in Nucynta’s FDA-mandated label, Nucynta “contains tapentadol, an
                    opioid agonist and Schedule II substance with abuse liability similar to other opioid
                    agonists, legal or illicit.”

                  o Janssen’s sales representatives told prescribers that Nucynta’s unique properties
                    eliminated the risk of addiction associated with the drug.

                  o In discussions with prescribers, Janssen sales representatives omitted discussion of
                    addiction risks related to Janssen’s drugs.

       •    Cephalon:

                  o Cephalon sponsored and facilitated the development of a guidebook, Opioid
                    Medications and REMS: A Patient’s Guide, which claims, among other things, that
                    “patients without a history of abuse or a family history of abuse do not commonly
                    become addicted to opioids.”

                  o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
                    Pain (2007), which taught that addiction is rare and limited to extreme cases of
                    unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

                  o In discussions with prescribers, Cephalon sales representatives omitted any
                    discussion of addiction risks related to Cephalon’s drugs.

       •    Endo:

                  o Opana ER was designed to be crush resistant

                  o Opana ER was crush and abuse resistant and not addictive. 350

                  o “[T]he Reformulated Opana ER as ‘designed to be’ crush resistant.” 351




350
   In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
351
      Id. at 6.



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            o “[P]atients treated with prolonged opioid medicines usually do not become
              addicted.” 352
            o Endo trained its sales force in 2012 that use of long-acting opioids resulted in
              increased patient compliance, without any supporting evidence.

            o Endo’s advertisements for the 2012 reformulation of Opana ER claimed it was
              designed to be crush resistant, in a way that conveyed that it was less likely to be
              abused. This claim was false; the FDA warned in a May 10, 2013 letter that there
              was no evidence Endo’s design “would provide a reduction in oral, intranasal or
              intravenous abuse” and Endo’s “post-marketing data submitted are insufficient to
              support any conclusion about the overall or route-specific rates of abuse.” Further,
              Endo instructed its sales representatives to repeat this claim about “design,” with
              the intention of conveying Opana ER was less subject to abuse.

            o Endo sponsored a website, painknowledge.com, through APF and NIPC, which
              claimed in 2009 that: “[p]eople who take opioids as prescribed usually do not
              become addicted.” Although the term “usually” is not defined, the overall
              presentation suggests the risk is so low as not to be a worry. The language also
              implies that as long as a prescription is given, opioid use will not become
              problematic. Endo continued to provide funding for this website through 2012, and
              closely tracked unique visitors to it.

            o Endo sponsored a website, PainAction.com, which stated “Did you know? Most
              chronic pain patients do not become addicted to the opioid medications that are
              prescribed for them.”

            o Endo sponsored CMEs published by APF’s NIPC, of which Endo was the sole
              funder, titled Persistent Pain in the Older Adult and Persistent Pain in the Older
              Patient. These CMEs claimed that opioids used by elderly patients present
              “possibly less potential for abuse than in younger patients[,]” which lacks
              evidentiary support and deceptively minimizes the risk of addiction for elderly
              patients.

            o Endo distributed an education pamphlet with the Endo logo titled Living with
              Someone with Chronic Pain, which inaccurately minimized the risk of addiction:
              “Most health care providers who treat people with pain agree that most people do
              not develop an addiction problem.”

            o Endo distributed a patient education pamphlet edited by key opinion leader Dr.
              Russell Portenoy titled Understanding Your Pain: Taking Oral Opioid Analgesics.
              It claimed that “[a]ddicts take opioids for other reasons [than pain relief], such as




352
   In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.

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                    unbearable emotional problems.” This implies that pain patients prescribed opioids
                    will not become addicted, which is unsupported and untrue.

                o Endo contracted with AGS to produce a CME promoting the 2009 guidelines for
                  the Pharmacological Management of Persistent Pain in Older Persons. These
                  guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
                  patients with no current or past history of substance abuse.” None of the references
                  in the guidelines corroborates the claim that elderly patients are less likely to
                  become addicted to opioids, and there is no such evidence. Endo was aware of the
                  AGS guidelines’ content when it agreed to provide this funding, and AGS drafted
                  the guidelines with the expectation it would seek drug company funding to promote
                  them after their completion.

                o Endo sales representatives told prescribers that its drugs were “steady state,” the
                  implication of which was that they did not produce a rush or euphoric effect, and
                  therefore were less addictive and less likely to be abused.

                o Endo provided grants to APF to distribute Exit Wounds (2009) to veterans, which
                  taught that “[l]ong experience with opioids shows that people who are not
                  predisposed to addiction are very unlikely to become addicted to opioid pain
                  medications.” Although the term “very unlikely” is not defined, the overall
                  presentation suggests that the risk is so low as not to be a worry.

                o In discussions with prescribers, Endo sales representatives omitted discussion of
                  addiction risks related to Endo’s drugs.

           540. The RICO Marketing Defendants misrepresented that opioids improved function and

quality of life:

       •   Purdue:

                o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing also
                  enhances patient compliance with their doctor’s instructions.” 353




353
      Ryan, Description of Hell, http://documents.latimes.com/oxycontin-press-release-1996/

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       o Purdue ran a series of advertisements for OxyContin in 2012 in medical journals
         titled “Pain vignettes,” which were case studies featuring patients, each with pain
         conditions persisting over several months, recommending OxyContin for each. One
         such patient, “Paul,” is described to be a “54-year-old writer with osteoarthritis of
         the hands,” and the vignettes imply that an OxyContin prescription will help him
         work more effectively.

       o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
         Management, which inaccurately claimed that “multiple clinical studies” have
         shown that opioids are effective in improving daily function, psychological health,
         and health-related quality of life for chronic pain patients.” The sole reference for
         the functional improvement claim noted the absence of long-term studies and
         actually stated: “For functional outcomes, the other analgesics were significantly
         more effective than were opioids.” The Policymaker’s Guide is still available
         online.

       o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain
         (2007), which counseled patients that opioids, when used properly, “give [pain
         patients] a quality of life we deserve.” APF distributed 17,200 copies in one year
         alone, according to its 2007 annual report, and the guide currently is available
         online.

       o Purdue sponsored APF’s Exit Wounds (2009), which taught veterans that opioid
         medications “increase your level of functioning.” Exit Wounds also omits warnings
         of the risk of interactions between opioids and benzodiazepines, which would
         increase fatality risk. Benzodiazepines are frequently prescribed to veterans
         diagnosed with post-traumatic stress disorder.

       o Purdue sponsored the FSMB’s Responsible Opioid Prescribing (2007), which
         taught that relief of pain itself improved patients’ function. Responsible Opioid
         Prescribing explicitly describes functional improvement as the goal of a “long-term
         therapeutic treatment course.” Purdue also spent over $100,000 to support
         distribution of the book.

•   Janssen:



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                 o Misrepresented that patients experienced “[s]ignificantly reduced nighttime
                   awakenings.” 354

                 o Misrepresented “[s]ignificant improvement in disability scores as measured by the
                   Oswestry Disability Questionnaire and Pain Disability Index.” 355

                 o Misrepresented “[s]ignificant improvement in social functioning.”

                 o Misrepresented outcome claims that were misleading because they lacked
                   substantial support, evidence or clinical experience and “impl[ied] that patients will
                   experience improved social or physical functioning or improved work productivity
                   when using Duragesic,” including: “1,360 loaves . . . and counting, [w]ork,
                   uninterrupted, [l]ife, uninterrupted, [g]ame, uninterrupted, [c]hronic pain relief that
                   supports functionality, [h]elps patients think less about their pain, and [i]mprove[s]
                   . . . physical and social functioning.” 356

                 o Misrepresented that “[o]pioid analgesics, for example, have no true ‘ceiling dose’
                   for analgesia and do not cause direct organ damage.” 357




                 o Myth: Opioids make it harder to function normally.
                   Fact: When used correctly for appropriate conditions, opioids may make it easier
                   for people to live normally. 358

                 o Janssen sponsored a patient education guide titled Finding Relief: Pain
                   Management for Older Adults (2009), which its personnel reviewed and
                   approved and its sales force distributed. This guide features a man playing
                   golf on the cover and lists examples of expected functional improvement

354
  NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.
355
      Id.
356
      Id. at 3 (internal quotations omitted).
357
   Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11, 2017).
358
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).

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          from opioids, like sleeping through the night, returning to work, recreation,
          sex, walking, and climbing stairs. The guide states as a “fact” that “opioids
          may make it easier for people to live normally” (emphasis in the original).
          The myth/fact structure implies authoritative backing for the claim that does
          not exist. The targeting of older adults also ignored heightened opioid risks
          in this population.

       o Janssen sponsored, developed, and approved content of a website, Let’s
         Talk Pain in 2009, acting in conjunction with the APF and AAPM whose
         participation in Let’s Talk Pain Janssen financed and orchestrated. This
         website featured an interview, which was edited by Janssen personnel,
         claiming that opioids were what allowed a patient to “continue to function,”
         inaccurately implying her experience would be representative. This video is
         still available today on youtube.com.

       o Janssen provided grants to APF to distribute Exit Wounds to veterans, which
         taught that opioid medications “increase your level of functioning”
         (emphasis in the original). Exit Wounds also omits warnings of the risk of
         interactions between opioids and benzodiazepines, which would increase
         fatality risk. Benzodiazepines are frequently prescribed to veterans
         diagnosed with post-traumatic stress disorder.

•   Cephalon:

       o Cephalon sponsored the FSMB’s Responsible Opioid Prescribing (2007),
         which taught that relief of pain itself improved patients’ function.
         Responsible Opioid Prescribing explicitly describes functional
         improvement as the goal of a “long-term therapeutic treatment course.”
         Cephalon also spent $150,000 to purchase copies of the book in bulk and
         distributed the book through its pain sales force to 10,000 prescribers and
         5,000 pharmacists.

       o Cephalon sponsored the American Pain Foundation’s Treatment Options:
         A Guide for People Living with Pain (2007), which taught patients that
         opioids when used properly “give [pain patients] a quality of life we
         deserve.” The Treatment Options guide notes that non-steroidal anti-
         inflammatory drugs have greater risks with prolonged duration of use, but
         there was no similar warning for opioids. APF distributed 17,200 copies in
         one year alone, according to its 2007 annual report, and the publication is
         currently available online.

       o Cephalon sponsored a CME written by Dr. Webster, titled Optimizing
         Opioid Treatment for Breakthrough Pain, which was offered online by
         Medscape, LLC from September 28, 2007, through December 15, 2008.
         The CME taught that Cephalon’s Actiq and Fentora improve patients’
         quality of life and allow for more activities when taken in conjunction with
         long-acting opioids.

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       •    Endo:

                  o Opana ER “will benefit patients, physicians and payers.” 359




                  o “Endo distributed a pamphlet in New York and posted on its public website,
                    www.opana.com, photographs of purported Opana ER patients that implied that
                    patients can achieve higher function with Opana ER.” 360

                  o Endo sponsored a website, painknowledge.com, through APF and NIPC, which
                    claimed in 2009 that with opioids, “your level of function should improve; you may
                    find you are now able to participate in activities of daily living, such as work and
                    hobbies, that you were not able to enjoy when your pain was worse.” Endo
                    continued to provide funding for this website through 2012, and closely tracked
                    unique visitors to it.

                  o A CME sponsored by Endo, titled Persistent Pain in the Older Patient, taught that
                    chronic opioid therapy has been “shown to reduce pain and improve depressive
                    symptoms and cognitive functioning.”

                  o Endo distributed handouts to prescribers that claimed that use of Opana ER to treat
                    chronic pain would allow patients to perform work as a chef. This flyer also
                    emphasized Opana ER’s indication without including equally prominent disclosure
                    of the “moderate to severe pain” qualification.

                  o Endo’s sales force distributed FSMB’s Responsible Opioid Prescribing (2007).
                    This book taught that relief of pain itself improved patients’ function. Responsible
                    Opioid Prescribing explicitly describes functional improvement as the goal of a
                    “long-term therapeutic treatment course.”

                  o Endo provided grants to APF to distribute Exit Wounds to veterans, which taught
                    that opioid medications “increase your level of functioning” (emphasis in the
                    original). Exit Wounds also omits warnings of the risk of interactions between
                    opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines
                    are frequently prescribed to veterans diagnosed with post-traumatic stress disorder.



359
   FDA Approves Endo Pharmaceuticals’ Crush-Resistant Opana ER, December 12, 2011,
https://www.biospace.com/article/releases/fda-approves-endo-pharmaceuticals-crush-resistant-opana-er-/.
360
      Id. at 8.

                                                      195
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          541. The RICO Marketing Defendants misrepresented that addiction risks can be avoided

or managed through screening tools and prescription guidelines:

      •   Purdue:

             o Purdue’s unbranded website, In the Face of Pain (inthefaceofpain.com) states that
               policies that “restrict[] access to patients with pain who also have a history of
               substance abuse” and “requiring special government-issued prescription forms for
               the only medications that are capable of relieving pain that is severe” are “at odds
               with” best medical practices. 361

             o Purdue sponsored a 2012 CME program taught by a KOL titled Chronic Pain
               Management and Opioid Use: Easing Fears, Managing Risks, and Improving
               Outcomes. This presentation recommended that use of screening tools, more
               frequent refills, and switching opioids could treat a high-risk patient showing signs
               of potentially addictive behavior.

             o Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, titled Managing
               Patient’s Opioid Use: Balancing the Need and Risk. This publication taught
               prescribers that screening tools, urine tests, and patient agreements have the effect
               of preventing “overuse of prescriptions” and “overdose deaths.”

             o Purdue sales representatives told prescribers that screening tools can be used to
               select patients appropriate for opioid therapy and to manage the risks of addiction.

      •   Cephalon:

             o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
               Pain (2007), which taught patients that “opioid agreements” between doctors and
               patients can “ensure that you take the opioid as prescribed.”

      •   Endo:

             o Endo paid for a 2007 supplement 362 available for continuing education credit in the
               Journal of Family Practice and written by a doctor who later became a member of
               Endo’s speakers bureau. This publication, titled Pain Management Dilemmas in
               Primary Care: Use of Opioids, recommended screening patients using tools like
               the Opioid Risk Tool or the Screener and Opioid Assessment for Patients with Pain,
               and advised that patients at high risk of addiction could safely (e.g., without



361
  See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue Pharma L.P. (Resources verified
Mar. 2012), www.inthefaceofpain.com/content/uploads/2011/12/factsheet_ProtectingAccess.pdf.
362
    The Medical Journal, The Lancet found that all of the supplement papers it received failed peer-review. Editorial,
“The Perils of Journal and Supplement Publishing,” 375 The Lancet 9712 (347) 2010.

                                                        196
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              becoming addicted) receive chronic opioid therapy using a “maximally structured
              approach” involving toxicology screens and pill counts.

       542. The RICO Marketing Defendants misrepresented that signs of opioid addiction were

not addiction, withdrawal could be simply managed, and promoted the concept of

pseudoaddiction:

   •   Purdue:

          o Purdue published a prescriber and law enforcement education pamphlet in 2011
            entitled Providing Relief, Preventing Abuse, which described pseudoaddiction as a
            concept that “emerged in the literature to describe the inaccurate interpretation of
            [drug-seeking behaviors] in patients who have pain that has not been effectively
            treated.”

          o Purdue distributed to physicians, at least as of November 2006 and posted on its
            unbranded website, Partners Against Pain, a pamphlet copyrighted 2005 and titled
            Clinical Issues in Opioid Prescribing. This pamphlet included a list of conduct
            including “illicit drug use and deception” it defined as indicative of
            pseudoaddiction or untreated pain. It also states: “Pseudoaddiction is a term which
            has been used to describe patient behaviors that may occur when pain is
            undertreated. . . . Even such behaviors as illicit drug use and deception can occur in
            the patient’s efforts to obtain relief. Pseudoaddiction can be distinguished from true
            addiction in that the behaviors resolve when the pain is effectively treated.”

          o Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007), which taught
            that behaviors such as requesting drugs by name, “demanding or manipulative
            behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all signs
            of pseudoaddiction. Purdue also spent over $100,000 to support distribution of the
            book.

          o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
            Management, which states: “Pseudo-addiction describes patient behaviors that may
            occur when pain is undertreated. . . . Pseudo-addiction can be distinguished from
            true addiction in that this behavior ceases when pain is effectively treated.”

          o A Policymaker’s Guide to Understanding Pain & Its Management also taught that
            “Symptoms of physical dependence can often be ameliorated by gradually
            decreasing the dose of medication during discontinuation,” but did not disclose the
            significant hardships that often accompany cessation of use.

          o Purdue sales representatives told prescribers that the effects of withdrawal from
            opioid use can be successfully managed.



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       o Purdue sales representatives told prescribers that the potential for withdrawal on
         Butrans was low due to Butrans’ low potency and its extended release mechanism.

•   Janssen:

       o Janssen’s website, Let’s Talk Pain, stated from 2009 through 2011 that
         “pseudoaddiction . . . refers to patient behaviors that may occur when pain is under-
         treated” and “[p]seudoaddiction is different from true addiction because such
         behaviors can be resolved with effective pain management.”

       o A Janssen PowerPoint presentation used for training its sales representatives titled
         “Selling Nucynta ER” indicates that the “low incidence of withdrawal symptoms”
         is a “core message” for its sales force. This message is repeated in numerous
         Janssen training materials between 2009 and 2011. The studies supporting this
         claim did not describe withdrawal symptoms in patients taking Nucynta ER beyond
         90 days or at high doses and would therefore not be representative of withdrawal
         symptoms in the chronic pain population. Patients on opioid therapy long-term and
         at high doses will have a harder time discontinuing the drugs and are more likely to
         experience withdrawal symptoms. In addition, in claiming a low rate of withdrawal
         symptoms, Janssen relied upon a study that only began tracking withdrawal
         symptoms in patients two to four days after discontinuing opioid use, when Janssen
         knew or should have known that these symptoms peak earlier than that for most
         patients. Relying on data after that initial window painted a misleading picture of
         the likelihood and severity of withdrawal associated with chronic opioid therapy.
         Janssen also knew or should have known that the patients involved in the study
         were not on the drug long enough to develop rates of withdrawal symptoms
         comparable to rates of withdrawal suffered by patients who use opioids for chronic
         pain—the use for which Janssen promoted Nucynta ER.

       o Janssen sales representatives told prescribers that patients on Janssen’s drugs were
         less susceptible to withdrawal than those on other opioids.

•   Cephalon:

       o Cephalon sponsored FSMB’s Responsible Opioid Prescribing (2007), which taught
         that behaviors such as “requesting drugs by name,” “demanding or manipulative
         behavior,” seeing more than one doctor to obtain opioids, and hoarding are all signs
         of pseudoaddiction. Cephalon also spent $150,000 to purchase copies of the book
         in bulk and distributed it through its pain sales force to 10,000 prescribers and 5,000
         pharmacists.

•   Endo:

       o Endo distributed copies of a book by KOL Dr. Lynn Webster entitled Avoiding
         Opioid Abuse While Managing Pain (2007). Endo’s internal planning documents
         describe the purpose of distributing this book as to “[i]ncrease the breadth and depth
         of the Opana ER prescriber base.” The book claims that when faced with signs of

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                  aberrant behavior, the doctor should regard it as pseudoaddiction and thus,
                  increasing the dose in most cases . . . should be the clinician’s first response.”

               o Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid Prescribing
                 (2007), which was distributed by Endo’s sales force. This book asserted that
                 behaviors such as “requesting drugs by name,” “demanding or manipulative
                 behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all signs
                 of “pseudoaddiction.”

               o A CME sponsored by Endo, titled Persistent Pain in the Older Adult, taught that
                 withdrawal symptoms can be avoided entirely by tapering the dose by 10-20% per
                 day for ten days.

               o Endo misrepresented that “symptoms of withdrawal do not indicate addiction.” 363

               o “Endo also trained its sales representatives to distinguish addiction from
                 ‘pseudoaddiction.’” 364

            543. The RICO Defendants misrepresented that opioids were safe for the long-term

treatment of chronic, non-acute, and non-cancer pain:

       •    Purdue:

               o “[W]e do not want to niche OxyContin just for cancer pain.” 365




               o OxyContin was safe and non-addictive when using extended release formulations,
                 and appropriate for use in non-cancer patients. 366



363
   In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 7 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
364
      Id.
365
  Ryan, Description of Hell, http://documents.latimes.com/oxycontin-launch-1995/ (emphasis in the L.A. Times
document).
366
    Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_investigation_of_presc
ription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).



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                    o OxyContin should be prescribed not merely for severe short-term pain associated
                      with surgery or cancer, but also for less acute, longer-lasting pain like arthritis, back
                      pain, sports injuries, fibromyalgia with almost limitless treatment potential. 367

       •    Janssen:

                    o Duragesic was “more useful in a broader range of conditions or patients than has
                      been demonstrated by substantial evidence.” 368

                    o Duragesic was “not just for end stage cancer anymore” when the FDA only
                      approved Duragesic for “the management of chronic pain in patients who require
                      continuous opioid analgesia for pain that cannot be managed by lesser means.” 369

                    o Misrepresented that “Duragesic can be used for any type of pain management”
                      despite the fact that the FDA approved warning stated that “BECAUSE SERIOUS
                      OR LIFE-THREATENING HYPOVENTILATION COULD OCCUR,
                      DURAGESIC®             (FENTANYL            TRANSDERMAL        SYSTEM)    IS
                      CONTRAINDICATED: In the management of acute or post-operative pain,
                      including use in outpatient surgeries . . . .” 370

                    o Misrepresented “numerous claims for the efficacy and safety of Duragesic,” but
                      failed to “present[] any risk information concerning the boxed warnings,
                      contraindications, warnings, or side effects associated with Duragesic’s use . . .
                      [and] . . . fail[ed] to address important risks and restrictions associated with
                      Duragesic therapy.” 371

                    o Misrepresented “[d]emonstrated effectiveness in chronic back pain with additional
                      patient benefits, . . . 86% of patients experienced overall benefit in a clinical study
                      based on: pain control, disability in ADLs, quality of sleep.” 372

       •    Cephalon:




367
    Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
368
  NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.
369
      Id.
370
      Id.
371
      Id.
372
      Id. at 2-3.



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               o “[P]romoting [Actiq] for non-cancer patients to use for such maladies as migraines,
                 sickle-cell pain crises, injuries, and in anticipation of changing wound dressings or
                 radiation therapy.” 373

               o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for
                 whom it could have life-threatening results.” 374

               o In 2011, Cephalon wrote an article titled “2011 Special Report: An Integrated Risk
                 Evaluation and Risk Mitigation Strategy for Fentanyl Buccal Tablet (FENTORA®)
                 AND Oral Transmucosal Fentanyl Citrate (Actiq®), published in Pain Medicine
                 News. Plaintiff is informed and believes that Cephalon misrepresented that its drugs
                 were “shown to be effective in treatment of [break through pain] associated with
                 multiple causes of pain,” not just cancer.

            544. The RICO Defendants also misrepresented that opioids were safer that non-opioid

analgesics because there is no ceiling dose for opioid treatment.

       •    Purdue:

               o Purdue’s In the Face of Pain website, along with initiatives of APF, promoted the
                 notion that if a patient’s doctor does not prescribe them what—in their view—is a
                 sufficient dose of opioids, they should find another doctor who will. In so doing,
                 Purdue exerted undue, unfair, and improper influence over prescribers who face
                 pressure to accede to the resulting demands.

               o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                 Management, which taught that dose escalations are “sometimes necessary,” even
                 indefinitely high ones, which suggested that high dose opioids are safe and
                 appropriate and did not disclose the risks from high dose opioids. This publication
                 is still available online.

               o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain
                 (2007), which taught patients that opioids have “no ceiling dose” and are therefore
                 the most appropriate treatment for severe pain. The guide also claimed that some
                 patients “need” a larger dose of the drug, regardless of the dose currently
                 prescribed. This language fails to disclose heightened risks at elevated doses.

               o Treatment Options, also taught that opioids differ from NSAIDs in that they have
                 “no ceiling dose” and are therefore the most appropriate treatment for severe pain.
                 Treatment Options continued, warning that risks of NSAIDs increase if “taken for


373
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For Off-
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
374
      Id.

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          more than a period of months,” with no corresponding warning about opioids. The
          publication attributed 10,000 to 20,000 deaths annually to NSAID overdose.

       o Purdue sponsored a CME issued by the American Medical Association in 2003,
         2007, 2010, and 2013. The CME, Overview of Management Options, was edited by
         KOL Dr. Russell Portenoy, among others, and taught that other drugs, but not
         opioids, are unsafe at high doses. The 2013 version is still available for CME credit.

       o Overview of Management Options also taught NSAIDs and other drugs, but not
         opioids, are unsafe at high doses.

       o Purdue sponsored APF’s Exit Wounds (2009), which omits warnings of the risk of
         interactions between opioids and benzodiazepines, which would increase fatality
         risk. Exit Wounds also contained a lengthy discussion of the dangers of using
         alcohol to treat chronic pain but did not disclose dangers of mixing alcohol and
         opioids.

       o Purdue sales representatives told prescribers that opioids were just as effective for
         treating patients long-term and omitted any discussion that increased tolerance
         would require increasing, and increasingly dangerous, doses.

       o Purdue sales representatives told prescribers that NSAIDs were more toxic than
         opioids.

•   Janssen:

       o Janssen sponsored a patient education guide entitled Finding Relief: Pain
         Management for Older Adults (2009), which its personnel reviewed and approved
         and its sales force distributed. This guide listed dose limitations as “disadvantages”
         of other pain medicines but omitted any discussion of risks of increased doses from
         opioids. The publication also falsely claimed that it is a “myth” that “opioid doses
         have to be bigger over time.”

       o Finding Relief: Pain Management for Older Adults also described the advantages
         and disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on the
         facing page. The disadvantages of NSAIDs are described as involving “stomach
         upset or bleeding,” “kidney or liver damage if taken at high doses or for a long
         time,” “adverse reactions in people with asthma,” and “can increase the risk of heart
         attack and stroke.” The only adverse effects of opioids listed are “upset stomach or
         sleepiness,” which the brochure claims will go away, and constipation.

       o Janssen sponsored APF’s Exit Wounds (2009), which omits warnings of the risk of
         interactions between opioids and benzodiazepines. Janssen’s label for Duragesic,
         however, states that use with benzodiazepines “may cause respiratory depression,
         [low blood pressure], and profound sedation or potentially result in coma. Exit
         Wounds also contained a lengthy discussion of the dangers of using alcohol to treat
         chronic pain but did not disclose dangers of mixing alcohol and opioids.

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               o Janssen sales representatives told prescribers that Nucynta was not an opioid,
                 making it a good choice for chronic pain patients who previously were unable to
                 continue opioid therapy due to excessive side effects. This statement was
                 misleading because Nucynta is an opioid and has the same effects as other opioids.

       •    Cephalon:

               o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
                 Pain (2007), which claims that some patients “need” a larger dose of their opioid,
                 regardless of the dose currently prescribed.

               o Treatment Options, also taught patients that opioids differ from NSAIDs in that
                 they have “no ceiling dose” and are therefore the most appropriate treatment for
                 severe pain. Treatment Options continued, warning that risks of NSAIDs increase
                 if “taken more than a period of months” with no corresponding warning about
                 opioids. The publication attributed 10,000 to 20,000 deaths annually to NSAID
                 overdose.

               o Cephalon sponsored a CME written by KOL Dr. Lynn Webster, Optimizing Opioid
                 Treatment for Breakthrough Pain, which was offered online by Medscape, LLC
                 from September 28, 2007 through December 15, 2008. The CME taught that non-
                 opioid analgesics and combination opioids that include aspirin and acetaminophen
                 are less effective to treat breakthrough pain because of dose limitations.

               o Cephalon sales representatives assured prescribers that opioids were safe, even at
                 high doses.

               o Cephalon sales representatives told prescribers that NSAIDs were more toxic than
                 opioids.

               o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for
                 whom it could have life-threatening results.” 375

       •    Endo:

               o Endo sponsored a website, painknowledge.com, through APF and NIPC, which
                 claimed in 2009 that opioids may be increased until “you are on the right dose of
                 medication for your pain,” and once that occurs, further dose increases would not
                 occur. Endo funded the site, which was a part of Endo’s marketing plan, and tracked
                 visitors to it.

               o Through painknowledge.com Endo distributed a flyer called “Pain: Opioid
                 Therapy.” This publication included a list of adverse effects from opioids that
                 omitted significant adverse effects like hyperalgesia, immune and hormone
                 dysfunction, cognitive impairment, tolerance, dependence, addiction, and death.

375
      Id.

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               Endo continued to provide funding for this website through 2012, and closely
               tracked unique visitors to it.

           o Endo provided grants to APF to distribute Exit Wounds (2009), which omitted
             warnings of the risk of interactions between opioids and benzodiazepines, which
             would increase fatality risk. Exit Wounds also contained a lengthy discussion of
             the dangers of using alcohol to treat chronic pain but did not disclose dangers of
             mixing alcohol and opioids.

           o Endo sales representatives told prescribers that NSAIDs were more toxic than
             opioids.

           o Endo distributed a patient education pamphlet edited by KOL Dr. Russell Portenoy
             titled Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format,
             it asked: “If I take the opioid now, will it work later when I really need it?” The
             response was: “The dose can be increased . . . . You won’t ‘run out’ of pain relief.”

           o Endo distributed a “case study” to prescribers titled Case Challenges in Pain
             Management: Opioid Therapy for Chronic Pain. The study cites an example, meant
             to be representative, of a patient “with a massive upper gastrointestinal bleed
             believed to be related to his protracted use of NSAIDs” (over eight years), and
             recommends treating with opioids instead.

       545. These misrepresentations, and the legion of other representations made by the RICO

Defendants and members of Opioid Marketing Enterprise all furthered the common purpose and

fraudulent scheme of the Opioid Marketing Enterprise. But they were demonstrably false, as

confirmed by investigations and enforcement actions against the RICO Marketing Defendants.

       546. In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented

the risk of addiction and was unsupported by science. The Order adopting the guilty pleas provides:




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            547. Additionally, Michael Friedman (“Friedman”), the company’s president, pled guilty

to a misbranding charge and agreed to pay $19 million in fines; Howard R. Udell (“Udell”),

Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and Paul D.

Goldenheim (“Goldenheim”), its former medical director, pled guilty as well and agreed to pay

$7.5 million in fines.376

            548. In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

Attorney for the Western District of Virginia, stated:

            Purdue claimed it had created the miracle drug – a low risk drug that could provide
            long acting pain relief but was less addictive and less subject to abuse. Purdue’s
            marketing campaign worked, and sales for OxyContin skyrocketed – making
            billions for Purdue and millions for its top executives.

            But OxyContin offered no miracles to those suffering in pain. Purdue’s claims that
            OxyContin was less addictive and less subject to abuse and diversion were false –
            and Purdue knew its claims were false. The result of their misrepresentations and

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      Id.



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            crimes sparked one of our nation’s greatest prescription drug failures. . . .
            OxyContin was the child of marketers and bottom line financial decision making. 377

            549. Brownlee characterized Purdue’s criminal activity as follows:

                 First, Purdue trained its sales representatives to falsely inform health care
            providers that it was more difficult to extract the oxycodone from an OxyContin
            tablet for the purpose of intravenous abuse. Purdue ordered this training even
            though its own study showed that a drug abuser could extract approximately 68%
            of the oxycodone from a single 10 mg OxyContin tablet by simply crushing the
            tablet, stirring it in water, and drawing the solution through cotton into a syringe.

                 Second, Purdue falsely instructed its sales representatives to inform health care
            providers that OxyContin could create fewer chances for addiction than immediate-
            release opioids.

                 Third, Purdue sponsored training that falsely taught Purdue sales supervisors
            that OxyContin had fewer “peak and trough” blood level effects than immediate-
            release opioids resulting in less euphoria and less potential for abuse than short-
            acting opioids.

                 Fourth, Purdue falsely told certain health care providers that patients could stop
            therapy abruptly without experiencing withdrawal symptoms and that patients who
            took OxyContin would not develop tolerance to the drug.

                 And fifth, Purdue falsely told health care providers that OxyContin did not
            cause a “buzz” or euphoria, caused less euphoria, had less addiction potential, had
            less abuse potential, was less likely to be diverted than immediate-release opioids,
            and could be used to “weed out” addicts and drug seekers. 378

            550. Purdue pled guilty to illegally misbranding OxyContin in an effort to mislead and

defraud physicians and consumers, while Friedman, Udell and Goldenheim pled guilty to the

misdemeanor charge of misbranding OxyContin for introducing misbranded drugs into interstate

commerce in violation of 21 U.S.C. §§ 331(a), 333(a)(1)-(2) and 352(a).




377
  Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
378
      Id.



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            551. Similarly, Endo’s marketing of Opana ER was criticized and punished by the FDA

and New York Attorney General.

            552. On February 18, 2017, the State of New York announced a settlement with Endo

requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to describe

accurately the risk of addiction to Opana ER.” 379 In the Assurance of Discontinuance that

effectuated the settlement, the State of New York stated that Endo knew about the risks arising

from the reformulated Opana ER even before it received FDA approval. Among other things, the

investigation concluded that:

       •    Endo improperly marketed Opana ER as designed to be crush resistant, when Endo’s own
            studies dating from 2009 and 2010 showed that the pill could be crushed and ground;

       •    Endo improperly instructed its sales representatives to diminish and distort the risks
            associated with Opana ER, including the serious danger of addiction; and

       •    Endo made unsupported claims comparing Opana ER to other opioids and failed to disclose
            accurate information regarding studies addressing the negative effects of Opana ER. 380

            553. The 2017 settlement also identified and discussed a February 2013 communication

from a consultant hired by Endo to the company, in which the consultant concluded that “‘[t]he

initial data presented do not necessarily establish that the reformulated Opana ER is tamper

resistant.’” The same consultant also reported that the distribution of the reformulated Opana ER

had already led to higher levels of abuse of the drug via injection. 381

            554. The Office of the Attorney General of New York also revealed that the “managed

care dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit



379
   Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces Settlement With Endo
Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of Prescription Opioid Drugs (Mar. 3, 2016),
https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-health-solutions-inc-endo-
pharmaceuticals (last accessed on March 9, 2018).
380
      Id.
381
      Id. at 6.

                                                     207
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managers misrepresented the studies that had been conducted on Opana ER. According to Endo’s

vice president for pharmacovigilance and risk management, the dossier was presented as a

complete compendium of all research on the drug. However, it omitted certain studies: Study 108

(completed in 2009) and Study 109 (completed in 2010), which showed that reformulated Opana

ER could be ground and chewed.

            555. The settlement also detailed Endo’s false and misleading representations about the

non-addictiveness of opioids and Opana. For example, until April 2012, Endo’s website for the

drug, www.opana.com, contained the following representation: “‘Most healthcare providers who

treat patients with pain agree that patients treated with prolonged opioid medicines usually do not

become addicted.’” 382 However, Endo neither conducted nor possessed a survey demonstrating

that most healthcare providers who treat patients with pain agree with that representation.

            556. The Office of the Attorney General of New York also disclosed the following facts

that it determined to violate Opana’s obligations to truthfully market its products:

                   a.     Training materials provided by Endo to sales representatives stated:
                          “‘Symptoms of withdrawal do not indicate addiction.’” 383             This
                          representation is inconsistent with the diagnosis of opioid-use disorder as
                          provided in the Diagnostic and Statistical Manual of Mental Disorders by
                          the American Psychiatric Association (Fifth Edition).

                   b.     Endo trained its sales representatives to falsely distinguish addiction from
                          “pseudoaddiction,” which it defined as a condition in which patients exhibit
                          drug-seeking behavior that resembles but is not the same as addiction.
                          Endo’s vice president for pharmacovigilance and risk management testified
                          that he was not aware of any research validating the concept of
                          pseudoaddiction.

            557. On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER after

determining that the risks associated with its abuse outweighed the benefits. According to Dr. Janet


382
      Id.
383
      Id. at 7.

                                                  208
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Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the risks include

“several serious problems,” including “outbreaks of HIV and Hepatitis C from sharing the drug

after it was extracted by abusers” and “”a serious disease outbreak.” 384 If Endo did not comply,

the FDA stated that it “intends to take steps to formally require its removal by withdrawing

approval.” 385

            558. Like Purdue and Endo, Janssen was the subject of an FDA enforcement action that

identified its marketing statements as misrepresentations. For example:

            559. On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they contain

misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

claims, and lack fair balance.” 386

            560. The March 30, 2000 letter identified specific violations, including misrepresentations

that Duragesic had a low potential for abuse:

       •    You present the claim, “Low abuse potential!” This claim suggests that Duragesic has less
            potential for abuse than other currently available opioids. However, this claim has not been
            demonstrated by substantial evidence. Furthermore, this claim is contradictory to
            information in the approved product labeling (PI) that states, “Fentanyl is a Schedule II
            controlled substance and can produce drug dependence similar to that produced by
            morphine.” Therefore, this claim is false or misleading. 387



384
   FDA requests removal of Opana ER for risks related to abuse, June 8, 2017,
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
385
      Id.
386
  NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.
387
      Id.



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            561. The March 30, 2000 letter also stated that the promotional materials represented that

Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.” 388 Specifically, the FDA stated that Janssen was marketing

Duragesic for indications other than the treatment of chronic pain that cannot otherwise be

managed, for which it was approved:

       •    You present the claim, “It’s not just for end stage cancer anymore!” This claim suggests
            that Duragesic can be used for any type of pain management. However, the PI for
            Duragesic states, “Duragesic (fentanyl transdermal system) is indicated in the management
            of chronic pain in patients who require continuous opioid analgesia for pain that cannot be
            managed by lesser means . . . .” Therefore, the suggestion that Duragesic can be used for
            any type of pain management promotes Duragesic[] for a much broader use than is
            recommended in the PI, and thus, is misleading. In addition, the suggestion that Duragesic
            can be used to treat any kind of pain is contradictory to the boxed warning in the PI.
            Specifically, the PI states,

            BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
            COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM)
            IS CONTRAINDICATED:

       •    In the management of acute or post-operative pain, including use in outpatient surgeries . .
            . . 389

            562. The March 30, 2000 letter also stated Janssen failed to adequately present

“contraindications, warnings, precautions, and side effects with a prominence and readability

reasonably comparable to the presentation of information relating to the effectiveness of the

product.” 390

            Although this piece contains numerous claims for the efficacy and safety of
            Duragesic, you have not presented any risk information concerning the boxed
            warnings, contraindications, warnings, precautions, or side effects associated with
            Duragesic’s use . . . . Therefore, this promotional piece is lacking in fair balance,



388
      Id.
389
      Id. at 2-3.
390
      Id. at 3 (emphasis in original).



                                                    210
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            or otherwise misleading, because it fails to address important risks and restrictions
            associated with Duragesic therapy. 391

            563. On September 2, 2004, the U.S. Department of Health and Human Services (“HHS”)

sent Janssen a warning letter concerning Duragesic due to “false or misleading claims about the

abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness claims for

Duragesic,” including, specifically, “suggesting that Duragesic has a lower potential for abuse

compared to other opioid products.”

            564. The September 2, 2004 letter warned Janssen regarding its claims that Duragesic had

a low reported rate of mentions in the Drug Abuse Warning Network (“DAWN”) as compared to

other opioids. The letter stated that the claim was false or misleading because the claim was not

based on substantial data and because the lower rate of mentions was likely attributable to

Duragesic’s lower frequency of use compared to other opioids listed in DAWN:

                   The file card presents the prominent claim, “Low reported rate of mentions
            in DAWN data,” along with Drug Abuse Warning Network (DAWN) data
            comparing the number of mentions for Fentanyl/combinations (710 mentions) to
            other listed opioid products, including Hydrocodone/combinations (21,567
            mentions), Oxycodone/combinations (18,409 mentions), and Methadone (10,725
            mentions). The file card thus suggests that Duragesic is less abused than other
            opioid drugs.

                     This is false or misleading for two reasons. First, we are not aware of
            substantial evidence or substantial clinical experience to support this comparative
            claim. The DAWN data cannot provide the basis for a valid comparison among
            these products. As you know, DAWN is not a clinical trial database. Instead, it is a
            national public health surveillance system that monitors drug-related emergency
            department visits and deaths. If you have other data demonstrating that Duragesic
            is less abused, please submit them.

                    Second, Duragesic is not as widely prescribed as other opioid products. As
            a result, the relatively lower number of mentions could be attributed to the lower




391
      Id. at 3 (emphasis in original).



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            frequency of use, and not to a lower incidence of abuse. The file card fails to
            disclose this information. 392

            565. The September 2, 2004 letter also detailed a series of unsubstantiated, false or

misleading claims regarding Duragesic’s effectiveness. The letter concluded that various claims

made by Janssen were insufficiently supported, including:

       •    “‘Demonstrated effectiveness in chronic back pain with additional patient benefits, . . .
            86% of patients experienced overall benefit in a clinical study based on: pain control,
            disability in ADLs, quality of sleep.’”

       •    “‘All patients who experienced overall benefit from DURAGESIC would recommend it to
            others with chronic low back pain.’”

       •    “‘Significantly reduced nighttime awakenings.’”

       •    “‘Significant improvement in disability scores as measured by the Oswestry Disability
            Questionnaire and Pain Disability Index.’”

       •    “‘Significant improvement in physical functioning summary score.’”

       •    “‘Significant improvement in social functioning.’” 393

            566. In addition, the September 2, 2004 letter identified “outcome claims [that] are

misleading because they imply that patients will experience improved social or physical

functioning or improved work productivity when using Duragesic.” The claims include “‘1,360

loaves . . . and counting,’ ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’

‘[c]hronic pain relief that supports functionality,’ ‘[h]elps patients think less about their pain,’ and

‘[i]mprove[s] . . . physical and social functioning.’” The September 2, 2004 letter stated: “Janssen




392
   Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services, to Ajit Shetty,
Janssen Pharmaceutica, Inc. (Sept. 2, 2004),
https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/The%20Pink%20Sheet/66/038/00660380
018/040920_ duragesic_letter.pdf at 2.
393
      Id. at 2-3.



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has not provided references to support these outcome claims. We are not aware of substantial

evidence or substantial clinical experience to support these claims.” 394

            567. On July 15, 2005, the FDA issued a public health advisory warning doctors of deaths

resulting from the use of Duragesic and its generic competitor, manufactured by Mylan N.V.

Plaintiff is informed and believes that the advisory noted that the FDA had been “‘examining the

circumstances of product use to determine if the reported adverse events may be related to

inappropriate use of the patch’” and noted the possibility “that patients and physicians might be

unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid analgesic

meant to treat chronic pain that does not respond to other painkillers. 395

            568. Finally, Cephalon has been the subject of investigations and enforcement actions for

is misrepresentations concerning Actiq. For example:

            569. In October 2000, Cephalon acquired the worldwide product rights to Actiq and began

marketing and selling Actiq in the United States. The FDA explicitly stated that Actiq “must not

be used in opioid non-tolerant patients,” was contraindicated for the management of acute or

postoperative pain, could be deadly to children, and was “intended to be used only in the care of

opioid-tolerant cancer patients and only by oncologists and pain specialists who are knowledgeable

of and skilled in the use of Schedule II opioids to treat cancer pain.” 396 The FDA also required that

Actiq be provided only in compliance with a strict risk management program that explicitly limited




394
      Id. at 3.
395
  New Fentanyl Warnings: More Needed to Protect Patients, Institute for Safe Medication Practices, August 11,
2005, https://www.ismp.org/newsletters/acutecare/articles/20050811.asp
396
      Id.



                                                     213
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the drug’s direct marketing to the approved target audiences, defined as oncologists, pain

specialists, their nurses and office staff. 397

        570. Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation of

fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005. In

September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq; but

once again, concerned about the power and risks inherent to fentanyl, the FDA limited Fentora’s

approval to the treatment of BTP in cancer patients who were already tolerant to around-the-clock

opioid therapy for their underlying persistent cancer pain. Cephalon began marketing and selling

Fentora in October 2006.

        571. Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its potential

for growing revenue. In order to increase its revenue and market share, Cephalon needed to find a

broader audience and thus began marketing its lollipop to treat headaches, back pain, sports

injuries and other chronic non-cancer pain, targeting non-oncology practices, including, but not

limited to, pain doctors, general practitioners, migraine clinics, anesthesiologists and sports clinics.

It did so in violation of applicable regulations prohibiting the marketing of medications for off-

label use and in direct contravention of the FDA’s strict instructions that Actiq be prescribed only

to terminal cancer patients and by oncologists and pain management doctors experienced in

treating cancer pain.

        572. Beginning in or about 2003, former Cephalon employees filed four whistleblower

lawsuits claiming the company had wrongfully marketed Actiq for unapproved off-label uses. On

September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement with the




397
    See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall St. J. (Nov. 3, 2006),
https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-fdacurbs/.

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Office of the Inspector General of HHS and agreed to pay $425 million in civil and criminal

penalties for its off-label marketing of Actiq and two other drugs (Gabitril and Provigil).

            573. According to a DOJ press release, Cephalon trained sales representatives to disregard

restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses. Specifically, the DOJ stated:

            From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for
            non-cancer patients to use for such maladies as migraines, sickle-cell pain crises,
            injuries, and in anticipation of changing wound dressings or radiation therapy.
            Cephalon also promoted Actiq for use in patients who were not yet opioid-tolerant,
            and for whom it could have life-threatening results. 398

            574. Then-acting U.S. Attorney Laurie Magid commented on the dangers of Cephalon’s

unlawful practices:

            “This company subverted the very process put in place to protect the public from
            harm, and put patients’ health at risk for nothing more than boosting its bottom line.
            People have an absolute right to their doctors’ best medical judgment. They need
            to know the recommendations a doctor makes are not influenced by sales tactics
            designed to convince the doctor that the drug being prescribed is safe for uses
            beyond what the FDA has approved.” 399

            575. Upon information and belief, documents uncovered in the government’s

investigations confirm that Cephalon directly targeted non-oncology practices and pushed its sales

representatives to market Actiq for off-label use. For instance, the government’s investigations

confirmed:

             a.   Cephalon instructed its sales representatives to ask non-cancer doctors whether they
                  have the potential to treat cancer pain. Even if the doctor answered “no,” a decision
                  tree provided by Cephalon instructed the sales representatives to give these
                  physicians free Actiq coupons;


398
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For Off-
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
399
      Id.

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          b.   Cephalon targeted neurologists in order to encourage them to prescribe Actiq to
               patients with migraine headaches;

          c.   Cephalon sales representatives utilized the assistance of outside pain management
               specialists when visiting non-cancer physicians to pitch Actiq. The pain management
               specialist would falsely inform the physician that Actiq does not cause patients to
               experience a “high” and carries a low risk of diversion toward recreational use;

          d.   Cephalon set sales quotas for its sales and marketing representatives that could not
               possibly have been met solely by promoting Actiq for its FDA-approved indication;

          e.   Cephalon promoted the use of higher doses of Actiq than patients required by
               encouraging prescriptions of the drug to include larger-than-necessary numbers of
               lozenges with unnecessarily high doses of fentanyl; and

          f.   Cephalon promoted Actiq for off-label use by funding and controlling CME seminars
               that promoted and misrepresented the efficacy of the drug for off-label uses such as
               treating migraine headaches and for patients not already opioid-tolerant. 400

        576. The FDA’s letters and safety alerts, the DOJ and state investigations, and the massive

settlement seemed to have had little impact on Cephalon as it continued its deceptive marketing

strategy for both Actiq and Fentora.

        577. On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid-tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.” 401

        578. Nevertheless, in 2008, Cephalon pushed forward to expand the target base for

Fentora and filed a supplemental drug application requesting FDA approval of Fentora for the

treatment of non-cancer BTP. In the application and supporting presentations to the FDA,



400
   John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St. J., Nov. 21, 2006, at B1
(hereinafter “Carreyrou, Cephalon Used Improper Tactics”).
401
   Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important Information for the Safe
Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.



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Cephalon admitted both that it knew the drug was heavily prescribed for off-label use and that the

drug’s safety for such use had never been clinically evaluated. 402 An FDA advisory committee

noted that Fentora’s existing risk management program was ineffective and stated that Cephalon

would have to institute a risk evaluation and mitigation strategy for the drug before the FDA would

consider broader label indications. In response, Cephalon revised Fentora’s label and medication

guide to add strengthened warnings.

        579. But in 2009, the FDA once again informed Cephalon that the risk management

program was not sufficient to ensure the safe use of Fentora for already approved indications.

        580. On March 26, 2009, the FDA warned Cephalon against its misleading advertising of

Fentora (“Warning Letter”). The Warning Letter described a Fentora Internet advertisement as

misleading because it purported to broaden “the indication for Fentora by implying that any patient

with cancer who requires treatment for breakthrough pain is a candidate for Fentora . . . when this

is not the case.” 403 Rather, Fentora was only indicated for those who were already opioid tolerant.

It further criticized Cephalon’s other direct Fentora advertisements because they did not disclose

the risks associated with the drug.

        581. Flagrantly disregarding the FDA’s refusal to approve Fentora for non-cancer BTP

and its warning against marketing the drug for the same, Cephalon continued to use the same sales

tactics to push Fentora as it did with Actiq.

        582. The misrepresentations disseminated by members of the Opioid Marketing

Enterprise, and the RICO Marketing Defendants, caused Plaintiff and Maryland consumers to pay



402
    FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs and Drug Safety and
Risk Management Advisory Committee, U.S. Food & Drug Administration (May 6, 2008),
https://www.fda.gov/ohrms/dockets/ ac/08/slides/2008-4356s2-03-Cephalon.pdf.
403
    Letter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing, Advertising and
Communications, to Carole S. Marchione, Senior Director and Group Leader, Regulatory Affairs (March 26, 2009)

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for excessive opioid prescriptions, suffer injuries and losses, and to incur costs associated with the

opioid epidemic caused by the Opioid Marketing Enterprise.

       583. The RICO Marketing Defendants alone could not have accomplished the purpose of

the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who were

perceived as “neutral” and more “scientific” than the RICO Defendants themselves. Without these

misrepresentations, the Opioid Marketing Enterprise could not have achieved its common purpose.

       584. The impact of the Opioid Marketing Enterprise’s scheme is still in place – i.e., the

opioids continue to be prescribed and used for chronic pain throughout the State of Maryland, and

the epidemic continues to injure Plaintiff, and consume the resources of Plaintiff’s and Maryland’s

health care and law enforcement systems.

       585. The foregoing evidences that the RICO Marketing Defendants, the Front Groups,

and the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common

purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

   B. CONDUCT OF THE OPIOID MARKETING ENTERPRISE.

       586. During time period described in this Complaint, from approximately the late 1990s

to the present, the RICO Marketing Defendants exerted control over the Opioid Marketing

Enterprise and participated in the operation or management of the affairs of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

       a.   Creating a body of deceptive, misleading and unsupported medical and popular
            literature about opioids that (a) understated the risks and overstated the benefits of
            long-term use; (b) appeared to be the result of independent, objective research; and (c)
            was thus more likely to be relied upon by physicians, patients, and payors;

       b.   Creating a body of deceptive, misleading and unsupported electronic and print
            advertisements about opioids that (a) understated the risks and overstated the benefits



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     of long-term use; (b) appeared to be the result of independent, objective research; and
     (c) was thus more likely to be relied upon by physicians, patients, and payors;

c.   Creating a body of deceptive, misleading and unsupported sales and promotional
     training materials about opioids that (a) understated the risks and overstated the
     benefits of long-term use; (b) appeared to be the result of independent, objective
     research; and (c) was thus more likely to be relied upon by physicians, patients, and
     payors;

d.   Creating a body of deceptive, misleading and unsupported CMEs and speaker
     presentations about opioids that (a) understated the risks and overstated the benefits of
     long-term use; (b) appeared to be the result of independent, objective research; and (c)
     was thus more likely to be relied upon by physicians, patients, and payors;

e.   Selecting, cultivating, promoting and paying KOLs based solely on their willingness
     to communicate and distribute the RICO Defendants’ messages about the use of
     opioids for chronic pain;

f.   Providing substantial opportunities for KOLs to participate in research studies on
     topics the RICO Defendants suggested or chose, with the predictable effect of ensuring
     that many favorable studies appeared in the academic literature;

g.   Paying KOLs to serve as consultants or on the RICO Defendants’ advisory boards, on
     the advisory boards and in leadership positions on Front Groups, and to give talks or
     present CMEs, typically over meals or at conferences;

h.   Selecting, cultivating, promoting, creating and paying Front Groups based solely on
     their willingness to communicate and distribute the RICO Defendants’ messages about
     the use of opioids for chronic pain;

i.   Providing substantial opportunities for Front Groups to participate in and/or publish
     research studies on topics the RICO Defendants suggested or chose (and paid for),
     with the predictable effect of ensuring that many favorable studies appeared in the
     academic literature;

j.   Paying significant amounts of money to the leaders and individuals associated with
     Front Groups;

k.   Donating to Front Groups to support talks or CMEs, that were typically presented over
     meals or at conferences;

l.   Disseminating many of their false, misleading, imbalanced, and unsupported
     statements through unbranded materials that appeared to be independent publications
     from Front Groups;

m. Sponsoring CME programs put on by Front Groups that focused exclusively on the
   use of opioids for chronic pain;


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       n.   Developing and disseminating pro-opioid treatment guidelines with the help of the
            KOLs as authors and promoters, and the help of the Front Groups as publishers, and
            supporters;

       o.   Encouraging Front Groups to disseminate their pro-opioid messages to groups targeted
            by the RICO Defendants, such as veterans and the elderly, and then funded that
            distribution;

       p.   Concealing their relationship to and control of Front Groups and KOLs from the
            Plaintiff and the public at large; and

       q.   Intending that Front Groups and KOLs would distribute through the U.S. mail and
            interstate wire facilities, promotional and other materials that claimed opioids could
            be safely used for chronic pain.

       587. The Front Groups also participated in the conduct of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

       a.   The Front Groups promised to, and did, make representations regarding opioids and
            the RICO Marketing Defendants’ drugs that were consistent with the RICO Marketing
            Defendants’ messages;

       b.   The Front Groups distributed, through the U.S. Mail and interstate wire facilities,
            promotional and other materials which claimed that opioids could be safely used for
            chronic pain without addiction, and misrepresented the benefits of using opioids for
            chronic pain outweighed the risks;

       c.   The Front Groups echoed and amplified messages favorable to increased opioid use—
            and ultimately, the financial interests of the RICO Marketing Defendants;

       d.   The Front Groups issued guidelines and policies minimizing the risk of opioid
            addiction and promoting opioids for chronic pain;

       e.   The Front Groups strongly criticized the 2016 guidelines from the Center for Disease
            Control and Prevention (CDC) that recommended limits on opioid prescriptions for
            chronic pain; and

       f.   The Front Groups concealed their connections to the KOLs and the RICO Marketing
            Defendants.

       588. The RICO Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public—have ‘extensive influence in specific disease

areas.’” The RICO Marketing Defendants’ larger Front Groups “likely have a substantial effect



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on policies relevant to their industry sponsors.” 404 “By aligning medical culture with industry

goals in this way, many of the groups described in this report may have played a significant role

in creating the necessary conditions for the U.S. opioid epidemic.” 405

               589. The KOLs also participated, on information and belief, in the conduct of the affairs

of the Opioid Marketing Enterprise, directly or indirectly, in the following ways:

               a.   The KOLs promised to, and did, make representations regarding opioids and the RICO
                    Marketing Defendants’ drugs that were consistent with the RICO Marketing
                    Defendants’ messages themselves;

               b.   The KOLs distributed, through the U.S. Mail and interstate wire facilities, promotional
                    and other materials which claimed that opioids could be safely used for chronic pain
                    without addiction, and misrepresented the benefits of using opioids for chronic pain
                    outweighed the risks;

               c.   The KOLs echoed and amplified messages favorable to increased opioid use—and
                    ultimately, the financial interests of the RICO Marketing Defendants;

               d.   The KOLs issued guidelines and policies minimizing the risk of opioid addiction and
                    promoting opioids for chronic pain;

               e.   The KOLs strongly criticized the 2016 guidelines from the Center for Disease Control
                    and Prevention (CDC) that recommended limits on opioid prescriptions for chronic
                    pain; and

               f.   The KOLs concealed their connections to the Front Groups and the RICO Defendants,
                    and their sponsorship by the RICO Marketing Defendants.

               590. The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

to increase the RICO Marketing Defendants’ sales from prescription opioids by encouraging the

prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course

of conduct, and many aspects of it continue through to the present.


404
   Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, February
12, 2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.
405
      Id. 2.

                                                       221
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   C. PATTERN OF RACKETEERING ACTIVITY

       591. The RICO Marketing Defendants conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity within the meaning of 18

U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C. § 1341

(mail fraud) and § 1343 (wire fraud).

       592. The RICO Marketing Defendants committed, conspired to commit, and/or aided and

abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations of

18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity

that the RICO Marketing Defendants committed, or aided and abetted in the commission of, were

related to each other, posed a threat of continued racketeering activity, and therefore constitute a

“pattern of racketeering activity.” The racketeering activity was made possible by the RICO

Marketing Defendants’ regular use of the facilities, services, distribution channels, and employees

of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire facilities. The RICO

Marketing Defendants participated in the scheme to defraud by using mail, telephones and the

Internet to transmit mailings and wires in interstate or foreign commerce.

       593. The pattern of racketeering activity described herein used by the RICO Marketing

Defendants and the Opioid Marketing Enterprise likely involved thousands of separate instances

of the use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid

Marketing Enterprise, including virtually uniform misrepresentations, concealments and material

omissions regarding the beneficial uses and non-addictive qualities for the long-term treatment of

chronic, non-acute and non-cancer pain, with the goal of profiting from increased sales of the

RICO Marketing Defendants’ drugs induced by consumers, prescribers, regulators and Plaintiff’s

reliance on the RICO Marketing Defendants’ misrepresentations.



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       594. Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering activity,

through which Defendants, the Front Groups and the KOLs defrauded and intended to defraud

Maryland consumers, the State, and other intended victims.

       595. In devising and executing the illegal scheme, the RICO Marketing Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts

regarding the safe, non-addictive and effective use of opioids for long-term chronic, non-acute and

non-cancer pain. The RICO Marketing Defendants and members of the Opioid Marketing

Enterprise knew that these representations violated the FDA approved uses for these drugs, and

were not supported by actual evidence. For the purpose of executing the illegal scheme, the RICO

Marketing Defendants intended that that their common purpose and scheme to defraud would, and

did, use the U.S. Mail and interstate wire facilities, intentionally and knowingly with the specific

intent to advance their illegal scheme.

       596. The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

       a.   Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341 by sending
            or receiving, or by causing to be sent and/or received, materials via U.S. mail or
            commercial interstate carriers for the purpose of executing the unlawful scheme to
            design, manufacture, market, and sell the prescription opioids by means of false
            pretenses, misrepresentations, promises, and omissions.

       b.   Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343 by
            transmitting and/or receiving, or by causing to be transmitted and/or received,
            materials by wire for the purpose of executing the unlawful scheme to design,
            manufacture, market, and sell the prescription opioids by means of false pretenses,
            misrepresentations, promises, and omissions.

       597. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

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results affecting similar victims, including Maryland consumers, prescribers, regulators and

Plaintiff. The RICO Marketing Defendants, Front Groups and KOLs calculated and intentionally

crafted the scheme and common purpose of the Opioid Marketing Enterprise to ensure their own

profits remained high.     In designing and implementing the scheme, the RICO Marketing

Defendants understood and intended that those in the distribution chain rely on the integrity of the

pharmaceutical companies and ostensibly neutral third parties to provide objective and scientific

evidence regarding the RICO Marketing Defendants’ products.

       598. By intentionally misrepresenting the risks and benefits of using opioids for chronic

pain, and then subsequently failing to disclose such practices to Maryland consumers, prescribers,

regulators and Plaintiff. Defendants, the Front Groups and the KOLs engaged in a fraudulent and

unlawful course of conduct constituting a pattern of racketeering activity.

       599. The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive Maryland consumers, prescribers, regulators and Plaintiff. Each separate use

of the U.S. Mail and/or interstate wire facilities employed by Defendants was related, had similar

intended purposes, involved similar participants and methods of execution, and had the same

results affecting the same victims, including Maryland consumers, prescribers, regulators and

Plaintiff. The RICO Marketing Defendants have engaged in the pattern of racketeering activity

for the purpose of conducting the ongoing business affairs of the Opioid Marketing Enterprise.

       600. The RICO Marketing Defendants’ pattern of racketeering activity alleged herein and

the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the RICO

Marketing Defendants are distinct from the Opioid Marketing Enterprise.




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         601. The pattern of racketeering activity alleged herein is continuing as of the date of this

complaint, and, upon information and belief, will continue into the future unless enjoined by this

Court.

         602. Many of the precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail

and interstate wire facilities (and corresponding predicate acts of mail and wire fraud) have been

hidden and cannot be alleged without access to the books and records maintained by the RICO

Marketing Defendants, Front Groups, and KOLs. Indeed, an essential part of the successful

operation of the Opioid Marketing Enterprise alleged herein depended upon secrecy. However,

Plaintiff has described the occasions on which the RICO Marketing Defendants, Front Groups,

and KOLs disseminated misrepresentations and false statements to Maryland consumers,

prescribers, regulators and Plaintiff, and how those acts were in furtherance of the scheme, and do

so further below.

         603. The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire facilities

to perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

                a.      Marketing materials about opioids, and their risks and benefits, which the
                        RICO Marketing Defendants sent to health care providers, transmitted
                        through the internet and television, published, and transmitted to Front
                        Groups and KOLs located across the country and the State;

                b.      Written representations and telephone calls between the RICO Marketing
                        Defendants and Front Groups regarding the misrepresentations, marketing
                        statements and claims about opioids, including the non-addictive, safe use
                        for chronic long-term pain generally;

                c.      Written representations and telephone calls between the RICO Marketing
                        Defendants and KOLs regarding the misrepresentations, marketing
                        statements and claims about opioids, including the non-addictive, safe use
                        for chronic long-term pain generally;




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               d.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the Front Groups agreeing to or implementing
                       the opioids marketing scheme;

               e.      E-mails, telephone and written communications between the RICO
                       Marketing Defendants and the KOLs agreeing to or implementing the
                       opioids marketing scheme;

               f.      Communications between the RICO Marketing Defendants, Front Groups
                       and the media regarding publication, drafting of treatment guidelines, and
                       the dissemination of the same as part of the Opioid Marketing Enterprise;

               g.      Communications between the RICO Marketing Defendants, KOLs and the
                       media regarding publication, drafting of treatment guidelines, and the
                       dissemination of the same as part of the Opioid Marketing Enterprise;

               h.      Written and oral communications directed to State agencies, federal and
                       state courts, and private insurers throughout the State that fraudulently
                       misrepresented the risks and benefits of using opioids for chronic pain; and

               i.      Receipts of increased profits sent through the U.S. Mail and interstate wire
                       facilities – the wrongful proceeds of the scheme.

       604. In addition to the above-referenced predicate acts, it was foreseeable to the RICO

Marketing Defendants that the Front Groups and the KOLs would distribute publications through

the U.S. Mail and by interstate wire facilities, and, in those publications, claim that the benefits of

using opioids for chronic pain outweighed the risks of doing so.

       605. The RICO Marketing Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       606. To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

consumers, prescribers, regulators and Plaintiff: (1) the fraudulent nature of the RICO Marketing

Defendants’ marketing scheme; (2) the fraudulent nature of statements made by the RICO

Marketing Defendants and by their KOLs, Front Groups and other third parties regarding the safety


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and efficacy of prescription opioids; and (3) the true nature of the relationship between the

members of the Opioid Marketing Enterprise.

       607. The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

of fraud and indecency in marketing prescription opioids.

       608. Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of the

RICO Marketing Defendants had to agree to implement similar tactics regarding fraudulent

marketing of prescription opioids. This conclusion is supported by the fact that the RICO

Marketing Defendants each financed, supported, and worked through the same KOLs and Front

Groups, and often collaborated on and mutually supported the same publications, CMEs,

presentations, and prescription guidelines.

       609. As described herein, the RICO Marketing Defendants engaged in a pattern of related

and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant money and revenue

from the marketing and sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

       610. The RICO Marketing Defendants’ predicate acts all had the purpose of creating the

opioid epidemic that substantially injured Plaintiff’s business and property, while simultaneously

generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

acts were committed or caused to be committed by the RICO Marketing Defendants through their

participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent scheme.



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        611. The RICO Marketing Defendants’ predicate acts and pattern of racketeering activity

were a substantial and foreseeable cause of Plaintiff’s injury and the relationship between the

RICO Marketing Defendants’ conduct and Plaintiff’s injury is logical and not speculative. It was

foreseeable to the RICO Marketing Defendants that when they fraudulently marketed highly-

addictive and dangerous drugs, that were approved for very limited and specific uses by the FDA,

as non-addictive and safe for off-label uses such as moderate pain, non-cancer pain, and long-term

chronic pain, that the RICO Marketing Defendants would create an opioid-addiction epidemic that

logically, substantially and foreseeably harmed Plaintiff.

        612. The pattern of racketeering activity alleged herein is continuing as of the date of this

Complaint and, upon information and belief, will continue into the future unless enjoined by this

Court. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

      D. DAMAGES.

            1.      Impact of the Opioid Marketing Enterprise.

        613. Maryland has been especially ravaged by the national opioid crisis.

        614. Opioid-related overdose fatalities have skyrocketed in Maryland in recent years. In

2017 the state had 2,009 opioid-related deaths, an all-time high and up from 1,856 in 2016. 406




406
      Maryland Department of Health, Unintentional Drug- and Alcohol-Related Intoxication Deaths in Maryland,
2017, at 15 (June 2018), available at
https://bha.health.maryland.gov/OVERDOSE_PREVENTION/Documents/Drug_Intox_Report_2017.pdf (last
visited August 14, 2018).

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Drug- and Alcohol-Related Intoxication Deaths in Maryland, 2007-2017
Source: Maryland Department of Health and Mental Hygiene




            615. These deaths are part of an overall increase in deaths from drug and alcohol

overdoses, which grew by nine percent from 2016 to 2017 and by 66 percent from 2015 to 2016,

which was the largest single year increase that has been recorded. 407 In 2017 there were 2,282

deaths from drug and alcohol intoxication, also an all-time high, and more than triple the number

from 2010. 408 According to Maryland’s Department of Health and Mental Hygiene, 88 percent of

all these deaths were opioid-related, meaning that heroin, prescription opioids and/or non-

pharmaceutical fentanyl were involved. 409 The number of opioid-related deaths increased by 8

percent between 2016 and 2017, 70 percent between 2015 and 2016 and has almost quadrupled




407
      Id. at 5.
408
      Id.
409
      Id.



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since 2010. 410 Large increases in the number of fentanyl-related deaths have caused the overall

rise in opioid-related deaths, and many prescription opioid-related deaths occur in combination

with heroin and/or fentanyl. 411

            616. The number of prescription opioid-related deaths has risen since 2012, although it

dropped from 418 in 2016 to 413 in 2017. 412

            617. The number of deaths in Maryland due to heroin and opioids has increased by more

than 100 percent in the last five years, and heroin and opioid drug dependency has more than

doubled in the last decade. 413

            618. The CDC has also found that the number of drug overdose death rates has increased

at a statistically-significant rate in Maryland in recent years. From 2015-16, the death rate

increased by 58.9 percent, in 2014-2015, the death rate increased by 20.1 percent and from 2013-

2014 the death rate increased by 19.2 percent. 414

            619. The number of deaths attributed to fentanyl also spiked sharply, with 1594 in 2017,

up from 1119 deaths in 2016, 340 in 2015, and just 26 in 2011. 415




410
      Id.
411
      Id.
412
      Id.
413
      Maryland’s Heroin and Opioid Emergency Task Force, Heroin Facts, available at
http://governor.maryland.gov/ltgovernor/home/heroin-and-opioid-emergency-task-force/heroin-facts/ (last visited
Dec. 8, 2017).
414
      CDC, Drug Overdose Death Data, available at https://www.cdc.gov/drugoverdose/data/statedeaths.html (last
visited August 15, 2018).
415
      Maryland Department of Health, supra, at 13.



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         620. In fiscal 2018, Maryland will spend over $22 million to fight the opioid crisis, with

most of the money going to prevention, enforcement and treatment efforts. 416 This is part of a $50

million fund to battle the epidemic over the next five years. 417

         621. Maryland’s opioid crisis has also led to higher hospitalization rates. In 2014 opioid

hospitalization rates among men and women in Maryland were the highest in the nation at 403.8

hospitalizations per 100,000 people. 418 Maryland also had the second highest rate nationally of

opioid-related emergency department visits, at 300.7 per 100,000 people. 419 That number is an 81

percent increase from 2009-2014. 420 Maryland is the only state that “consistently ranked as having

among the highest rates of opioid-related [emergency department] visits across all patient sex and

age groups.” 421

         622. Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience when a pregnant woman takes drugs such as heroin, codeine, oxycodone, methadone

or buprenorphine, is also sharply the rise. 422 In Maryland in 2015, 1,419 babies were born with


416
       Kristi King, “‘Dramatic’ increase in opioid deaths continues in Maryland,” WTOP, Oct. 25, 2017 available at
https://wtop.com/maryland/2017/10/dramatic-increase-opioid-deaths-continues-maryland/ (last visited Dec. 8,
2017).
417
      Mary Hui, “Growth in Md. Opioid fatalities comes almost entirely from fentanyl-related deaths.” Washington
Post, Oct. 24, 2017 available at https://www.washingtonpost.com/local/growth-in-md-opioid-fatalities-comes-
almost-entirely-from-fentanyl-related-deaths/2017/10/24/fc278b9e-b8f6-11e7-a908-
a3470754bbb9_story.html?utm_term=.4fe2637df2e9 (last visited August 15, 2018).
418
       Weiss, Elixhauser, Barrett, Steiner, Bailey, and O’Malley, Opioid-Related Inpatient Stays and Emergency
Department Visits by State, 2009-2014, December 2016 (Revised January 2017), at 1, 4 available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb219-Opioid-Hospital-Stays-ED-Visits-by-State.pdf (last visited
Dec. 11, 2017).
419
      Id. at 1, 8.
420
      Id. at 9.
421
       Weiss, Bailey, O’Malley, Barrett, Elixhauser and Steiner, Patient Characteristics of Opioid-Related Inpatient
Stays and Emergency Department Visits Nationally and by State, 2014, June 2017 at 11, available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb224-Patient-Characteristics-Opioid-Hospital-Stays-ED-Visits-by-
State.pdf (last visited Dec. 11, 2017).
422
   Catherin Hawley, “57 percent increase from 2007 to 2015 in babies born addicted to drugs in Maryland,”
WMAR Baltimore, Jan. 18, 2017, available at http://www.abc2news.com/news/health/57-increase-from-2007-to-


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drugs or alcohol in their system, an increase of 56.6 percent from 2006 to 2015. “[A]n

overwhelming number are born to mothers who have used prescription painkillers or heroin.”423

Right now these children spend an average of 26 days in Maryland hospitals after birth. 424

            623. The opioid epidemic is particularly devastating in Plaintiff’s Community.

            624. In 2017, 59 people died of drug or alcohol-related overdoses in Washington

County. 425 That number is down slightly from 66 in 2016 and 64 in 2015. 426 In 2014, there were

40 such deaths, and 28 in 2013. 427 Fifty-one of the 59 deaths in 2017 were opioid-related, as were

63 of the 66 deaths in 2016. 428 Opioid-related deaths jumped more than 500 percent between 2010

and 2016. 429

            625. The death rate for unintentional intoxication deaths in Washington County was 28.8

per 100,000 residents from 2012 to 2016, the fifth highest rate in the State. 430

            626. In 2017, police in Hagerstown, the County seat, responded to 187 overdoses, of

which there were 15 fatalities. As of March 27, 2018, police had responded to 60 overdoses,




2015-in-babies-born-addicted-to-drugs-in-maryland (last visited Dec. 11, 2017); see also University of Maryland
Medical Center, Neonatal abstinence syndrome, available at
http://www.umm.edu/health/medical/ency/articles/neonatal-abstinence-syndrome (last visited Dec. 11, 2017).
423
     Andrea K. McDaniels, “Number of Maryland babies born with drugs in their system growing.” Baltimore Sun,
(February 17, 2017) available at http://www.baltimoresun.com/health/maryland-health/bs-hs-drug-exposed-babies-
20170217-story.html (last visited Dec. 11, 2017).
424
      Id.
425
      Maryland Department of Health, supra, at 46.
426
      Id.
427
      Id.
428
      Id. at 47.
429
     David Pittman, “Facing mounting opioid overdoses, Maryland doctor defies federal law,” Politico, (Nov. 15,
2017), available at https://www.politico.com/story/2017/11/15/facing-mounting-opioid-overdoses-maryland-doctor-
defies-federal-law-244948 (last visited April 11, 2018).
430
      Maryland Department of Health, supra, at 44.



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including eight deaths. The police chief states that 80 percent of property crime in Hagerstown is

related to drug addiction. 431

              627. In 2013, Hagerstown EMS crews administered Narcan – a nasal spray medication

that reverses the effects of opioids in someone who is overdosing – 122 times. By 2015, that

number had almost doubled to 234. 432

              628. According to the Director of the Washington County Department of Social Services

(DSS), the number of newborns exposed to drugs has climbed at an alarming rate with 68 such

infants in FY2015, 101 in FY2016, 142 in FY 2017 and 155 in FY2018. 433 Children have also

been removed from their homes – due at least in part to their parents’ substance abuse – at numbers

that are also continually increasing with 31 in FY2016, 35 in FY2017, and 54 in FY2018. 434



              629. The CDC has tracked prescription rates per county in the United States, identifying

the geographic “hotspots” for rates of opioid prescriptions. 435 The CDC has calculated the

geographic distribution at county levels of opioid prescriptions dispensed per 100 persons, 436

revealing that Washington County has been a consistent hotspot over at least the past decade.




431
    CJ Lovelace, “Hagerstown joins litigation against major drug companies,” Herald-Mail Media, (March 27,
2018), available at https://www.heraldmailmedia.com/news/local/hagerstown-prepares-to-enter-litigation-against-
major-opioid-distributors/article_420cd58c-31ed-11e8-ada7-332e6d2300f0.html (last visited April 11, 2018).
432
      Jennifer Donelan & Dwayne Myers, “Heroin Highway: Part 5 – Hagerstown, MD. ‘Round the clock
emergency,’” WJLA, (February 19, 2016) available at http://wjla.com/features/hooked-on-heroin/heroin-highway-
part-5-6-hagerstown-md-and-phone-bank (last visited April 11, 2018).
433
        Information from D. Michael Piercy, Jr., Director, Washington County Department of Social Services.
434
        Id.
435
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited June 13, 2018).
436
      Id.



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        630. The CDC’s statistics prove that the opioid prescription rates in Washington County

have exceeded any legitimate medical, scientific, or industrial purpose. The overall opioid

prescribing rate in 2016 was 66.5 prescriptions per 100 people and 58.7 in Maryland. 437 However,

in Washington County, Maryland, the 2016 prescription rate was 113.1 per 100 people – the third

highest in the State and a rate of more than one prescription for every man, woman and child in

Washington County. 438 This is down from the 2015 prescribing rate for Washington County which

was 116.6 per 100 people – also the third highest in the State. 439

        631. Unfortunately, the 2015 and 2016 high rates of opioid prescriptions were not an

aberration for Washington County. The opioid prescribing rates in Washington County have

consistently been among the highest in the state and significantly greater than the national and

state average. Compared to a national average of 75.6 opioid prescriptions per 100 people in

2014 440 and 67.6 in Maryland, 441 the Washington County opioid prescription rate was 122.8 per

100 people. 442 In 2013, the national average was 78.1 opioid prescriptions per 100 people, 443 but

the opioid prescription rate in Washington County was 124.8 per 100 people. 444 Compared to a


437
    Id. See also U.S. State Prescribing Rates, 2016, available at
https://www.cdc.gov/drugoverdose/maps/rxstate2016.html (last visited June 13, 2018).
438
    U.S. County Prescribing Rates, 2016, CDC, (reporting for “Washington County, MD” here and below), available
at https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (last visited June 13, 2018).
439
    U.S. County Prescribing Rates, 2015, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html (last visited June 13, 2018).
440
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
441
    U.S. State Prescribing Rates, 2014, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2014.html
(last visited June 13, 2018).
442
    U.S. County Prescribing Rates, 2014, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html (last visited June 13, 2018).
443
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June. 13, 2018).
444
    U.S. County Prescribing Rates, 2013, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html (last visited June 13, 2018).



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national average of 81.3 opioid prescriptions per 100 people in 2012, 445 the opioid prescription

rate in Washington County was 128.2. 446 In 2011, the national average was 80.9 opioid

prescriptions per 100 people, 447 while the opioid prescription rate in Washington County was

117.1. 448 Compared to a national average of 81.2 opioid prescriptions per 100 people in 2010449

and 71.2 in Maryland, 450 the Washington County opioid prescription rate was 118.9 per 100 people

– the third highest prescribing rate in the state that year. 451 In 2009, the national average was 79.5

opioid prescriptions per 100 people, 452 but the rate in Washington County was 105.1. 453 Compared

to a national average of 78.2 opioid prescriptions per 100 people in 2008 454 and 65.5 in

Maryland, 455 the Washington County rate was 99.1 per 100 people. 456 In 2007, the national average




445
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
446
    U.S. County Prescribing Rates, 2012, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html (last visited June 13, 2018).
447
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
448
    U.S. County Prescribing Rates, 2011, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html (last visited June 13, 2018).
449
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
450
    U.S. State Prescribing Rates, 2010, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2010.html
(last visited June 13, 2018).
451
    U.S. County Prescribing Rates, 2010, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html (last visited June 13, 2018).
452
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
453
    U.S. County Prescribing Rates, 2009, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2009.html (last visited June 13, 2018).
454
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited June 13, 2018).
455
    U.S. State Prescribing Rates, 2018, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2008.html
(last visited June 13, 2018).
456
    U.S. County Prescribing Rates, 2008, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2008.html (last visited June 13, 2018).



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was 75.9 opioid prescriptions per 100 people, 457 while the Washington County rate was 95.1. 458

Compared to a national average of 72.4 opioid prescriptions per 100 people in 2006, 459 the

Washington County rate was 89.73 per 100 people. 460

            632. The sheer volume of these dangerously addictive drugs was destined to create the

present crisis of addiction, abuse, and overdose deaths.

                2. Relief Sought.

            633. The RICO Marketing Defendants’ violations of law and their pattern of racketeering

activity directly and proximately caused Plaintiff injury in its business and property. The RICO

Marketing Defendants’ pattern of racketeering activity logically, substantially and foreseeably

caused an opioid epidemic.              Plaintiff’s injuries, as described below, were not unexpected,

unforeseen or independent. 461 Rather, as Plaintiff alleges, the RICO Marketing Defendants knew

that the opioids were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain,

or for any other use not approved by the FDA, and knew that opioids were highly addictive and

subject to abuse. 462 Nevertheless, the RICO Marketing Defendants engaged in a scheme of

deception, that utilized the mail and wires as part of their fraud, in order to increase sales of their

opioid products.




457
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited Oct. 30,, 2017).
458
    U.S. County Prescribing Rates, 2007, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2007.html (last visited March 23, 2018).
459
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
460
    U.S. County Prescribing Rates, 2006, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2006.html (last visited March 23, 2018).
461
      Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19 (Cal. Ct. App. 2017).
462
      Id.



                                                          236
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            634. It was foreseeable and expected that a massive marketing campaign utilized by the

RICO Marketing Defendants that misrepresented the non-addictive and effective use of

prescription opioids for purposes for which they are not suited and not approved by the FDA would

lead to a nationwide opioid epidemic. 463 It was also foreseeable and expected that the RICO

Marketing Defendants’ marketing campaign would lead to increased opioid addiction and

overdose. 464 Plaintiff’s injuries were logically, foreseeable, and substantially caused by the opioid

epidemic that the RICO Marketing Defendants created.

            635. Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiff in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. Plaintiff’s injuries, as alleged throughout this complaint, and expressly

incorporated herein by reference, include:

                   a.     Losses caused by purchasing and/or paying reimbursements for the RICO
                          Marketing Defendants’ prescription opioids, that Plaintiff would not have
                          paid for or purchased but for the RICO Marketing Defendants’ conduct;

                   b.     Losses caused by the decrease in funding available for Plaintiff’s public
                          services for which funding was lost because it was diverted to other public
                          services designed to address the opioid epidemic;

                   c.     Costs for providing healthcare and medical care, additional therapeutic, and
                          prescription drug purchases, and other treatments for patients suffering from
                          opioid-related addiction or disease, including overdoses and deaths;

                   d.     Costs of training emergency and/or first responders in the proper treatment
                          of drug overdoses;

                   e.     Costs associated with providing police officers, firefighters, and emergency
                          and/or first responders with Naloxone – an opioid antagonist used to block
                          the deadly effects of opioids in the context of overdose;



463
      Id.
464
      Id.

                                                   237
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               f.      Costs associated with emergency responses by police officers, firefighters,
                       and emergency and/or first responders to opioid overdoses;

               g.      Costs for providing mental-health services, treatment, counseling,
                       rehabilitation services, and social services to victims of the opioid epidemic
                       and their families;

               h.      Costs for providing treatment of infants born with opioid-related medical
                       conditions, or born addicted to opioids due to drug use by mother during
                       pregnancy;

               i.      Costs associated with law enforcement and public safety relating to the
                       opioid epidemic, including but not limited to attempts to stop the flow of
                       opioids into local communities, to arrest and prosecute street-level dealers,
                       to prevent the current opioid epidemic from spreading and worsening, and
                       to deal with the increased levels of crimes that have directly resulted from
                       the increased homeless and drug-addicted population;

               j.      Costs associated with increased burden on Plaintiff’s judicial system,
                       including increased security, increased staff, and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly resulting
                       from opioid addiction;

               k.      Costs associated with providing care for children whose parents suffer from
                       opioid-related disability or incapacitation;

               l.      Loss of tax revenue due to the decreased efficiency and size of the working
                       population in Plaintiff’s Community;

               m.      Losses caused by diminished property values in neighborhoods where the
                       opioid epidemic has taken root; and

               n.      Losses caused by diminished property values in the form of decreased
                       business investment and tax revenue.

       636. Plaintiff’s injuries were proximately caused by the RICO Marketing Defendants’

racketeering activities because they were the logical, substantial and foreseeable cause of

Plaintiff’s injuries. But for the opioid-addiction epidemic created by the RICO Marketing

Defendants’ conduct, Plaintiff would not have lost money or property.

       637. Plaintiff’s injuries were directly caused by the RICO Marketing Defendants’ pattern

of racketeering activities.



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        638. Plaintiff is the most directly harmed entity and there is no other Plaintiff better suited

to seek a remedy for the economic harms at issue here.

        639. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                      COUNT III
         RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                                 18 U.S.C. 1961, et seq.
           (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
                     McKesson, Cardinal, and AmerisourceBergen)
                          (The “Opioid Diversion Enterprise”)
        640. Plaintiff hereby incorporates by reference all other paragraphs of this Complaint as

if fully set forth herein, and further alleges as follows.

        641. Plaintiff brings this Claim against the following Defendants, as defined above:

Purdue, Cephalon, Endo, Mallinckrodt, Actavis (the “Manufacturer Defendants”), McKesson,

Cardinal, and AmerisourceBergen (the “Distributor Defendants”) (collectively, for purposes of

this Claim, the “RICO Diversion Defendants”).

        642. The RICO Diversion Defendants conducted and continue to conduct their business

through legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a

legal entity enterprise as defined in 18 U.S.C. § 1961(4). Alternatively, the RICO Diversion

Defendants were members of a legal entity enterprise within the meaning of 18 U.S.C. § 1961(4).

Specifically, each of the RICO Diversion Defendants was a member of the Healthcare Distribution

Alliance (the “HDA”) 465 which is a distinct legal entity that satisfies the definition of a RICO

enterprise because it is a non-profit corporation and, therefore, and “enterprise” within the




465
    Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.

                                                     239
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definition set out in 18 U.S.C. § 1961(4). On information and belief, each of the RICO Diversion

Defendants is a member, participant, and/or sponsor of the HDA and utilized the HDA to conduct

the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity that gives rise

to this cause of action. The legal and association-in-fact enterprises alleged in the previous and

subsequent paragraphs are pleaded in the alternative and are collectively referred to as the “Opioid

Diversion Enterprise.”

       643. For over a decade, the RICO Diversion Defendants aggressively sought to bolster

their revenue, increase profit, and grow their share of the prescription painkiller market by

unlawfully and surreptitiously increasing the volume of opioids they sold. However, the RICO

Diversion Defendants are not permitted to engage in a limitless expansion of their sales through

the unlawful sales of regulated painkillers. As “registrants” under the Controlled Substances Act,

21 U.S.C. § 821, et seq. (the “CSA”), the RICO Diversion Defendants operated and continue to

operate within a “closed-system.” The CSA restricts the RICO Diversion Defendants’ ability to

manufacture or distribute Schedule II substances like opioids by: (1) requiring them to make sales

within a limited quota set by the DEA for the overall production of Schedule II substances like

opioids; (2) register to manufacture or distribute opioids; (3) maintain effective controls against

diversion of the controlled substances that they manufacturer or distribute; and (4) design and

operate a system to identify suspicious orders of controlled substances, halt such unlawful sales,

and report them to the DEA.

       644. The closed-system created by the CSA, and the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids




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from “legitimate channels of trade” to the illicit market by controlling the “quantities of the basic

ingredients needed for the manufacture of [controlled substances].” 466

        645. Finding it impossible to legally achieve their ever increasing sales ambitions,

members of the Opioid Diversion Enterprise (defined below) engaged in the common purpose of

fraudulently increasing the quotas that governed the manufacture and distribution of their

prescription opioids. The RICO Diversion Defendants formed and pursued their common purpose

through the many personal interactions that they had, confidentially, in organizations like the Pain

Care Forum and the Healthcare Distribution Alliance.

        646. The RICO Diversion Defendants’ common purpose and fraudulent scheme to

unlawfully increase the DEA quotas violated the RICO Act in two ways. First, the RICO Diversion

Defendants violated the RICO Act because they engaged in the felonious manufacture, buying

selling, or otherwise dealing in controlled substances that are punishable by law in the United

States. Specifically, the RICO Diversion Defendants “furnish[ed] false or fraudulent material

information in, or omit[ted] material information from, applications, reports, records, and other

documents required to be made, kept, and filed under 21 U.S.C. §§ 801, et seq.”, in violation of

21 U.S.C. § 843(b), which is a felony. Second, the RICO Diversion Defendants violated the RICO

Act by engaging in mail and wire fraud. The RICO Diversion Defendants common purpose and

fraudulent scheme was intended to, and did, utilize interstate mail and wire facilities for the

commission of their fraud in violation 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).

        647. The RICO Diversion Defendants’ fraudulent scheme arises at the intersection

between the quotas governing the RICO Diversion Defendants’ prescription opioids and the RICO



466
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).

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Diversion Defendants’ duty to identify, report, and halt suspicious orders of controlled substances.

The RICO Diversion Defendants’ formed an enterprise with the intent to fraudulently increase the

quotas for prescription opioids by refusing to identify, report and halt suspicious orders, thereby

omitting both the fact and the RICO Diversion Defendants’ knowledge of widespread diversion of

prescription opioids into illegitimate channels.

           648. The RICO Diversion Defendants engaged in systematic and fraudulent acts as part

of the Opioid Diversion Enterprise, that furnished false or fraudulent material information in, and

omitted material information from their applications, reports, records and other documents that the

RICO Defendants were required to make, keep and/or file. Furthermore, the RICO Diversion

Defendants engaged in systematic and fraudulent acts as part of the Opioid Diversion Enterprise

that were intended to and actually did utilize the mail and wire facilities of the United States and

Maryland, including refusing to maintain effective controls against diversion of their drugs, to

design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

suspicious orders, and to notify the DEA of suspicious orders. 467

           649. Through the RICO Diversion Defendants’ scheme, members of the Opioid Diversion

Enterprise repeatedly requested increases of the quotas governing the manufacture, sale and

distribution of prescription opioids, misrepresented that they were complying with their duties

under the CSA, furnished false or fraudulent material information in, and omitted material

information from their applications, reports, records and other documents, engaged in unlawful

sales of painkillers that resulted in diversion of controlled substances through suspicious orders,

and refused to identify or report suspicious orders of controlled substances sales to the DEA.468



467
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
468
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

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Defendants’ refusal to report suspicious orders resulted in artificial and illegal increases in the

annual production quotas for opioids allowed by the DEA. The end result of the RICO Diversion

Defendants’ fraudulent scheme and common purpose was continually increasing quotas that

generated obscene profits and, in turn, fueled an opioid epidemic.

       650. The RICO Diversion Defendants’ illegal scheme was hatched by an enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them. In particular, each of the RICO Diversion Defendants were associated

with, and conducted or participated in, the affairs of the Opioid Diversion Enterprise, whose

common purpose was fraudulently increasing the quotas governing the manufacture and sale of

prescription opioids.

       651. The success of the RICO Diversion Defendants’ scheme allowed them to unlawfully

increase and/or maintain high production quotas and, as a direct result, allowed them to make

billions from the unlawful sale and diversion of opioids.

       652. Simultaneously, the opioid epidemic created by the RICO Diversion Defendants’

actions caused Plaintiff’s multi-million dollar injuries.    Plaintiff’s injuries were and are a

reasonably foreseeable consequence of the prescription opioid addiction epidemic that the RICO

Diversion Defendants created by fraudulently increasing quotas, misrepresenting their compliance

with their duties under the CSA, and allowing the widespread diversion of legally produced

prescription opioids into the illicit market. As explained in detail below, the RICO Diversion

Defendants’ misconduct violated Section 1962(c) and Plaintiff is entitled to treble damages for

their injuries under 18 U.S.C. § 1964(c).

                        A. THE OPIOID DIVERSION ENTERPRISE.

       653. Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress
                                               243
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enacted the Controlled Substances Act in 1970. 469 The CSA and its implementing regulations

created a closed-system of distribution for all controlled substances and listed chemicals. 470

Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the illicit market. 471 Congress was concerned with the

diversion of drugs out of legitimate channels of distribution and acted to halt the “widespread

diversion of [controlled substances] out of legitimate channels into the illegal market.” 472

Moreover, the closed-system was specifically designed to ensure that there are multiple ways of

identifying and preventing diversion through active participation by registrants within the drug

delivery chain. 473 All registrants -- manufacturers and distributors alike -- must adhere to the

specific security, recordkeeping, monitoring and reporting requirements that are designed to

identify or prevent diversion. 474 When registrants at any level fail to fulfill their obligations, the

necessary checks and balances collapse. 475 The result is the scourge of addiction that has occurred.

            654. Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by


469
   Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
470
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
471
  Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep.
No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
472
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
473
   See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
Senate, July 18, 2012 (available at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
474
      Id.
475
   Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-185 (Document 14-2 February 10, 2012).



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controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.” 476 When

evaluating production quotas, the DEA was instructed to consider the following information:

                     a.       Information provided by the Department of Health and Human Services;

                     b.       Total net disposal of the basic class by all manufacturers;

                     c.       Trends in the national rate of disposal of the basic class;

                     d.       An applicant’s production cycle and current inventory position;

                     e.       Total actual or estimated inventories of the class and of all substances
                              manufactured from the class and trends in inventory accumulation; and

                     f.       Other factors such as: changes in the currently accepted medical use of
                              substances manufactured for a basic class; the economic and physical
                              availability of raw materials; yield and sustainability issues; potential
                              disruptions to production; and unforeseen emergencies. 477

            655. It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA. 478

            656. At all relevant times, the RICO Diversion Defendants operated as an association-in-

fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

fraudulently increasing the quotas set by the DEA that would allow them to collectively benefit

from a greater pool of prescription opioids to manufacture and distribute. In support of this

common purpose and fraudulent scheme, the RICO Diversion Defendants jointly agreed to



476
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
477
   See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
478
      Id. (citing 21 U.S.C. 842(b)).

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disregard their statutory duties to identify, investigate, halt and report suspicious orders of opioids

and diversion of their drugs into the illicit market so that those orders would not result in a

decrease, or prevent an increase in, the necessary quotas. The RICO Diversion Defendants

conducted their pattern of racketeering activity in this jurisdiction and throughout the United States

through this enterprise.

        657. The opioid epidemic has its origins in the mid-1990s when, between 1997 and 2007,

per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold, and 9-

fold, respectively. By 2010, enough prescription opioids were sold in the United States to medicate

every adult in the country with a dose of 5 milligrams of hydrocodone every 4 hours for 1 month.479

On information and belief, the Opioid Diversion Enterprise has been ongoing for at least the last

decade. 480

        658. The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis.

However, it was not until recently that federal and state regulators finally began to unravel the

extent of the enterprise and the toll that it exacted on the American public.

        659. At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

and distinct from each RICO Diversion Defendant; (b) was separate and distinct from the pattern

of racketeering in which the RICO Diversion Defendants engaged; (c) was an ongoing and

continuing organization consisting of legal entities, including each of the RICO Diversion

Defendants; (d) was characterized by interpersonal relationships among the RICO Diversion



479
    Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
480
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic.

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Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose; and (f) functioned

as a continuing unit. Each member of the Opioid Diversion Enterprise participated in the conduct

of the enterprise, including patterns of racketeering activity, and shared in the astounding growth

of profits supplied by fraudulently inflating opioid quotas and resulting sales.

        660. The Opioid Diversion Enterprise also engaged in efforts to constrain the DEA’s

authority to hold the RICO Diversion Defendants liable for disregarding their duty to prevent

diversion. Members of the Pain Care Forum (described in greater detail below) and the Healthcare

Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s enforcement

authority. To this end, the Ensuring Patient Access and Effective Drug Enforcement Act

significantly reduced the DEA’s ability to issue orders to show cause and to suspend and/or revoke

registrations. 481 The HDA and other members of the Pain Care Forum contributed substantial

amounts of money to political campaigns for federal candidates, state candidates, political action

committees and political parties. Upon information and belief, the Pain Care Forum and its

members and HDA, poured millions into such efforts.

        661. The RICO Diversion Defendants, through their illegal enterprise, engaged in a

pattern of racketeering activity that involves a fraudulent scheme to profit from the unlawful sale

of prescription opioids by increasing the quotas governing the manufacture and sale of these

controlled substances. In order to achieve that goal, the RICO Diversion Defendants knowingly


481
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.

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allowed suspicious orders of controlled substances to occur unhindered while millions of opioid

doses were diverted into illegal markets. The end result of this strategy was exactly as the RICO

Diversion Defendants intended – artificially increased quotas for the manufacture and distribution

of opioids, all of which resulted in a National opioid epidemic.

       662. The Opioid Diversion Enterprise engaged in, and its activities affected, interstate and

foreign commerce because the enterprise involved commercial activities across states lines, such

as manufacture, sale, distribution, and shipment of prescription opioids throughout the United

States, and the corresponding payment and/or receipt of money from such interstate sales.

       663. Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Diversion Defendants shared information on a

regular basis. These interpersonal relationships also formed the organization of the Opioid

Diversion Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

       664. Each of the RICO Diversion Defendants had systematic links to each other through

joint participation in trade industry organizations, contractual relationships and continuing

coordination of activities. The RICO Diversion Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein. While

the RICO Diversion Defendants participated in, and are members of, the enterprise, they each have

a separate existence from the enterprise, including distinct legal statuses, different offices and

roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements, and financial statements.




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            665. The RICO Diversion Defendants exerted substantial control over the Opioid

Diversion Enterprise through their membership in the Pain Care Forum, the HDA, and through

their contractual relationships.

            666. The Pain Care Forum (“PCF”) has been described as a coalition of drug makers, trade

groups and dozens of non-profit organizations supported by industry funding. The PCF recently

became a national news story when it was discovered that lobbyists for members of the PCF quietly

shaped federal and state policies regarding the use of prescription opioids for more than a decade.

            667. The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.” 482 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures. 483

            668. Not surprisingly, each of the RICO Diversion Defendants who stood to profit from

expanded prescription opioid use is a member of and/or participant in the PCF. 484 In 2012,

membership and participating organizations included the HDA (of which all RICO Defendants are

members), Endo, Purdue, Actavis (i.e., Allergan), and Teva (the parent company of Cephalon). 485

Each of the Manufacturer Defendants worked together through the PCF to advance the interests of

the enterprise. But, the Manufacturer Defendants were not alone. The Distributor Defendants



482
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
(September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic (emphasis added).
483
      Id.
484
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf
485
      Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.



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actively participated, and continue to participate in the PCF, at a minimum, through their trade

organization, the HDA. 486 Upon information and belief, the Distributor Defendants participated

directly in the PCF as well.

            669. Additionally, the HDA -- or Healthcare Distribution Alliance -- led to the formation

of interpersonal relationships and an organization between the RICO Diversion Defendants.

Although the entire HDA membership directory is private, the HDA website confirms that each of

the Distributor Defendants and the Manufacturer Defendants named in the Complaint, including

Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA. 487

Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Manufacturer Defendants by advocating for the many benefits

of members, including “strengthening . . . alliances.” 488

            670. Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading partners,”

and “make connections.” 489 Clearly, the HDA and the Distributor Defendants believed that



486
   Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.
487
   Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
488
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
489
      Id.



                                                      250
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membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the Manufacturers and Defendants.

        671. The application for manufacturer membership in the HDA further indicates the level

of connection between the RICO Defendants and the level of insight that they had into each other’s

businesses. 490 For example, the manufacturer membership application must be signed by a “senior

company executive,” and it requests that the manufacturer applicant identify a key contact and any

additional contacts from within its company.

        672. The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information.

        673. And, Manufacturer Members were asked to identify their “most recent year end net

sales” through wholesale distributors, including the Distributor Defendants AmerisourceBergen,

Cardinal Health, and McKesson and their subsidiaries.

        674. The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Manufacturer and Distributor Defendants with the opportunity to work closely

together, confidentially, to develop and further the common purpose and interests of the enterprise.

        675. The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing




490
   Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.



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industry issues.” 491 The conferences also gave the Manufacturer and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.” 492 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. It is clear

that the Manufacturer Defendants embraced this opportunity by attending and sponsoring these

events. 493

            676. Third, the RICO Diversion Defendants maintained their interpersonal relationships

by working together, through contractual chargeback arrangements, to exchange sales information

and drive the unlawful sales of their opioids. To this end, the Manufacturer Defendants engaged

in an industry-wide practice of paying rebates to the Distributor Defendants for sales of

prescription opioids. 494

            677. For example, the Washington Post reported that “[o]n Aug. 23, 2011, DEA

supervisors met with Mallinckrodt executives at the agency’s headquarters in Arlington, Va., the

day a rare 5.8-magnitude earthquake hit the Washington region. People involved in the case still

call the gathering ‘the earthquake meeting.’ DEA officials showed the company the remarkable


491
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14, 2017).
492
      Id.
493
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last accessed on
September 14, 2017).
494
   Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington Post, (April 2, 2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.



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amounts of its oxycodone going to distributors and the number of arrests being made for

oxycodone possession and distribution on the street, according to one participant in the meeting

who also spoke on the condition of anonymity because the case is pending.” 495

            678. “Three weeks after the Aug. 23 meeting, Mallinckrodt notified 43 of its distributors

that they would no longer receive rebates from the company if they continued to supply certain

pharmacies whose orders appeared to be suspicious.” 496

            679. “On Nov. 30, 2011, the DEA served a subpoena on Mallinckrodt, demanding

documents related to its suspicious-order-monitoring program, according to the company’s filings

with the Securities and Exchange Commission. The subpoena brought a windfall of information.

The DEA gained access to data from Mallinckrodt’s rebate or ‘chargeback’ program, an industry-

wide practice that provides reimbursements to wholesale distributors. That information and other

records showed where Mallinckrodt’s oxycodone was going — from the company to its network

of distributors to retailers down the chain.” 497

            680. In addition, the Distributor Defendants and Manufacturer Defendants participated,

through the HDA, in Webinars and other meetings designed to exchange detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices. 498 For example, on April 27, 2011, the HDA offered a Webinar to

“accurately and effectively exchange business transactions between distributors and

manufacturers…”:




495
      https://www.washingtonpost.com/graphics/investigations/dea-mallinckrodt/?utm_term=.f336835fd5da
496
      Id.
497
      Id.
498
   Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

                                                       253
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       681. On information and belief, the Manufacturer Defendants used this information to

gather high-level data regarding overall distribution and direct the Distributor Defendants on how

to most effectively sell the prescription opioids.

       682. And, through the HDA, Manufacturer Members were asked to identify their “most

recent year end net sales” through wholesale distributors, including the Distributor Defendants as

follows:




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       683. The contractual relationships among the RICO Defendants also include vault security

programs. The RICO Diversion Defendants are required to maintain certain security protocols

and storage facilities for the manufacture and distribution of their opiates. Upon information and

belief, the manufacturers negotiated agreements whereby the Manufacturers installed security

vaults for Distributors in exchange for agreements to maintain minimum sales performance

thresholds. Upon information and belief, these agreements were used by the RICO Diversion

Defendants as a tool to violate their reporting and diversion duties in order to reach the required

sales requirements.




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        684. Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants were

not two separate groups operating in isolation or two groups forced to work together in a closed

system. The RICO Diversion Defendants operated together as a united entity, working together

on multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain

Care Forum are but two examples of the overlapping relationships, and concerted joint efforts to

accomplish common goals and demonstrates that the leaders of each of the RICO Diversion

Defendants were in communication and cooperation.

        685. Alternatively, the RICO Diversion Defendants were members of a legal entity

enterprise within the meaning of 18 U.S.C. § 1961(4), through which the RICO Diversion

Defendants conducted their pattern of racketeering activity in this jurisdiction and throughout the

United States. As alleged, the Healthcare Distribution Alliance (the “HDA”) 499 is a distinct legal

entity that satisfies the definition of a RICO enterprise because it is a corporation formed under

the laws of the District of Columbia, doing business in Virginia. As such, the HDA qualifies as an

“enterprise” within the definition set out in 18 U.S.C. § 1961(4).

        686. On information and belief, each of the RICO Diversion Defendants is a member,

participant, and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA to

conduct the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity that

gives rise to the Count.




499
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.

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       687. Each of the RICO Diversion Defendants is a legal entity separate and distinct from

the HDA. Additionally, the HDA serves the interests of distributors and manufacturers beyond

the RICO Diversion Defendants. Therefore, the HDA exists separately from the Opioid Diversion

Enterprise, and each of the RICO Diversion Defendants exists separately from the HDA.

Therefore, the HDA may serve as a RICO enterprise.

                       B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       688. During the time period alleged in this Complaint, the RICO Diversion Defendants

exerted control over, conducted and/or participated in the Opioid Diversion Enterprise by

fraudulently claiming that they were complying with their duties under the CSA to identify,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

       689. Defendants disseminated false and misleading statements to state and federal

regulators claiming that (1) the quotas for prescription opioids should be increased, (2) they were

complying with their obligations to maintain effective controls against diversion of their

prescription opioids, (3) they were complying with their obligations to design and operate a system

to disclose to the registrant suspicious orders of their prescription opioids, (4) they were complying

with their obligation to notify the DEA of any suspicious orders or diversion of their prescription

opioids and (5) they did not have the capability to identify suspicious orders of controlled

substances despite their possession of national, regional, state, and local prescriber- and patient-

level data that allowed them to track prescribing patterns over time, which the Defendants obtained

from data companies, including but not limited to:             IMS Health, QuintilesIMS, Iqvia,

Pharmaceutical Data Services, Source Healthcare Analytics, NDS Health Information Services,



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Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters Kluwer, and/or PRA Health

Science, and all of their predecessors or successors in interest (the “Data Vendors”).

        690. The RICO Diversion Defendants applied political and other pressure on the DOJ and

DEA to halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied

Congress to strip the DEA of its ability to immediately suspend registrations pending investigation

by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.” 500

        691. The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Diversion Defendants identify suspicious orders or customers who were

likely to divert prescription opioids. 501 On information and belief, the “know your customer”

questionnaires informed the RICO Diversion Defendants of the number of pills that the pharmacies

sold, how many non-controlled substances are sold compared to controlled substances, whether

the pharmacy buys from other distributors, the types of medical providers in the area, including




500
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
501
   Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard Widup, Jr.,
Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and
McGuireWoods LLC, (available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).



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pain clinics, general practitioners, hospice facilities, cancer treatment facilities, among others, and

these questionnaires put the recipients on notice of suspicious orders.

        692. The RICO Diversion Defendants purchased nationwide, regional, state, and local

prescriber- and patient-level data from the Data Vendors that allowed them to track prescribing

trends, identify suspicious orders, identify patients who were doctor shopping, identify pill mills,

etc. The Data Vendors’ information purchased by the RICO Diversion Defendants allowed them

to view, analyze, compute, and track their competitors’ sales, and to compare and analyze market

share information. 502

        693. IMS, for example, provided the RICO Diversion Defendants with reports detailing

prescriber behavior and the number of prescriptions written between competing products. 503




502
    A Verispan representative testified that the RICO Defendants use the prescribing information to “drive market
share.” Sorrell v. IMS Health Inc., 2011 WL 661712, *9-10 (Feb. 22, 2011).
503
   Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned a Mountain of Data into a Few
Information-rich Molehills, (accessed on February 15, 2018),
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf, Figure 2 at p.3.

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           694. Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal Health (ArcLight), provided the RICO

Defendants with charts analyzing the weekly prescribing patterns of multiple physicians,

organized by territory, regarding competing drugs, and analyzed the market share of those drugs. 504




504
      Sorrell v. IMS Health Inc., 2011 WL 705207, *467-471 (Feb. 22, 2011).

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         695. This information allowed the RICO Diversion Defendants to track and identify

instances of overprescribing. 505          In fact, one of the Data Venders’ experts testified that a

manufacturer of “narcotic analgesics” used the Data Venders’ information to track, identify, report

and halt suspicious orders of controlled substances. 506



505
   See Sorrell v. IMS Health Inc., 2011 WL 1449043, *37-38 (March 24, 2011) (arguing that data had been used to
“identify overuse of antibiotics in children,” and “whether there is a wide use of anthrax prophylactic medicines
after the scares happened in 2001.”). The Data Vender Respondents also cited evidence from the trial court proving
that “because analysis of PI data makes it possible to ‘identify overuse of a pharmaceutical in specific conditions,
the government employs the data to monitor usage of controlled substances.” Id.
506
   Id. at *38. Eugene “Mick” Kolassa testified as an expert on behalf of the Data Vender stating that "a firm that
sells narcotic analgesics was able to use prescriber-identifiable information to identify physicians that seemed to be
prescribing an inordinately high number of prescriptions for their product.” Id; see also Joint Appendix in Sorrell v.
IMS Health, 2011 WL 687134, at *204 (Feb. 22, 2011).

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            696. The RICO Diversion Defendants were, therefore, collectively aware of the

suspicious orders that flowed daily from their manufacturing and distribution facilities.

            697. The RICO Diversion Defendants refused to identify, investigate and report

suspicious orders to the DEA when they became aware of the same despite their actual knowledge

of drug diversion rings. The RICO Diversion Defendants refused to identify suspicious orders and

diverted drugs despite the DEA issuing final decisions against the Distributor Defendants in 178

registrant actions between 2008 and 2012 507 and 117 recommended decision in registrant actions

from The Office of Administrative Law Judges. These numbers include seventy-six (76) actions

involving orders to show cause and forty-one (41) actions involving immediate suspension orders

– all for failure to report suspicious orders. 508




507
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
508
      Id.

                                                       263
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       698. Defendants’ scheme had a decision-making structure driven by the Manufacturer

Defendants and corroborated by the Distributor Defendants. The Manufacturer Defendants worked

together to control the State and Federal Government’s response to the manufacture and

distribution of prescription opioids by increasing production quotas through a systematic refusal

to maintain effective controls against diversion, and identify suspicious orders and report them to

the DEA.

       699. The RICO Diversion Defendants worked together to control the flow of information

and influence state and federal governments and political candidates to pass legislation that was

pro-opioid. The Manufacturer and Distributor Defendants did this through their participation in

the PCF and HDA.

       700. The RICO Diversion Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained

artificially high and ensured that suspicious orders were not reported to the DEA in order to ensure

that the DEA had no basis for refusing to increase or decrease production quotas due to diversion.

       701. The scheme devised and implemented by the RICO Diversion Defendants amounted

to a common course of conduct characterized by a refusal to maintain effective controls against

diversion, and all designed and operated to ensure the continued unlawful sale of controlled

substances.

                       C. PATTERN OF RACKETEERING ACTIVITY.

       702. The RICO Diversion Defendants conducted and participated in the conduct of the

Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

1961(1)(D) by the felonious manufacture, importation, receiving, concealment buying selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the



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Controlled Substance Act), punishable under any law of the United States; and 18 U.S.C.

1961(1)(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

           1. The RICO Defendants Manufactured, Sold and/or Dealt in Controlled
              Substances and Their Actions Constitute Crimes Punishable as Felonies.

       703. The RICO Diversion Defendants committed crimes that are punishable as felonies

under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful for any

person to knowingly or intentionally furnish false or fraudulent information in, or omit any

material information from, any application, report, record or other documents required to be made,

kept or filed under this subchapter. A violation of section 843(a)(4) is punishable by up to four

years in jail, making it a felony. 21 U.S.C. § 843(d)(1).

       704. Each of the RICO Diversion Defendants qualifies as a registrant under the CSA.

Their status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious orders

when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

       705. The CSA and the Code of Federal Regulations, require the RICO Diversion

Defendants to make reports to the DEA of any suspicious orders identified through the design and

operation of their system to disclose suspicious orders. The failure to make reports as required by

the CSA and Code of Federal Regulations amounts to a criminal violation of the statute.

       706. The RICO Diversion Defendants knowingly and intentionally furnished false or

fraudulent information in their reports to the DEA about suspicious orders, and/or omitted material

information from reports, records and other document required to be filed with the DEA including

the Manufacturer Defendants’ applications for production quotas. Specifically, the RICO

Diversion Defendants were aware of suspicious orders of prescription opioids and the diversion of


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their prescription opioids into the illicit market, and failed to report this information to the DEA in

their mandatory reports and their applications for production quotas.

        707. Upon information and belief, the foregoing examples reflect the RICO Diversion

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. The sheer volume of

enforcement actions available in the public record against the Distributor Defendants supports this

conclusion. 509 For example:

        708. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the AmerisourceBergen Orlando, Florida distribution center (“Orlando

Facility”) alleging failure to maintain effective controls against diversion of controlled substances.

On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the suspension of

its DEA registration.

        709. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Auburn, Washington Distribution Center (“Auburn

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

        710. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

        711. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center




509
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.

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(“Swedesboro Facility”) for failure to maintain effective controls against diversion of

hydrocodone.

       712. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

       713. On May 2, 2008, McKesson Corporation entered into an Administrative

Memorandum of Agreement (“2008 MOA”) with the DEA which provided that McKesson would

“maintain a compliance program designed to detect and prevent the diversion of controlled

substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

procedures established by its Controlled Substance Monitoring Program.”

       714. On September 30, 2008, Cardinal Health entered into a Settlement and Release

Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.        The document also

referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

diversion of controlled substances at its distribution facilities located in McDonough, Georgia

(“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

(“Denver Facility”).

       715. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of oxycodone.

       716. On May, 14, 2012, Cardinal Health entered into an Administrative Memorandum of

Agreement with the DEA in which, among other things, Cardinal Health “admits that its due




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diligence efforts for some pharmacy customers and its compliance with the 2008 MOA, in certain

respects, were inadequate.”

       717. Thereafter, on December 23, 2016, Cardinal Health agreed to pay a $44 million fine

to the DEA to resolve the civil penalty portion of the administrative action taken against its

Lakeland, Florida Distribution Center.

       718. On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,

Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and West

Sacramento CA.

       719. In its Administrative Memorandum Agreement, McKesson acknowledged its

wrongdoing and failure to comply with the obligations imposed by the CSA:




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       720. On April 23, 2015, McKesson filed a Form-8-K announcing a settlement with the

DEA and DOJ wherein it admitted to violating the CSA and agreed to pay $150 million and have

some of its DEA registrations suspended on a staggered basis.

       721. In 2016, the Los Angeles Times reported that Purdue was aware of a pill mill

operating out of Los Angeles yet failed to alert the DEA. The LA Times uncovered that Purdue

began tracking a surge in prescriptions in Los Angeles, including one prescriber in particular.

       722. Purdue was clearly aware of diversion. As a registrant, Purdue has the same

obligation to report suspicious orders as a wholesale distributor. Although Purdue claimed that it

was considering making a report to the DEA, it shirked its responsibility, claimed that it was the

wholesaler's responsibility and then reserved the right to make the report.

       723. Despite its knowledge of obvious diversion, "Purdue did not shut off the supply of

highly addictive OxyContin and did not tell authorities what it knew about [a pill mill] until several

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years later when the clinic was out of business and its leaders indicted. By that time, 1.1 million

pills had spilled into the hands of Armenian mobsters, the Crips gang and other criminals."

         724. Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation for

its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it ignored

its responsibility to report suspicious orders as 500 million of its pills ended up in Florida between

2008 and 2012.       After six years of DEA investigation, Mallinckrodt agreed to a settlement

involving a $35 million fine. Federal prosecutors summarized the case by saying that

Mallinckrodt's response was that everyone knew what was going on in Florida but they had no

duty to report it.

         725. These actions against the Distributor Defendants confirm that the Distributor

Defendants knew they had a duty to maintain effective controls against diversion, design and

operate a system to disclose suspicious orders, and to report suspicious orders to the DEA. These

actions also demonstrate, on information and belief, that the Manufacturer Defendants were aware

of the enforcement against their Distributors and the diversion of the prescription opioids and a

corresponding duty to report suspicious orders.

         726. The pattern of racketeering activity alleged herein is continuing as of the date of this

Complaint and, upon information and belief, will continue into the future unless enjoined by this

Court.

         727. Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue herein were hidden and cannot be alleged without access to their books and records. Indeed,

an essential part of the successful operation of the Opioid Diversion Enterprise depended upon the

secrecy of the participants in that enterprise.




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       728. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiff’s Community and the Plaintiff. Defendants calculated

and intentionally crafted the diversion scheme to increase and maintain profits from unlawful sales

of opioids, without regard to the effect such behavior would have on this jurisdiction, its citizens

or the Plaintiff. The Defendants were aware that Plaintiff and the citizens of this jurisdiction rely

on the Defendants to maintain a closed system of manufacturing and distribution to protect against

the non-medical diversion and use of their dangerously addictive opioid drugs.

       729. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       730. The RICO Diversion Defendants’ predicate acts and pattern of racketeering activity

were a substantial and foreseeable cause of Plaintiff’s injury and the relationship between the

RICO Diversion Defendants’ conduct and Plaintiff’s injury are logical and not speculative. It was

foreseeable to the RICO Diversion Defendants that when they refused to identify, report and halt

suspicious orders as required by the CSA and Code of Federal Regulations, it would allow the

wide-spread diversion of prescriptions opioids into the illicit market and create an opioid-addiction

epidemic that logically, substantially, and foreseeably harmed Plaintiff.

       731. The RICO Diversion Defendants’ predicate acts and pattern of racketeering activity

were a substantial and foreseeable cause of Plaintiff’s injury and the relationship between the

RICO Diversion Defendants’ conduct and Plaintiff’s injury is logical and not speculative. It was

foreseeable to the RICO Diversion Defendants that when they fraudulently marketed highly-

addictive and dangerous drugs, that were approved for very limited and specific uses by the FDA,



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as non-addictive and safe for off-label uses such as moderate pain, non-cancer pain, and long-term

chronic pain, that the RICO Diversion Defendants would create an opioid-addiction epidemic that

logically, substantially and foreseeably harmed Plaintiff.

       732. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

           2. The RICO Diversion Defendants Engaged in Mail and Wire Fraud.

       733. The RICO Diversion Defendants carried out, or attempted to carry out, a scheme to

defraud federal and state regulators, and the American public by knowingly conducting or

participating in the conduct of the Opioid Diversion Enterprise through a pattern of racketeering

activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire

facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       734. The RICO Diversion Defendants committed, conspired to commit, and/or aided and

abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations of

18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity

that the RICO Diversion Defendants committed, or aided and abetted in the commission of, were

related to each other, posed a threat of continued racketeering activity, and therefore constitute a

“pattern of racketeering activity.” The racketeering activity was made possible by the RICO

Diversion Defendants’ regular use of the facilities, services, distribution channels, and employees

of the Opioid Diversion Enterprise. The RICO Diversion Defendants participated in the scheme to

defraud by using mail, telephone and the Internet to transmit mailings and wires in interstate or

foreign commerce.

       735. The RICO Diversion Defendants used, directed the use of, and/or caused to be used,

thousands of interstate mail and wire communications in service of their scheme through virtually

uniform misrepresentations, concealments and material omissions regarding their compliance with
                                                272
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their mandatory reporting requirements and the actions necessary to carry out their unlawful goal

of selling prescription opioids without reporting suspicious orders or the diversion of opioids into

the illicit market.

        736. In devising and executing the illegal scheme, the RICO Diversion Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

For the purpose of executing the illegal scheme, the RICO Diversion Defendants committed these

racketeering acts, which number in the thousands, intentionally and knowingly with the specific

intent to advance the illegal scheme.

        737. The RICO Diversion Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

                a.     Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or
                       receiving, or by causing to be sent and/or received, materials via U.S. mail
                       or commercial interstate carriers for the purpose of executing the unlawful
                       scheme to design, manufacture, market, and sell the prescription opioids by
                       means of false pretenses, misrepresentations, promises, and omissions.

                b.     Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by
                       transmitting and/or receiving, or by causing to be transmitted and/or
                       received, materials by wire for the purpose of executing the unlawful
                       scheme to design, manufacture, market, and sell the prescription opioids by
                       means of false pretenses, misrepresentations, promises, and omissions.

        738. The RICO Diversion Defendants’ use of the mail and wires includes, but is not

limited to, the transmission, delivery, or shipment of the following by the Manufacturers,

Distributors, or third parties that were foreseeably caused to be sent as a result of the RICO

Diversion Defendants’ illegal scheme, including but not limited to:

                a.     The prescription opioids themselves;

                b.     Documents and communications that supported and/or facilitated the
                       Defendants’ request for higher aggregate production quotas, individual
                       production quotas, and procurement quotas;

                                                273
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               c.      Documents and communications that facilitated the manufacture, purchase
                       and sale of prescription opioids;

               d.      Defendants’ DEA registrations;

               e.      Documents and communications that supported and/or facilitated
                       Defendants’ DEA registrations;

               f.      Defendants’ records and reports that were required to be submitted to the
                       DEA pursuant to 21 U.S.C. § 827;

               g.      Documents and communications related to the Defendants’ mandatory
                       DEA reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

               h.      Documents intended to facilitate the manufacture and distribution of
                       Defendants’ prescription opioids, including bills of lading, invoices,
                       shipping records, reports and correspondence;

               i.      Documents for processing and receiving payment for prescription opioids;

               j.      Payments from the Distributors to the Manufacturers;

               k.      Rebates and chargebacks from the Manufacturers to the Distributors;

               l.      Payments to Defendants’ lobbyists through the PCF;

               m.      Payments to Defendants’ trade organizations, like the HDA, for
                       memberships and/or sponsorships;

               n.      Deposits of proceeds from Defendants’ manufacture and distribution of
                       prescription opioids; and

               o.      Other documents and things, including electronic communications.

       739. On information and belief, the RICO Diversion Defendants (and/or their agents), for

the purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or

received) by mail or by private or interstate carrier, shipments of prescription opioids and related

documents by mail or by private carrier affecting interstate commerce, including the following:



                                                                    Drugs
  Defendant
                      Company Names              Drug Name       Chemical Name           CSA
 Group Name
                                                                                       Schedule


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                                                         Oxycodone
                                           OxyContin     hydrochloride       Schedule II
                                                         extended release
                                                         Morphine sulfate
                                           MS Contin                         Schedule II
                                                         extended release
               (1) Purdue Pharma, LP,                    Hydromorphone
                                           Dilaudid                          Schedule II
               (2) Purdue Pharma, Inc.,                  hydrochloride
  Purdue
               (3) The Purdue Frederick                  Hydromorphone
                                           Dilaudid-HP                       Schedule II
               Company                                   hydrochloride
                                           Butrans       Buprenorphine       Schedule II
                                                         Hydrocodone
                                           Hysinga ER                        Schedule II
                                                         bitrate
                                                         Oxycodone
                                           Targiniq ER                       Schedule II
                                                         hydrochloride
               (1) Cephalon, Inc.,         Actiq         Fentanyl citrate    Schedule II
               (2) Teva Pharmaceutical
 Cephalon      Industries, Ltd.,           Fentora       Fentanyl citrate    Schedule II
               (3) Teva Pharmaceuticals
                                           Generec        Oxycodone
               USA, Inc.                                                     Schedule II
                                           oxycontin      hydrochloride
                                                          Oxymorphone
                                           Opana ER       hydrochloride      Schedule II
                                                          extended release
                                                          Oxymorphone
                                           Opana                             Schedule II
               (1) Endo Health                            hydrochloride
               Solutions, Inc.,                           Oxymorphone
               (2) Endo Pharmaceuticals    Percodan       hydrochloride      Schedule II
               Inc.,                                      and aspirin
   Endo
               (3) Qualitest                              Oxymorphone
               Pharmaceuticals, Inc.                      hydrochloride
                                           Percocet                          Schedule II
               (wholly-owned subsidiary                   and
               of Endo)                                   acetaminophen
                                           Generic oxycodone                 Schedule II
                                           Generic oxymorphone               Schedule II
                                           Generic hydromorphone             Schedule II
                                           Generic hydrocodone               Schedule II
               (1) Mallinckrodt PLC,                       Hydromorphone
                                           Exalgo                            Schedule II
               (2) Mallinckrodt LLC                        hydrochloride
Mallinckrodt
               (wholly-owned subsidiary                    Oxycodone
               of Mallinckrodt PLC)        Roxicodone                        Schedule II
                                                           hydrochloride
               (1) Allergan Plc,                          Morphine
                                           Kadian                            Schedule II
               (2) Actavis LLC,                           Sulfate
  Allergan     (3) Actavis Pharma, Inc.,                  Hydrocodone
               (4) Actavis Plc,            Norco (Generic
                                                          and                Schedule II
               (5) Actavis, Inc.,          of Kadian)
                                                          acetaminophen

                                           275
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                   (6) Watson                     Generic
                   Pharmaceuticals, Inc.,                            Fentanyl            Schedule II
                                                  Duragesic
                   Watson Pharma, Inc.
                                                                     Oxymorphone
                                                  Generic Opana                          Schedule II
                                                                     hydrochloride


        740. Each of the RICO Diversion Defendants identified manufactured, shipped, paid for

and received payment for the drugs identified above, throughout the United States.

        741. The RICO Diversion Defendants also used the internet and other electronic facilities

to carry out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO

Diversion Defendants made misrepresentations about their compliance with Federal and State laws

requiring them to identify, investigate and report suspicious orders of prescription opioids and/or

diversion of the same into the illicit market.

        742. At the same time, the RICO Diversion Defendants misrepresented the superior safety

features of their order monitoring programs, ability to detect suspicious orders, commitment to

preventing diversion of prescription opioids, and their compliance with all state and federal

regulations regarding the identification and reporting of suspicious orders of prescription opioids.

        743. Upon information and belief, the RICO Diversion Defendants utilized the internet

and other electronic resources to exchange communications, to exchange information regarding

prescription opioid sales, and to transmit payments and rebates/chargebacks.

        744. The RICO Diversion Defendants also communicated by U.S. Mail, by interstate

facsimile, and by interstate electronic mail with each other and with various other affiliates,

regional offices, regulators, distributors, and other third-party entities in furtherance of the scheme.

        745. The mail and wire transmissions described herein were made in furtherance of

Defendants’ scheme and common course of conduct to deceive regulators, the public and Plaintiff

that Defendants were complying with their state and federal obligations to identify and report


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suspicious orders of prescription opioids all while Defendants were knowingly allowing millions

of doses of prescription opioids to divert into the illicit drug market. The RICO Diversion

Defendants’ scheme and common course of conduct was to increase or maintain high production

quotas for their prescription opioids from which they could profit.

       746. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden by Defendants and cannot be alleged without access to

Defendants’ books and records. However, Plaintiff has described the types of, and in some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

       747. The RICO Diversion Defendants did not undertake the practices described herein in

isolation, but as part of a common scheme. Various other persons, firms, and corporations,

including third-party entities and individuals not named as defendants in this Complaint, may have

contributed to and/or participated in the scheme with the RICO Diversion Defendants in these

offenses and have performed acts in furtherance of the scheme to increase revenues, increase

market share, and /or minimize the losses for the RICO Diversion Defendants.

       748. The RICO Diversion Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       749. The RICO Diversion Defendants hid from the general public and suppressed and/or

ignored warnings from third parties, whistleblowers and governmental entities about the reality of

the suspicious orders that the RICO Diversion Defendants were filling on a daily basis – leading

to the diversion of hundreds of millions of doses of prescriptions opioids into the illicit market.



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         750. The RICO Diversion Defendants, with knowledge and intent, agreed to the overall

objective of their fraudulent scheme and participated in the common course of conduct to commit

acts of fraud and indecency in manufacturing and distributing prescription opioids.

         751. Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

to agree to implement similar tactics regarding manufacturing prescription opioids and refusing to

report suspicious orders.

         752. As described herein, the RICO Diversion Defendants engaged in a pattern of related

and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and revenues

from the sale of their highly addictive and dangerous drugs. The predicate acts also had the same

or similar results, participants, victims, and methods of commission. The predicate acts were

related and not isolated events.

         753. The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiff’s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Diversion Defendants. The predicate acts were committed

or caused to be committed by the RICO Diversion Defendants through their participation in the

Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.

         754. The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.

         755. The pattern of racketeering activity alleged herein is continuing as of the date of this

Complaint and, upon information and belief, will continue into the future unless enjoined by this

Court.



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       756. Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue here have been hidden by Defendants and cannot be alleged without access to Defendants’

books and records. Indeed, an essential part of the successful operation of the Opioid Diversion

Enterprise alleged herein depended upon secrecy.

       757. Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Plaintiff’s Community and the Plaintiff. Defendants

calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme to increase

and maintain their increased profits, without regard to the effect such behavior would have on

Plaintiff’s Community, its citizens or the Plaintiff. In designing and implementing the scheme, at

all times Defendants were cognizant of the fact that those in the manufacturing and distribution

chain rely on the integrity of the pharmaceutical companies and ostensibly neutral third parties to

provide objective and reliable information regarding Defendants’ products and their manufacture

and distribution of those products. The Defendants were also aware that Plaintiff and the citizens

of this jurisdiction rely on the Defendants to maintain a closed system and to protect against the

non-medical diversion and use of their dangerously addictive opioid drugs.

       758. By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       759. It was foreseeable to Defendants that Plaintiff would be harmed when they refused

to report and halt suspicious orders, because their violation of the duties imposed by the CSA and

Code of Federal Regulations allowed the widespread diversion of prescription opioids out of




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appropriate medical channels and into the illicit drug market – causing the opioid epidemic that

the CSA intended to prevent.

        760. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

    D. DAMAGES.

            1.      Impact of the Opioid Marketing Enterprise.

        761. Maryland has been especially ravaged by the national opioid crisis.

        762. Opioid-related overdose fatalities have skyrocketed in Maryland in recent years. In

2017 the state had 2,009 opioid-related deaths, an all-time high and up from 1,856 in 2016. 510




510
      Maryland Department of Health, Unintentional Drug- and Alcohol-Related Intoxication Deaths in Maryland,
2017, at 15 (June 2018), available at
https://bha.health.maryland.gov/OVERDOSE_PREVENTION/Documents/Drug_Intox_Report_2017.pdf (last
visited August 14, 2018).



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Drug- and Alcohol-Related Intoxication Deaths in Maryland, 2007-2017
Source: Maryland Department of Health and Mental Hygiene




            763. These deaths are part of an overall increase in deaths from drug and alcohol

overdoses, which grew by nine percent from 2016 to 2017 and by 66 percent from 2015 to 2016,

which was the largest single year increase that has been recorded. 511 In 2017 there were 2,282

deaths from drug and alcohol intoxication, also an all-time high, and more than triple the number

from 2010. 512 According to Maryland’s Department of Health and Mental Hygiene, 88 percent of

all these deaths were opioid-related, meaning that heroin, prescription opioids and/or non-

pharmaceutical fentanyl were involved. 513 The number of opioid-related deaths increased by 8

percent between 2016 and 2017, 70 percent between 2015 and 2016 and has almost quadrupled




511
      Id. at 5.
512
      Id.
513
      Id.



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since 2010. 514 Large increases in the number of fentanyl-related deaths have caused the overall

rise in opioid-related deaths, and many prescription opioid-related deaths occur in combination

with heroin and/or fentanyl. 515

            764. The number of prescription opioid-related deaths has risen since 2012, although it

dropped from 418 in 2016 to 413 in 2017. 516

            765. The number of deaths in Maryland due to heroin and opioids has increased by more

than 100 percent in the last five years, and heroin and opioid drug dependency has more than

doubled in the last decade. 517

            766. The CDC has also found that the number of drug overdose death rates has increased

at a statistically-significant rate in Maryland in recent years. From 2015-16, the death rate

increased by 58.9 percent, in 2014-2015, the death rate increased by 20.1 percent and from 2013-

2014 the death rate increased by 19.2 percent. 518

            767. The number of deaths attributed to fentanyl also spiked sharply, with 1594 in 2017,

up from 1119 deaths in 2016, 340 in 2015, and just 26 in 2011. 519




514
      Id.
515
      Id.
516
      Id.
517
      Maryland’s Heroin and Opioid Emergency Task Force, Heroin Facts, available at
http://governor.maryland.gov/ltgovernor/home/heroin-and-opioid-emergency-task-force/heroin-facts/ (last visited
Dec. 8, 2017).
518
      CDC, Drug Overdose Death Data, available at https://www.cdc.gov/drugoverdose/data/statedeaths.html (last
visited August 15, 2018).
519
      Maryland Department of Health, supra, at 13.



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         768. In fiscal 2018, Maryland will spend over $22 million to fight the opioid crisis, with

most of the money going to prevention, enforcement and treatment efforts. 520 This is part of a $50

million fund to battle the epidemic over the next five years. 521

         769. Maryland’s opioid crisis has also led to higher hospitalization rates. In 2014 opioid

hospitalization rates among men and women in Maryland were the highest in the nation at 403.8

hospitalizations per 100,000 people. 522 Maryland also had the second highest rate nationally of

opioid-related emergency department visits, at 300.7 per 100,000 people. 523 That number is an 81

percent increase from 2009-2014. 524 Maryland is the only state that “consistently ranked as having

among the highest rates of opioid-related [emergency department] visits across all patient sex and

age groups.” 525

         770. Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn babies

experience when a pregnant woman takes drugs such as heroin, codeine, oxycodone, methadone

or buprenorphine, is also sharply the rise. 526 In Maryland in 2015, 1,419 babies were born with


520
       Kristi King, “‘Dramatic’ increase in opioid deaths continues in Maryland,” WTOP, Oct. 25, 2017 available at
https://wtop.com/maryland/2017/10/dramatic-increase-opioid-deaths-continues-maryland/ (last visited Dec. 8,
2017).
521
      Mary Hui, “Growth in Md. Opioid fatalities comes almost entirely from fentanyl-related deaths.” Washington
Post, Oct. 24, 2017 available at https://www.washingtonpost.com/local/growth-in-md-opioid-fatalities-comes-
almost-entirely-from-fentanyl-related-deaths/2017/10/24/fc278b9e-b8f6-11e7-a908-
a3470754bbb9_story.html?utm_term=.4fe2637df2e9 (last visited August 15, 2018).
522
       Weiss, Elixhauser, Barrett, Steiner, Bailey, and O’Malley, Opioid-Related Inpatient Stays and Emergency
Department Visits by State, 2009-2014, December 2016 (Revised January 2017), at 1, 4 available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb219-Opioid-Hospital-Stays-ED-Visits-by-State.pdf (last visited
Dec. 11, 2017).
523
      Id. at 1, 8.
524
      Id. at 9.
525
       Weiss, Bailey, O’Malley, Barrett, Elixhauser and Steiner, Patient Characteristics of Opioid-Related Inpatient
Stays and Emergency Department Visits Nationally and by State, 2014, June 2017 at 11, available at
https://www.hcup-us.ahrq.gov/reports/statbriefs/sb224-Patient-Characteristics-Opioid-Hospital-Stays-ED-Visits-by-
State.pdf (last visited Dec. 11, 2017).
526
   Catherin Hawley, “57 percent increase from 2007 to 2015 in babies born addicted to drugs in Maryland,”
WMAR Baltimore, Jan. 18, 2017, available at http://www.abc2news.com/news/health/57-increase-from-2007-to-


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drugs or alcohol in their system, an increase of 56.6 percent from 2006 to 2015. “[A]n

overwhelming number are born to mothers who have used prescription painkillers or heroin.”527

Right now these children spend an average of 26 days in Maryland hospitals after birth. 528

            771. The opioid epidemic is particularly devastating in Plaintiff’s Community.

            772. In 2017, 59 people died of drug or alcohol-related overdoses in Washington

County. 529 That number is down slightly from 66 in 2016 and 64 in 2015. 530 In 2014, there were

40 such deaths, and 28 in 2013. 531 Fifty-one of the 59 deaths in 2017 were opioid-related, as were

63 of the 66 deaths in 2016. 532 Opioid-related deaths jumped more than 500 percent between 2010

and 2016. 533

            773. The death rate for unintentional intoxication deaths in Washington County was 28.8

per 100,000 residents from 2012 to 2016, the fifth highest rate in the State. 534

            774. In 2017, police in Hagerstown, the County seat, responded to 187 overdoses, of

which there were 15 fatalities. As of March 27, 2018, police had responded to 60 overdoses,




2015-in-babies-born-addicted-to-drugs-in-maryland (last visited Dec. 11, 2017); see also University of Maryland
Medical Center, Neonatal abstinence syndrome, available at
http://www.umm.edu/health/medical/ency/articles/neonatal-abstinence-syndrome (last visited Dec. 11, 2017).
527
     Andrea K. McDaniels, “Number of Maryland babies born with drugs in their system growing.” Baltimore Sun,
(February 17, 2017) available at http://www.baltimoresun.com/health/maryland-health/bs-hs-drug-exposed-babies-
20170217-story.html (last visited Dec. 11, 2017).
528
      Id.
529
      Maryland Department of Health, supra, at 46.
530
      Id.
531
      Id.
532
      Id. at 47.
533
     David Pittman, “Facing mounting opioid overdoses, Maryland doctor defies federal law,” Politico, (Nov. 15,
2017), available at https://www.politico.com/story/2017/11/15/facing-mounting-opioid-overdoses-maryland-doctor-
defies-federal-law-244948 (last visited April 11, 2018).
534
      Maryland Department of Health, supra, at 44.



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including eight deaths. The police chief states that 80 percent of property crime in Hagerstown is

related to drug addiction. 535

              775. In 2013, Hagerstown EMS crews administered Narcan – a nasal spray medication

that reverses the effects of opioids in someone who is overdosing – 122 times. By 2015, that

number had almost doubled to 234. 536

              776. According to the Director of the Washington County Department of Social Services

(DSS), the number of newborns exposed to drugs has climbed at an alarming rate with 68 such

infants in FY2015, 101 in FY2016, 142 in FY 2017 and 155 in FY2018. 537 Children have also

been removed from their homes – due at least in part to their parents’ substance abuse – at numbers

that are also continually increasing with 31 in FY2016, 35 in FY2017, and 54 in FY2018. 538



              777. The CDC has tracked prescription rates per county in the United States, identifying

the geographic “hotspots” for rates of opioid prescriptions. 539 The CDC has calculated the

geographic distribution at county levels of opioid prescriptions dispensed per 100 persons, 540

revealing that Washington County has been a consistent hotspot over at least the past decade.




535
    CJ Lovelace, “Hagerstown joins litigation against major drug companies,” Herald-Mail Media, (March 27,
2018), available at https://www.heraldmailmedia.com/news/local/hagerstown-prepares-to-enter-litigation-against-
major-opioid-distributors/article_420cd58c-31ed-11e8-ada7-332e6d2300f0.html (last visited April 11, 2018).
536
      Jennifer Donelan & Dwayne Myers, “Heroin Highway: Part 5 – Hagerstown, MD. ‘Round the clock
emergency,’” WJLA, (February 19, 2016) available at http://wjla.com/features/hooked-on-heroin/heroin-highway-
part-5-6-hagerstown-md-and-phone-bank (last visited April 11, 2018).
537
        Information from D. Michael Piercy, Jr., Director, Washington County Department of Social Services.
538
        Id.
539
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited June 13, 2018).
540
      Id.



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        778. The CDC’s statistics prove that the opioid prescription rates in Washington County

have exceeded any legitimate medical, scientific, or industrial purpose. The overall opioid

prescribing rate in 2016 was 66.5 prescriptions per 100 people and 58.7 in Maryland. 541 However,

in Washington County, Maryland, the 2016 prescription rate was 113.1 per 100 people – the third

highest in the State and a rate of more than one prescription for every man, woman and child in

Washington County. 542 This is down from the 2015 prescribing rate for Washington County which

was 116.6 per 100 people – also the third highest in the State. 543

        779. Unfortunately, the 2015 and 2016 high rates of opioid prescriptions were not an

aberration for Washington County. The opioid prescribing rates in Washington County have

consistently been among the highest in the state and significantly greater than the national and

state average. Compared to a national average of 75.6 opioid prescriptions per 100 people in

2014 544 and 67.6 in Maryland, 545 the Washington County opioid prescription rate was 122.8 per

100 people. 546 In 2013, the national average was 78.1 opioid prescriptions per 100 people, 547 but

the opioid prescription rate in Washington County was 124.8 per 100 people. 548 Compared to a


541
    Id. See also U.S. State Prescribing Rates, 2016, available at
https://www.cdc.gov/drugoverdose/maps/rxstate2016.html (last visited June 13, 2018).
542
    U.S. County Prescribing Rates, 2016, CDC, (reporting for “Washington County, MD” here and below), available
at https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html (last visited June 13, 2018).
543
    U.S. County Prescribing Rates, 2015, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2015.html (last visited June 13, 2018).
544
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
545
    U.S. State Prescribing Rates, 2014, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2014.html
(last visited June 13, 2018).
546
    U.S. County Prescribing Rates, 2014, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2014.html (last visited June 13, 2018).
547
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June. 13, 2018).
548
    U.S. County Prescribing Rates, 2013, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2013.html (last visited June 13, 2018).



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national average of 81.3 opioid prescriptions per 100 people in 2012, 549 the opioid prescription

rate in Washington County was 128.2. 550 In 2011, the national average was 80.9 opioid

prescriptions per 100 people, 551 while the opioid prescription rate in Washington County was

117.1. 552 Compared to a national average of 81.2 opioid prescriptions per 100 people in 2010553

and 71.2 in Maryland, 554 the Washington County opioid prescription rate was 118.9 per 100 people

– the third highest prescribing rate in the state that year. 555 In 2009, the national average was 79.5

opioid prescriptions per 100 people, 556 but the rate in Washington County was 105.1. 557 Compared

to a national average of 78.2 opioid prescriptions per 100 people in 2008 558 and 65.5 in

Maryland, 559 the Washington County rate was 99.1 per 100 people. 560 In 2007, the national average




549
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
550
    U.S. County Prescribing Rates, 2012, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2012.html (last visited June 13, 2018).
551
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
552
    U.S. County Prescribing Rates, 2011, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2011.html (last visited June 13, 2018).
553
    U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
554
    U.S. State Prescribing Rates, 2010, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2010.html
(last visited June 13, 2018).
555
    U.S. County Prescribing Rates, 2010, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2010.html (last visited June 13, 2018).
556
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited June 13, 2018).
557
    U.S. County Prescribing Rates, 2009, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2009.html (last visited June 13, 2018).
558
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited June 13, 2018).
559
    U.S. State Prescribing Rates, 2018, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxstate2008.html
(last visited June 13, 2018).
560
    U.S. County Prescribing Rates, 2008, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2008.html (last visited June 13, 2018).



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was 75.9 opioid prescriptions per 100 people, 561 while the Washington County rate was 95.1. 562

Compared to a national average of 72.4 opioid prescriptions per 100 people in 2006, 563 the

Washington County rate was 89.73 per 100 people. 564

           780. The sheer volume of these dangerously addictive drugs was destined to create the

present crisis of addiction, abuse, and overdose deaths.

                2. The Relief Sought.

           781. The RICO Diversion Defendants’ violations of law and their pattern of racketeering

activity directly and proximately caused Plaintiff injury in its business and property. The RICO

Diversion Defendants’ pattern of racketeering activity, including their refusal to identify, report

and halt suspicious orders of controlled substances, logically, substantially and foreseeably cause

an opioid epidemic.            Plaintiff was injured by the RICO Diversion Defendants’ pattern of

racketeering activity and the opioid epidemic that they created.

           782. As Plaintiff alleges, the RICO Diversion Defendants knew that the opioids they

manufactured and supplied were unsuited to treatment of long-term, chronic, non-acute, and non-

cancer pain, or for any other use not approved by the FDA, and knew that opioids were highly

addictive and subject to abuse. 565 Nevertheless, the RICO Diversion Defendants engaged in a

scheme of deception, that utilized the mail and wires as part of their fraud, in order to increase



561
       U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html
(last visited Oct. 30,, 2017).
562
    U.S. County Prescribing Rates, 2007, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2007.html (last visited March 23, 2018).
563
      U.S. Prescribing Rate Maps, CDC, available at https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last
visited Oct. 30, 2017).
564
    U.S. County Prescribing Rates, 2006, CDC, available at
https://www.cdc.gov/drugoverdose/maps/rxcounty2006.html (last visited March 23, 2018).
565
      Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19 (Cal. Ct. App. 2017).



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sales of their opioid products by refusing to identify, report suspicious orders of prescription

opioids that they knew were highly addictive, subject to abuse, and were actually being diverted

into the illegal market. 566

            783. Here, as Plaintiff alleges, the link of causation generally breaks down into three very

short steps:       (1) the RICO Diversion Defendants’ affirmative action to continue supplying

prescription opioids through legal channels with knowledge that they were being diverted into the

illicit market; (2) an opioid epidemic in the form of criminal drug trafficking, misuse and abuse;

and (3) injuries to the Plaintiff. 567 Although not as direct as a car accident or a slip-and-fall case,

this causal chain is still a “direct sequence” and a logical, substantial and foreseeable cause of

Plaintiff’s injury. 568

            784. Specifically, the RICO Diversion Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured Plaintiff in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. Plaintiff’s injuries, as alleged throughout this complaint, and expressly

incorporated herein by reference, include:

                    a.      Losses caused by purchasing and/or paying reimbursements for the RICO
                            Defendants’ prescription opioids, that Plaintiff would not have paid for or
                            purchased but for the RICO Diversion Defendants’ conduct;

                    b.      Losses caused by the decrease in funding available for Plaintiff’s public
                            services for which funding was lost because it was diverted to other public
                            services designed to address the opioid epidemic;

                    c.      Costs for providing healthcare and medical care, additional therapeutic, and
                            prescription drug purchases, and other treatments for patients suffering from
                            opioid-related addiction or disease, including overdoses and deaths;


566
      City of Everett v. Purdue Pharma L.P., 2017 WL 4236062, *6 (W.D. Wash. Sept. 25, 2017).
567
      Id.
568
      Id.

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               d.      Costs of training emergency and/or first responders in the proper treatment
                       of drug overdoses;

               e.      Costs associated with providing police officers, firefighters, and emergency
                       and/or first responders with Naloxone – an opioid antagonist used to block
                       the deadly effects of opioids in the context of overdose;

               f.      Costs associated with emergency responses by police officers, firefighters,
                       and emergency and/or first responders to opioid overdoses;

               g.      Costs for providing mental-health services, treatment, counseling,
                       rehabilitation services, and social services to victims of the opioid epidemic
                       and their families;

               h.      Costs for providing treatment of infants born with opioid-related medical
                       conditions, or born addicted to opioids due to drug use by mother during
                       pregnancy;

               i.      Costs associated with law enforcement and public safety relating to the
                       opioid epidemic, including but not limited to attempts to stop the flow of
                       opioids into local communities, to arrest and prosecute street-level dealers,
                       to prevent the current opioid epidemic from spreading and worsening, and
                       to deal with the increased levels of crimes that have directly resulted from
                       the increased homeless and drug-addicted population;

               j.      Costs associated with increased burden on Plaintiff’s judicial system,
                       including increased security, increased staff, and the increased cost of
                       adjudicating criminal matters due to the increase in crime directly resulting
                       from opioid addiction;

               k.      Costs associated with providing care for children whose parents suffer from
                       opioid-related disability or incapacitation;

               l.      Loss of tax revenue due to the decreased efficiency and size of the working
                       population in Plaintiff’s Community;

               m.      Losses caused by diminished property values in neighborhoods where the
                       opioid epidemic has taken root; and

               n.      Losses caused by diminished property values in the form of decreased
                       business investment and tax revenue.

       785. Plaintiff’s injuries were proximately caused by Defendants’ racketeering activities

because they were the logical, substantial and foreseeable cause of Plaintiff’s injuries. But for the




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opioid-addiction epidemic created by Defendants’ conduct, Plaintiff would not have lost money

or property.

       786. Plaintiff’s injuries were directly caused by the RICO Diversion Defendants’ pattern

of racketeering activities.

       787. Plaintiff is most directly harmed and there is no other Plaintiff better suited to seek a

remedy for the economic harms at issue here.

       788. Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                   COUNT IV
                NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                             (Against All Defendants)

       789. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       790. Plaintiff seeks economic damages which were the foreseeable result of Defendants’

intentional and/or unlawful actions and omissions.

       791. Under State law, to establish actionable negligence, one must show in addition to the

existence of a duty, a breach of that duty, and injury resulting proximately therefrom and/or was

substantially caused thereby. All such essential elements exist here.

       792. Further, as Section 302B of the Restatement of Torts provides: “An act or an

omission may be negligent if the actor realizes or should realize that it involves an unreasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal.”




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       793. Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiff’s

Community.

       794. Each Defendant had an obligation to exercise due care in manufacturing, marketing,

selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s Community.

       795. Each Defendant owed a duty to the Plaintiff, and to the public in the Plaintiff’s

Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.

       796. Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and the

significant costs which would be imposed upon the governmental entities associated with those

communities. The closed system of opioid distribution whereby wholesale distributors are the

gatekeepers between manufacturers and pharmacies, and wherein all links in the chain have a duty

to prevent diversion, exists for the purpose of controlling dangerous substances such as opioids

and preventing diversion and abuse.

       797. Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe physical

harm of addiction, foreseeably causing patients to seek increasing levels of opioids, frequently

turning to the illegal drug market as a result of a drug addiction that was foreseeable to the

Manufacturer Defendants.

       798. Moreover, Defendants were repeatedly warned by law enforcement of the

unlawfulness and consequences of their actions and omissions.

       799. The escalating amounts of addictive drugs flowing through Defendants’ businesses,

and the sheer volume of these prescription opioids, further alerted Defendants that the physical



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harm of addiction was fueling increased consumption and that legitimate medical purposes were

not being served.

       800. As described above in allegations expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for, failing

to report, and filling highly suspicious orders time and again. Because the very purpose of these

duties was to prevent the resulting harm – diversion of highly addictive drugs for non-medical

purposes – the causal connection between Defendants’ breach of duties and the ensuing harm was

entirely foreseeable.

       801. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law and

concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

       802. As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled Substances,

and by misrepresenting the nature of the drugs and aggressively promoting them for chronic pain

for which they knew the drug were not safe or suitable, upon which the Plaintiff’s Community, its

residents, and Plaintiff reasonably relied.

       803. The Manufacturer Defendants misrepresented and concealed the addictive nature of

prescription opioids and its lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.



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        804. All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

        805. Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

        806. The    causal   connection    between     Defendants’    breaches    of   duties    and

misrepresentations and the ensuing harm was entirely foreseeable.

        807. As described above in allegations expressly incorporated herein, Defendants’

breaches of duty and misrepresentations caused, bears a causal connection with, and/or

proximately resulted in the damages sought herein.

        808. Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse, severe dependence and unreasonable risk of death or personal injury.

Defendants knowingly traded in drugs that presented a high degree of danger if prescribed

incorrectly or diverted to other than medical, scientific, or industrial channels. However,

Defendants breached their duties to monitor for, report, and halt suspicious orders, breached their

duties to prevent diversion, and, further, misrepresented what their duties were and their

compliance with their legal duties.

        809. The Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and refuse

suspicious orders. But for these material factual omissions, Defendants would not have been able

to sell opioids.

        810. As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,



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or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented

that the opioids were safe and effective when such representations were untrue, false, and

misleading.

       811. Because of the dangerously addictive nature of these drugs, which the Manufacturer

Defendants concealed and misrepresented, they lacked medical value, and in fact caused addiction,

physical harm and overdose deaths.

       812. The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or concealed

material facts and failed to correct prior misrepresentations and omissions about the risks and

benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful statements

about opioids deceptive, and the Plaintiff’s Community, its residents, and Plaintiff reasonably

relied upon said misrepresentations.

       813. Defendants’ unlawful and/or intentional actions create a rebuttable presumption of

negligence under State law.

       814. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ actions and omissions which has created a substantial and unreasonable

risk of death and personal injury in Plaintiff’s Community. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.

       815. Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.




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                                    COUNT V
                   NEGLIGENCE BASED ON STATUTORY VIOLATION
                              (Against All Defendants)

        816. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

        817. Maryland law recognizes that negligence can be based on violation of a statutory or

regulatory duty. Rivers v. Hagner Mgmt. Corp., 182 Md. App. 632, 653, 959 A.2d 110, 122 (2008)

(citing Flaccomio v. Eysink, 129 Md. 367, 380, 100 A. 510 (1916)).

        818. A claim for negligence can be based on a breach of a statutory duty if the plaintiff

can show the violation of a statute designed to protect a specific class of persons, plaintiff is within

the class protected, and the violation proximately caused the injury because the harm suffered is

of a kind which the statute sought to prevent. Rivers, 182 Md. App. at 654, 959 A.2d at 122-23

(citing Brooks v. Lewin Realty III, Inc., 378 Md. 70, 79, 835 A.2d 616, 621 (2003)).

        819. Maryland’s minimum requirements for controlled substance manufacture and

wholesale drug distribution comply with applicable state and federal laws and regulations. MD.

CODE ANN., CRIM. LAW §§ 5-303(a) & 303(b)(2); MD. CODE REGS. 10.19.03.01.

        820. Each Defendant was required under Maryland law to first be registered by the

Maryland Department of Health (MD. CODE ANN., CRIM. LAW §§ 5-301, 5-303; MD. CODE REGS.

10.19.03.02). To receive and maintain these licenses, each of the Defendants assumed a duty to

comply with state and federal laws and regulations. MD. CODE ANN., CRIM. LAW §§ 5-303(a) &

505(b)(2); MD. CODE REGS. 10.19.03.01.

        821. The federal laws and requirements which Maryland incorporates into its own laws

require Defendants to act as gatekeepers guarding against the diversion of the highly addictive,

dangerous opioid drugs. See, e.g., MD. CODE REGS. 10.19.03.12.



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       822. The federal mandates incorporated into Maryland law require that Defendants must

maintain “effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(a)(1), (b)(1). These

federal regulations impose a non-delegable duty upon both manufacturers and distributors to

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor or manufacturer] shall inform the Field Division Office of

the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

       823. In addition to reporting all suspicious orders, distributors must also stop shipment on

any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d

206 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Id.

       824. Each Defendant was further required to register with the DEA, pursuant to the federal

Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each Defendant is a

“registrant” as a wholesale distributor and/or manufacturer in the chain of distribution of Schedule

II controlled substances with a duty to comply with all security requirements imposed under that

statutory scheme.

       825. Defendants violated § 5-902 of the Maryland Controlled Dangerous Substances Act,

which provides that, “Unless authorized by the registrant’s registration, a registrant may not




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manufacture, distribute or dispense a controlled dangerous substance to another registrant or other

authorized person.” MD. CODE. ANN., CRIM. LAW § 5-902(b).

       826. Plaintiff is within the class intended to be protected by the public safety statutes and

regulations concerning controlled substances.

       827. Defendants’ violations of these public safety laws are prima facie evidence of

negligence. Each Defendant had a duty under, inter alia, these laws to maintain effective controls

against diversion of prescription opioids and to guard against, prevent, and report suspicious orders

of opioids. Defendants’ violations of the law constitute negligence. Defendants breached

mandatory, non-delegable legal duties and did not act reasonably under the circumstances.

       828. As described above in allegations expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes and regulations requiring that as wholesale drug

distributors, Defendants could only distribute these dangerous drugs under a closed system – a

system Defendants were responsible for guarding.

       829. As described above in allegations expressly incorporated herein, Defendants’ breach

of statutory and regulatory duties caused, bears a causal connection with, is and was a substantial

factor contributing to, and/or proximately resulted in, harm and damages to Plaintiff.

       830. The injuries and damages sustained are those which the Maryland statutes and

regulations were designed to prevent.

       831. Defendants’ violations of the Maryland statutes and public safety regulations cited

herein were and are a substantial factor in the injuries and damages sustained.

       832. It was foreseeable that Defendants’ breach of statutory and regulatory duties

described herein would result in the damages sustained.



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       833. As described above in language expressly incorporated herein, Defendants’ breach

of statutory and regulatory duties caused, bears a causal connection with, and proximately resulted

in, harm and damages sought by the Plaintiff.

       834. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ negligence which has created a substantial and unreasonable risk of

death and personal injury in Plaintiff’s Community. Plaintiff does not seek damages for physical

personal injury or any physical damage to property caused by Defendants’ actions.

       835. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                           COUNT VI
                                      CIVIL CONSPIRACY
                                     (Against All Defendants)

       836. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       837. As set forth herein, Defendants engaged in a civil conspiracy to create a public

nuisance in conjunction with their unlawful marketing, sale, distribution and/or diversion of

opioids into the State and Plaintiff’s Community.

       838. As set forth herein, Defendants engaged in a civil conspiracy to commit fraud and

misrepresentation in conjunction with their unlawful distribution and diversion of opioids into the

State and Plaintiff’s Community.

       839. Distributor and Manufacturer Defendants unlawfully failed to act to prevent

diversion and failed to monitor for, report, and prevent suspicious orders of opioids.



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        840. The Manufacturer Defendants further unlawfully marketed opioids in the State and

Plaintiff’s Community in furtherance of that conspiracy.

        841. Defendants acted tortiously in agreement and/or in concert with each other and/or in

pursuit of a common design, and/or Defendants knew each other’s conduct constituted a breach of

their legal duties and provided substantial assistance and/or encouragement in the conduct.

        842. Defendants conspiracy is a continuing conspiracy, and the overt acts performed in

compliance with the conspiracy’s objective(s) are ongoing and/or have occurred within the last

year.

        843. Defendants’ conspiracy and acts in furtherance thereof are alleged in greater detail

earlier in the complaint, including, without limitation, in Plaintiff’s federal racketeering

allegations. Such allegations are incorporated herein.

        844. Defendants acted with agreement and a common understanding or design to commit

unlawful acts and/or lawful acts unlawfully, as alleged herein, and acted purposely, without a

reasonable or lawful excuse, to create the injuries alleged herein.

        845. Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonably or lawful excuse.

        846. Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, proximately caused and/or substantially contributed to the direct and foreseeable losses

alleged herein.

        847. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ civil conspiracy. Plaintiff does not seek damages for physical personal

injury or any physical damage to property caused by Defendants’ actions.




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       848. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                    COUNT VII
                   FRAUD AND FRAUDULENT MISREPRESENTATION
                              (Against All Defendants)

       849. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       850. Defendants violated their general duty not to actively deceive, and have made

knowingly false statements and have omitted and/or concealed information which made statements

by Defendants knowingly false. Defendants acted intentionally and/or unlawfully.

       851. Each Defendant owed a duty to the Plaintiff, and to the public in the Plaintiff’s

Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.

       852. As alleged herein, Defendants made false statements regarding their compliance with

state and federal law regarding their duties to prevent diversion, their duties to monitor, report and

halt suspicious orders, and/or concealed their noncompliance with these requirements.

       853. As alleged herein, the Manufacturer Defendants engaged in false representations and

concealments of material fact regarding the use of opioids to treat chronic non-cancer pain.

       854. As alleged herein, Defendants knowingly and/or intentionally made representations

that were false. Defendants had a duty to disclose material facts and concealed them. These false

representations and concealed facts were material to the conduct and actions at issue. Defendants

made these false representations and concealed facts with knowledge of the falsity of their




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representations, and did so with the intent of misleading Plaintiff, Plaintiff’s community, the

public, and persons on whom Plaintiff relied.

       855. These false representations and concealments were reasonably calculated to deceive

Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids for persons in

Plaintiff’s Community, were made with the intent to deceive, and did in fact deceive these persons,

Plaintiff, and Plaintiff’s Community.

       856. Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids

reasonably relied on these false representations and concealments of material fact.

       857. Plaintiff justifiably relied on Defendants’ representations and/or concealments, both

directly and indirectly. Plaintiff’s injuries were proximately caused by this reliance.

       858. The injuries alleged by Plaintiff herein were sustained as a direct and proximate cause

of Defendants’ fraudulent conduct.

       859. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations and

fraudulent concealment which has created a substantial and unreasonable risk of death and

personal injury in Plaintiff’s Community. Plaintiff does not seek damages for physical personal

injury or any physical damage to property caused by Defendants’ actions.

       860. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                       COUNT VIII
                                   CONSTRUCTIVE FRAUD




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                                     (Against All Defendants)

       861. Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       862. A defendant commits constructive fraud against a plaintiff where the defendant

“breach[es] a legal or equitable duty” to the plaintiff in a way that “tend[s] to deceive others, to

violate public or private confidence, or to injure public interests.” Canaj, Inc. v. Baker & Div.

Phase III, LLC, 391 Md. 374, 421-22, 893 A.2d 1067, 1095 (2006) (quoting Md. Envtl. Trust v.

Gaynor, 370 Md. 89, 97, 803 A.2d 512, 516–17 (2002)); see also Scheve v. McPherson, 44 Md.

App. 398, 406-07, 408 A.2d 1071, 1077 (1979).

       863. Defendants owed a legal or equitable duty to the Plaintiff and Plaintiff’s Community

to provide accurate information to Plaintiff and Plaintiff’s Community. See SpinCycle, Inc. v.

Kalender, 186 F. Supp. 2d 585, 590–91 (D. Md. 2002) (citing Scheve, 408 A.2d at 1076).

Defendants gained the confidence of Plaintiff and Plaintiff’s Community, and purported to act and

inform Plaintiff and Plaintiff’s Community with the interests of people in Plaintiff’s Community

in mind. Thompson v. UBS Fin. Servs., Inc., 443 Md. 47, 70, 115 A.3d 125, 139 (2015) (citing

Buxton v. Buxton, 363 Md. 634, 654, 770 A.2d 152, 164 (2001)).

       864. Plaintiff and Plaintiff’s Community put their trust in Defendants to provide accurate

information and were influenced by the information provided.

       865. Defendants breached their duty to provide accurate information by making false

statements and omitting and/or concealing information.

       866. As alleged herein, Defendants made false statements regarding their compliance with

state and federal law regarding their duties to prevent diversion, their duties to monitor, report and

halt suspicious orders, and/or concealed their noncompliance with these requirements.



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         867. As alleged herein, the Manufacturer Defendants engaged in false representations and

concealments of material fact regarding the use of opioids to treat chronic non-cancer pain.

         868. As alleged herein, Defendants had a duty to disclose material facts and concealed

them. These false representations and concealed facts were material to the conduct and actions at

issue.

         869. These false representations and concealments had a tendency to deceive Plaintiff,

Plaintiff’s Community, and the physicians who prescribed opioids for persons in Plaintiff’s

Community, and did in fact deceive these persons, Plaintiff, and Plaintiff’s Community.

         870. These false representations and concealments injured the public interest.

         871. Plaintiff, Plaintiff’s Community, and the physicians who prescribed were influenced

by these false representations and concealments of material fact.

         872. The failure of Defendants to provide accurate information about suspicious orders

and the dangers of opioids amounts to constructive fraud under Maryland law.

         873. The injuries alleged by Plaintiff herein were sustained as a direct and proximate cause

of Defendants’ constructive fraud.

         874. Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary losses)

resulting from Defendants’ constructive fraud which has created a substantial and unreasonable

risk of death and personal injury in Plaintiff’s Community. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.

         875. Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Defendants,

attorney fees and costs, and pre- and post-judgment interest.



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                                        COUNT IX
                             MARYLAND FALSE CLAIMS ACT
                             (Against Manufacturing Defendants)

       876. Plaintiff incorporates all paragraphs of this Complaint as if set forth fully herein, and

further allege as follows.

       877. The Maryland False Claims Act, MD. CODE ANN., GEN. PROV. §§ 8-102 provides:

       (b) A person may not:

         (1) Knowingly present or cause to be presented a false or fraudulent claim for
             payment or approval;

         (2) Knowingly make, use or cause to be made or used a false record or statement
             material to a false or fraudulent claim;

         (3) Conspire to commit a violation under this title;

           …

         (7) knowingly make, use, or cause to be made or used a false record or statement
             material to an obligation to pay or transmit money or other property to a
             governmental entity;

         (9) knowingly make any other false or fraudulent claim against a governmental
             entity.

       878. As set forth above, at all times relevant to this Complaint, Defendants, directly,

through their control of third parties, and by acting in concert with third parties: (a) knowingly

caused false claims to be presented to The County’s health plan and workers’ compensation

program, which are self-insured; and (b) knowingly obtained or caused to be obtained through

deception the property of The County in payments for those false claims. Defendants’ scheme

caused prescribers to write prescriptions for opioids to treat chronic pain that were presented to

The County’s health care plans and workers’ compensation program for payment. Therefore, each

claim for reimbursement to The County for chronic opioid therapy is the direct result of




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Defendants’ marketing, which presented to prescribers false information about the risks, benefits,

and superiority of opioids for the long-term treatment of pain.

       879. Further, The County only covers the cost of services, tests, and prescription drugs

that are medically necessary, reasonably required, and prescribed for an FDA-approved use.

Doctors, pharmacists, and other health care providers and/or other agents of the health plans and

workers’ compensation program expressly or impliedly certified to The County that opioids were

medically necessary and reasonably required to treat chronic pain because they were influenced

by the false and misleading statements disseminated by Defendants (or the Defendants made the

misrepresentation themselves) about the risks, benefits, and superiority of opioids for chronic pain.

Moreover, many of the prescriptions written by physicians or other health care providers and/or

authorized by the health plans and workers’ compensation program, and submitted to The County

were for uses that were misbranded and/or for off-label uses not approved by the FDA.

       880. The misrepresentations were material because if The County had known of the false

statements disseminated by Defendants, and that doctors, pharmacies, or other health care

providers, and/or health plans and workers’ compensation program certified and/or determined

that opioids were medically necessary and reasonably required based on those false statements,

The County would have refused to authorize payment for opioid prescriptions. The County is a

self-insured entity and directly covers the cost of prescription drugs and other medical services for

The County employees and retirees.

       881. By virtue of the above-described acts, Defendants knowingly made, used, or caused

to be made false claims with the intent to induce The County to approve and pay such false and

fraudulent claims.




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        882. By virtue of the above-described acts, Defendants acted in concert with third party

Front Groups and KOLs to make misleading statements about the risks, benefits, and superiority

of opioids to treat chronic pain. Defendants were aware of the misleading nature of the

misstatements and material omissions made by KOLs and Front Groups, and yet Defendants

provided them substantial assistance and encouragement by helping them develop, refine, and

promote these misstatements and material omissions and distributing them to a broader audience.

Defendants also substantially encouraged the dissemination of these misstatements and material

omissions by proving the Front Groups and KOLS with funding and technical support of the shared

purpose of issuing misleading, pro-opioids messaging. Defendants knew or should have known

that these marketing and promotional efforts created an untrue, false, and misleading impression

about the risks, benefits, and superiority of opioids for chronic pain and would result in the

submission of false insurance claims for opioid prescriptions written to treat chronic pain.

        883. By reason of Defendants’ fraudulent scheme which caused false claims to be

presented to The County, The County has been damaged, and continued to be damaged, in a

substantial amount to be determined at trial.

        884. The County seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia civil penalties of $10,000 for each violation pursuant to MD.

CODE ANN., GEN. PROV. §§ 8-102(C)(1)(i), treble damages, equitable relief, forfeiture as deemed

proper by the Court, attorney’s fees and all costs and expenses of suit and pre- and post-judgment

interest.




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                                          COUNT X
                                    UNJUST ENRICHMENT
                                    (Against All Defendants)

        885. Plaintiff incorporates all paragraphs of this Complaint as if set forth fully herein, and

further allege as follows.

        886. Defendants have unjustly retained a benefit to Plaintiff’s detriment, and the

Defendants’ retention of the benefit violates the fundamental principles of justice, equity, and good

conscience.

        887. As an expected and intended result of their conscious wrongdoing as set forth in this

Complaint, Defendants have profited and benefited from the increase in the distribution and

purchase of opioids within Plaintiff’s Community, including from opioids foreseeably and

deliberately diverted within and into Plaintiff’s Community.

        888. Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

        889. Plaintiff has expended substantial amounts of money in an effort to remedy or

mitigate the societal harms caused by Defendants’ conduct.

        890. These expenditures include the provision of healthcare services and treatment

services to people who use opioids.

        891. These expenditures have helped sustain Defendants’ businesses.

        892. Plaintiff has conferred a benefit upon Defendants by paying for Defendants’

externalities: the cost of the harms caused by Defendants’ improper distribution practices.

        893. Defendants were aware of these obvious benefits, and their retention of the benefit

is unjust.



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        894. Plaintiff has paid for the cost of Defendants’ externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products. The cost of Defendants’ wrongful conduct in selling and

distributing opioids includes, inter alia, increased healthcare services and addiction treatment for

opioid users. These costs are part of Defendants’ business, yet Defendants are not paying for them.

Plaintiff does, and these costs are not part of the normal and expected costs of a local government’s

existence. By using Plaintiff to fund Defendants’ negative externalities (i.e., the cost of the harms

caused by their wrongful practices), Defendants knowingly saved on expenses, thereby allowing

them to sell and distribute more opioids, and make more money, than if they had internalized the

actual cost of their activities. Defendants have thereby received a benefit unjustly financed by the

Plaintiff.

        895. Because of their deceptive marketing of prescription opioids, Manufacturer

Defendants obtained enrichment they would not otherwise have obtained. Because of their

conscious failure to exercise due diligence in preventing diversion, Defendants obtained

enrichment they would not otherwise have obtained. The enrichment was without justification

and Plaintiff lacks a remedy provided by law.

        896. Defendants have unjustly retained benefits to the detriment of Plaintiff, and

Defendants’ retention of such benefits violates the fundamental principles of justice, equity, and

good conscience.

        897. Defendants’ misconduct alleged in this case is ongoing and persistent.

        898. Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not




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part of the normal and expected costs of a local government’s existence. Plaintiff alleges wrongful

acts which are neither discrete nor of the sort a local government can reasonably expect.

        899. Plaintiff has incurred expenditures for special programs over and above its ordinary

public services.

        900. In addition, Plaintiff has made payments for opioid prescriptions, and Defendants

benefitted from those payments. Because of their deceptive promotion of opioids, Defendants

obtained enrichment they would not otherwise have obtained. The enrichment was without

justification and Plaintiff lacks a remedy provided by law.

        901. By reason of Defendants’ unlawful acts, Plaintiff has been damaged and continues

to be damaged, in a substantial amount to be determined at trial.

        902. Plaintiff seeks an order compelling Defendants to disgorge all unjust enrichment to

Plaintiff; and awarding such other, further, and different relief as this Honorable Court may deem

just.

                                     PUNITIVE DAMAGES

        903. Plaintiff re-alleges all paragraphs of this Complaint as if set forth fully herein.

        904. By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted with actual malice, wantonly, and oppressively. Defendants acted with conscious

disregard to the rights of others and/or in a reckless, wanton, willful, or gross manner. Defendants

acted with a prolonged indifference to the adverse consequences of their actions and/or omissions.

Defendants acted with a conscious disregard for the rights and safety of others in a manner that

had a great probability of causing substantial harm. Defendants acted toward the Plaintiff with

fraud, oppression, and/or malice.




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       905. Defendants were selling and/or manufacturing dangerous drugs statutorily

categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or

diverted to other than legitimate medical, scientific, or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon the State and Plaintiff’s Community by, these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence, and the safety of the

community, and an award of punitive damages is appropriate, as punishment and a deterrence.

       906. By engaging in the above-described wrongful conduct, Defendants also engaged in

willful misconduct and exhibited an entire want of care that would raise the presumption of a

conscious indifference to consequences.

                                             RELIEF

       WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

       907. Entering Judgment in favor of the Plaintiff in a final order against each of the

Defendants;

       908. Enjoining the Defendants and their employees, officers, directors, agents, successors,

assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries, and all

other persons acting in concert or participation with it, from engaging in unfair or deceptive

practices in violation of law and ordering temporary, preliminary or permanent injunction;

       909. Order that Defendants compensate the Plaintiff for past and future costs to abate the

ongoing public nuisance caused by the opioid epidemic;

       910. Order Defendants to fund an “abatement fund” for the purposes of abating the opioid

nuisance;



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       911. Awarding actual damages, treble damages, injunctive and equitable relief, forfeiture

as deemed proper by the Court, and attorney fees and all costs and expenses of suit pursuant to

Plaintiff’s racketeering claims;

       912. Awarding the Plaintiff the damages caused by the opioid epidemic, including (A)

costs for providing medical care, additional therapeutic and prescription drug purchases, and other

treatments for patients suffering from opioid-related addiction or disease, including overdoses and

deaths; (B) costs for providing treatment, counseling, and rehabilitation services; (C) costs for

providing treatment of infants born with opioid-related medical conditions; (D) costs for providing

care for children whose parents suffer from opioid-related disability or incapacitation; and (E)

costs associated with law enforcement and public safety relating to the opioid epidemic.

       913. Impose an award of civil penalties, actual and triple the actual damages the Plaintiff

sustained as a result of each Defendant’s violations of the Maryland False Claims Act;

       914. Awarding judgment against the Defendants requiring Defendants to pay punitive

damages;

       915. Granting the Plaintiff

           1. The cost of investigation, reasonable attorneys’ fees, and all costs and expenses;

           2. Pre-judgment and post-judgment interest; and,

           3. All other relief as provided by law and/or as the Court deems appropriate and just.


 Dated: August 15, 2018                         Respectfully Submitted,

                                                BOARD OF COUNTY
                                                COMMISSIONERS OF WASHINGTON
                                                COUNTY, MARYLAND, Plaintiff

                                                 ___________/s/
                                                  D. Bruce Poole, Esquire



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